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                 EXHIBIT A
     Case 3:18-cv-03274-NUNITED STATES
                          Document      DISTRICT
                                   21-1 Filed        COURT
                                              10/10/19 Page 2 of 110 PageID 225
                        FOR THE NORTHERN DISTRICT OF TEX AS
                                  DALLAS DIVISION

PAULSTAFFORDandTE              LEA               §
STAFFORD,                                        §
                                                 §
        Plaintiffs,                              §
                                                 §
                                                 §         CIVIL ACTION NO. 3:18-cv-3274
v.
                                                 §
WILMINGTON TRUST, NATIONAL                       §
ASSOCIATION, NOT IN ITS                          §
INDIVIDUAL CAPACITY, BUT                         §
SOLELY AS TRUSTEE FOR MFRA                       §
TRUST 2014-2 SERVICING and FAY                   §
SERVICING, LLC,                                  §
                                                 §
        Defendants.                              §

                        DECLARATION OF REPRESENTATIVE OF
                               FAY SERVICING, LLC

         I.     My name is Michael J. Paterno. I am over the age of twenty-one (21 ), have never
been convicted of a felony or crime involving moral turpitude and am fully competent to provide
this testimony. The facts stated in this declaration are within my personal knowledge and are true
and correct.

        2.     I am currently employed by Fay Servicing, LLC ("Fay Servicingn) as
a Trial and Mediation Specialist. Fay Servicing is the mortgage servicer of the Loan, defined
below, secured by property located at 12923 Epps Field Road, Farmers Branch, Texas 75234
(the "Property") on behalf of Wilmington Trust, National Association, Not In Its Individual
Capacity, But Solely as Trustee for MFRA Trust 2014-2 ("Wilmington"), the mortgagee of the
Loan.

        3.      In my referenced capacity, I am fully authorized to make this declaration for Fay
Servicingin its capacity as the mortgage servicer for Wilmington. I am the authorized agent or
representativeof Fay Servicingwith respect to Plaintiffs' Loan. I have access to and reviewed the
servicingrecords and data for Plaintiffs' account. When Fay Servicing receives documents from
other parties, such as previous mortgage servicers or mortgagees, those documents are placed in
Fay Servicing's business records at or near the time they are received, and are adopted as
business records of Fay Servicing. My testimony is based upon my knowledge of the business
practices, record keeping systems and practices of Fay Servicing, the mortgage servicing
mdustry and my review of Fay Servicing's business records.




Declarationof Fay ServicingRepresentative                                                Page1of3
H610-1853
       4. 3:18-cv-03274-N
      Case     On November 30   , 2007 , Plaintiffs
                              Document    21-1 FiledPaul Stafford Page
                                                      10/10/19    and Telea  Stafford
                                                                       3 of 110       ("Plaintiffs")
                                                                                  PageID  226
executed a Note (the '~ote"), in the amount of $810 ,561.00 payable to Bank of America, N.A.
("BANA"). A true and correct redacted copy of the Note is attached as Exhibit A-1 hereto and is
incorporated by reference ,

        5.     To secure payment of the Note, on November 30, 2007, Plaintiffs executed a
Deed of Trust ("Deed of Trust"). The Deed of Trust was filed in the Official Public Records of
Dallas County, Texas. A true and correct redacted copy of the Deed of Trust is attached as
Exhibit A-2 hereto and is incorporated by reference. The Note and Deed of Trust relating to the
Property are referred to collectively as the "Loan."

        6.      On November 7, 2017 (executed October 27, 2017) an Assignment from Bank of
America , N.A. to Wilmington Trust, National Association, Not In Its Individual Capacity, But
Solely as Trustee for MFRA Trust 2014-2 was filed in the Official Public Records of Dallas
County, Texas. A true and correct copy of the Assignment is attached as Exhibit A-3 hereto and
is incorporated by reference.

        7.     Defendant Wilmington is the holder of the Note and the beneficiary of the Deed
of Trust.

        8.       On January 15, 2015, Notices of Default and Intent to Accelerate were sent to
Plaintiffs, true and correct copies are attached hereto as Exhibit A-4 and incorporated herein by
reference.

        9.    On September 29, 2017, February 1, 2018, and again on October 24, 2018,
Notices of Acceleration were sent to Plaintiffs by counsel for Wilmington. Also sent were three
separate Notices of Substitute Trustee Sale. True and correct copies of the each Notice of
Acceleration and Notices of Substitute Trustee Sale are attached hereto as Exhibit A-5 and
incorporatedherein by reference.

        10.    According to the Fay Servicing's records, the Loan is due for the April 1, 2015
payment and all subsequent payments. The total accelerated amount that is due to pay off the
loan as of October 18, 2019 is $910,540.39. Interest continues to accn1e at the per diem rate of
$71.21. A true and correct copy of the payoff quote is attached hereto as ExhibitA-6.

       11.     The exhibits attached hereto are records kept by Fay Servicing in the regular
course of business and were made at or near the time of the acts, event~ conditions and/or
opinions recorded therein and by an employee or representative of Fay Servicing with
knowledge of those matters and/or document s received from third parties that have been
incorporatedinto and are now also part of the business records of Fay Servicing with respect to
the Loan. It was the regular business practice of Fay Servicingfor an emp loyee or representative
with knowledge of the acts, events, conditions and/or opinions recorded in these records to
record or transmit the information (included) in these records and/or receive and incorporate
them as business records related to the Loan. The exhibits attached hereto are the originals or
exact duplicated of the originals, with the exception where portions of the Loan number and/or
other sensitivepersonal identifying information have been redacted.


 Declarationof FayServicingRepresentative                                                Page2 ofJ
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     12. Pursuant to 28 U.S.C (S) 1746, I declare under penalty of perjury that the foreclosing is
    true and correct.


           Executed on this, the 9th day of October , 2019 .




                                                         Name




Declarationof FayServicingRepresentative
H610-1.8
       53       .                                                                         Page3of3 ,
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            EXHIBIT A-1
                                                                                      •
 _   _,
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                                                                                                              Loan No.:

                                                             NOTE
November 30, 2007                                                                                                  Plano, Texas
                                                    12923 Epps Field Road
                                                  Farmers Branch, TX 75234
                                                          [PropertyAddress}

1.       BORROWER'SPROMISETO PAY
         In returnfor a loanthat! havereceived,I promiseto pay U.S. $810,561.00 (thisamountis called"Principal"),plus interest,
to the order of the Lender. The Lender is Bank of America,N.A.. I will make all paymentsunder this Note in the form of cash,
check or money order.
 ·       I understandthat the Lender may transferthis Note. The Lender or anyonewho takes this Note by transferand who is
entitledto receivepaymentsunder this Note is called the "NoteHolder".
2.        INTEREST
          Interestwill be chargedon unpaidprip.cipaluntil the full amountof Principalhas been paid. I will pay interestat a yearly
rate of 7.250%.
         The interestrate requiredby this Section2 is the rate I will pay both beforeand after any defaultdescribedin Section6(B)
of this Note.
3.        PAYMENTS
        (A) Time and Place of Payments
        I will pay principaland interestby makinga paymentevery month.
        I will make my monthlypaymenton the First day of each month beginningon January 01, 2009. I will make these
paymentseverymonthuntil I have paid all of the principaland interestand any other chargesdescribedbelowthat I mayoweunder
this Note. Each monthlypaymentwill be appliedas of its scheduleddue date and will be appliedto interestbeforePrincipal. If,
on December 01, 2038, I still owe amountsunder this Note, I will pay those amountsin full on that date, which is called the
"MaturityDate".
          I will make my monthlypaymentsat
                                               Bank of America, N.A.
                                                   P.O. 'Box17404
                                              Baltimore,MD 21297-1404
                                                                   or at a differentplace if requiredby the Note Holder.
          (B)   Amount of MonthlyPayments
          My monthlypaymentwill be in the amountof U.S. $5,529.46.
4.       BORROWER'SRIGHTTO PREPAY
         I have the right to makepaymentsof Principalat any time beforethey are due. A paymentof Principalonly is known as
a "Prepayment".WhenImake a Prepayment,I willtell the Note Holderin writingthat I am doingso. I may not designatea payment
as a Prepaymentif I have not made all the monthlypaymentsdue under the Note.
         I may make a full Prepaymentor partialPrepaymentswithoutpayinga Prepaymentcharge. The Note Holderwill use my
Prepaymentsto reduce the amountof Principalthat I owe under this Note. However,the Note Holdermay applymy Prepayment
to the accruedand unpaid intereston the Prepaymentamount,before applyingmy Prepaymentto reducethe Principalamountof
the Note. If! make a partialPrepayment,there will be no changesin the due date or in the amountofmy monthlypaymentunless
the Note Holder agrees in writingto those changes.     ·                                                 ·
5.        LOAN CHARGES
          If a law, which appliesto this loan and whichsets maximumloan charges,is finallyinterpretedso that the interestor other
loan chargescollectedor to be collectedin connectionwith this loan exceedthe permittedlimits,then: (a) any such loan charge
shall be reducedby the amountnecessaryto reducethe chargeto the permittedlimit;and (b) any sumsalreadycollectedfrom me
which exceededpermittedlimitswill be refundedto me. TheNote Holdermaychooseto makethis refundby reducingthe Principal
I owe under this Note or by makinga directpaymentto me. If a refund reducesPrincipal,the reductionwill be treatedas a partial
Prepayment.
6.        BORROWER'SFAILURETO PAY AS RF-:iUJRED
          (A)       Late Charge for OverduePayments·
          If the Note Holder has not receivedthe full amountof any monthlypaymentby the end of 15 calendardays after the date
it is due, I will pay a late chargeto the Note Holder.The amountof the chargewill be 5.000%of my overduepaymentof principal
and interest I will pay this late charge promptlybut only once on each late payment.
          (B)       Default
          Ifl do not pay the full amountof each monthlypaymenton the date it is due, I will be in default
          (C)     Notice of Default

MULTISTATEFIXEDRATENOTE-SingleFamily-FannieMae/FreddieMac UNIFORJ
LoanNo. 6614487111(DoD)RA0210S09- nt3200.mls- Rev. 11/08/2007                   1111111\l~lllllllllllll~liill
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         Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19
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                                                                                     Page 7 of 110 PageID 230
                                                                                                                LoaoNo.:-
         If I am in default,the Note Holder may send me a written notice telling me that if I do not pay the overdueamount by a
certain date, the Note Holder may require me to pay immediatelythe full amountof Principalwhich has not been paid and all the
interestthat I owe on that amount. That date must be at least 30 days afterthe date on whichthe notice is mailedto me or delivered
by other means.
         (D)      No Waiver By Note Holder
         Even if, at a time when I am in default,the Note Holder does not requireme to pay immediatelyin full as describedabove,
the Note Holder will still have the right to do so ifI am in default at a later time.
         (E)     Payment of Note Holder's Costs and Expenses
        If the Note Holder has required me to pay immediatelyin full as describedabove, the Note Holder willhave the right to
be paid back by me for all of its costs and expensesin enforcingthis Note to the extent not prohibitedby applicablelaw. Those
expensesinclude,for example,reasonableattorneys'fees.
 7.      GIVINGOF NOTICES                                                                                                ..
         Unless applicablelaw requires a differentmethod, anynotice that must be given to me under this Note will be given by
deliveringit or by mailingit by frrstclassmail to me at the PropertyAddressabove or at a differentaddressif I give the Note Holder
a notice of my differentaddress.
         Any noticethat must be givento the Note Holderunder this Note will be givenby deliveringit or by mailingit by first class ·
mail to the Note Holder at the address statedin Section3(A) above or at a differentaddressif! am given a notice of that different
address.
8.       OBLIGATIONSOF PERSONSUNDERTHIS NOTE
         If more than one person signs this Note, each person is fully and personallyobligatedto keep all of the promisesmade in
this Note, includingthe promiseto pay the full amountowed. Anypersonwho is a guarantor,suretyor endorserof this Note is also
obligated to do these things. Any person who talces over these obligations,includingthe obligations of a guarantor, surety or
endorserof this Note, is also obligatedto keep all of the promisesmade in this Note. The Note Holder may enforceits rights under
this Note against each person individuallyor against all of us together. This means that any one of us may be requiredto pay all
of the amountsowed under this Note.
9.       WAIVERS
         I and any other person who has obligationsunder this Note waive the rights of Presentmentand Notice of Dishonor.
"Presentment"meansthe right to requirethe Note Holderto demandpaymentof amountsdue. ''Noticeof Dishonor"meansthe right
t.orequire the Note Holder to give notice to other personsthat amountsdue have not been paid.
10.     l]NIFORM SECURED NOTE
        This Note is a uniforminstrumentwith limitedvariationsin somejurisdictions. In additionto the protectionsgiven to the
NoteHolder under this Note, a Mortgage,Deed of Trust or SecurityDeed (the "SecurityInstrument"),dated the same date as this
Note, protects the Note Holder from possible losses which might result if! do not keep the promises which I make in this Note.
That Security Instrumentdescribeshow and under what conditionsI may be required to make immediatepayment in full of all
amounts I owe under this Note. Some of those conditionsare describedas follows:
                 If all or any part of the Propertyor any Interestin the Propertyis sold or transferred(or if Borroweris not
        a natural personand a beneficialinterestin Borroweris sold or transferred)withoutLender'sprior writtenconsent,
        Lender may require immediatepayment in full of all sums secured by this SecuricyInstrument. However,this
        option shall not be exercised by Lender if such exercise is prohibitedby ApplicableLaw.
                 If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall
        provide a period of not less than 30 days from the date the notice is given in accordancewith Section 15 within
        which Borrowermust pay all sums securedby this SecurityInstrument. If Borrowerfails to pay these sumsprior
        to the expiration of this period, Lender may invoke any remediespermittedby this Security Instrumentwithout
        further notice or demand on Borrower.




MULTISTATE   FIXEDRATENOTE-SingleFamily-FannieMae/FreddieMac UNIFORMINSTRUMENT                      Form 3200 l/Ol(Page 2 of3 Pages)
LoanNo. 6614487111 (DoD)RA0210509- nt3200.mls- Rev. 11/08/2007
                                         •
          Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19

 WITNESSTHE HAND(S)AND SEAL(S)OF THE UNDERSIGNED.                         •
                                                                        Page 8 of 110 PageID 231
                                                                                              Loan No,:




                      /IM--/~~.....;_--------<Seal)
 --.......::---~~-Q-__;;:j
 TeJeaStafford            ~                                        -Borrower

                                                                                           [Sign OriginalOnly]




l\1ULTISTATEFIXEDRATENOTE-SingleFamily-FannieMae/FreddieMac UNIFORMINSTRUMENT     Form 3200 1/0l(Page 3 of 3 Pages)
LoanNo. 6614487111 (DoD)RA0210S09- nt3200.mls- Rev. 11/08/2007
                                                •
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                                      CONSTRUCTIONLOANADDENDUMTO NOTE
                                                                                     -
                                                                                   Page 9 of 110 PageID 232
                                                                                                           LoanNo.:-



        THIS CONSTRUCTIONLOANADDENDUM("Addendum")is made this Thirtieth day of November, 2007 and is
incorporatedinto and shall be deemedto amendand supplementthe Note (the 11Note11) of the same date given by the undersigned
(the "Borrower")to Bank of America, N.A. (the 11Lender11) in the amountof $810,561.00 Dollars.
           Tennsdefinedin the Note shallhavethe samemeaningin this Addendum.
           In additionto the covenantsand agreementsmade in the Note, Borrowerand Lender agree as follows:
        As a benefitto the Borrower,this Note is for a combinedconstructionand pennanent loan. This Note shallbe entitledto
the benefits of the tenns and conditions of the Residential ConstructionLoan Agreement of even date herewith (the "Loan
Agreement"),whichAgreementprovidesfor periodicadvancesof the principalamountof the Note for the purposeof constructing
or renovatinga residenceon the real propertysecuring the Note. Borrower acknowledgesthat during this constructionphase,
Borrowerwill have an Adjustable Interest Rate as defined below. Borrower also acknowledgesthere is a prepaymentpenalty
associatedwith the loan during this phase.
A.        INTERESTRATE DURINGCONSTRUCTIONLOANPHASE. Thetenn 11ConstructionLoanPhase"as usedherein
          shall meanthe time periodbeginningwith the initialadvanceofloan proceedswhetherat loan closingor later and ending
          on December 01, 2008 (the "RolloverDate".) Notwithstandingthe provisionsof the Note Borrowershall make
          monthlypaymentsof interestonly, as bi11edby Lender. The intereston the sums disbursedand outstandingfrom time to
          time, duringthe ConstructionLoan Phase shall accrue at the rate of 7.068% per annum.
          Duringthe ConstructionLoanPhase interestshall accrueand be calculatedon a 365 day annualbasisby computinga daily
          amountof interestfor a 365 dayyear and multiplyingthat amountby the numberof daysin each interestcalculationperiod.
          All interestaccrued duringthe ConstructionLoan Phase shall be due and payablein full on the RolloverDate.
B.        [ X ] CONSTRUCTIONLOAN PHASE PREPAYMENT. You have the right to make nonscheduledpaymentsof
          principalat any time before they are due. This paymentof principal is known as a "prepayment.11 A prepaymentof the
          entire unpaidprincipalis known as a "fullpayment." Any amountprepaid that is less than the entireunpaidprincipalis
          known as a "partial prepayment." Any amount of the loan proceeds not disbursed as agreed is known as
          "underdisbursement."Durmg the ConstructionLoan Phaseand prior to the RolloverDate, you may prepayup to 40% of
          the originalprincipalamountof the loanwithouta prepaymentcharge. If you prepayan amountin excessof 40%,you will
          be requiredto pay a fee equal to 2% of the originalprincipalamount of the loan. In addition.if the total loan proceeds
          disbursedduringthe ConstructionLoanPhase is lessthan 60% of the originalface amountof the Note,youwillbe required
          to pay a prepaymentfee equal to 2% of the originalface amount of the Loan. The 2% fee shall also be payableif by the
          combinationof a partialprepaymentand under disbursementof loan proceeds,the principalbalance at RolloverDate is
          less than 60% of the originalface amountof the Note. In addition,if the loan is not deliveredto Bank of America,N.A.
          for servicingas a pennanent loan, the 2% fee shallbe due and payable.
C.        WAIVERS BY BORROWER. To the extent allowedby law and notwithstandingany otherprovisionin the Note, the
          SecurityInstrumentof evendateandthe ResidentialConstructionLoanAgreement       (the 11LoanDocuments11)to the contrary,
          Borrower and any other person who has obligationsunder the Note, jointly and severallywaive notice of default and
          presentment,notice of dishonor,and notice of intentionto acceleratethe maturityof the Note, and noticeof acceleration
          of the Note; further, Borrower and all Guarantors,if any, agree to all extensionsof time for paymentunder the Note,
          renewalsof the Note includingchangingthe tenns thereo~ acceptanceby the Lenderof partialpaymentson the Note, and
          releases of liability as to certain parties obligatedunder the Loan Documents,and partial or full releases of property
          securingsaid Note.
D.        LENDER'SREMEDIES UPON DEFAULT.
          1.        Acceleration of Maturity of Note. Upon any monetaryor non-monetarydefaultby Borrowerof any provision
                    of the Loan Documents,Lender may declare the unpaid principalof the Note and all accrued interestthereon
                    immediatelydue and payable. Lender'sright to acceleratethe maturityof the Note as to any subsequentdefault
                    shall not be impairedor waivedby any electionby Lender not to exerciseit upon a defaultby Borrower.
          2.        Right of Offset. Upon anymonetarydefaultby Borrower,Lendershallhave in additionto all otherremediesthe
                    remedy of offset to the extent of monies owed to Borrower or Guarantors,if any, herein as against Lender's
                    obligationsto such Borroweror Guarantors.
E.        PERMANENTPHASE INTERESTRATE. Borrower'spermanentphase interestrate effectiveon RolloverDate will
          be as stated or detenninedbelow:


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           I.
                                                  -
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                                                                                           Page 10 of 110 PageID 233
                                                                                                                      Loan No.:
                      [ X J Notwithstanding the rate of interest stated in Section 2 of the Note, (the Face Rate"), if on the date 45
                                                                                                            11

                      days prior to the Construction Completion Date the prevailing market rate of interest offered by Lender for 60-day
                      lock-ins for the loan type with terms comparable to those contained in the Note (the 11MarketRate 11) taking any and
                      all previously paid fees and/or discount points into_acco1;1nt,is less than the F~ce Rate, then_the Not~ will_be
                      modified to the lower Market Rate. Any such change m the mterest rate shall be evidenced by written mod1ficat10n
                      agreement between Borrower and Lender and such agreement (if applicable) shall also reflect changes to other
                      Note terms as required; or

           2.         [NIA]     The Note rate shall be the Face Rate as stated and/or calculated therein.

F.         OPTION TO MODIFY ADJUSTABLE                             RATE      NOTE       TO     FIXED      RATE       TERMS        DURING
           CONSTRUCTION LOAN PHASE.
           [N/A] If checked, Borrower shall have the right to modify the Permanent Phase of the loan from one with an adjustable
           rate ofinterest as set forth in the Note to one with a fixed rate of interest equal to the interest rate Lender is offering for 60
           day lock-ins for mortgage loans with comparable terms, 45 days prior to the Construction Completion Date taking into
           account any and all previously paid fees and/or discount points, provided such rate is equal to or less than the Face Rate,
           and provided the following conditions are adhered to:

           1.        Borrower must not be in default under the Note, the Security Instrument or the Residential Construction Loan
                     Agreement.
           2.        Borrower pays a non-refundable $250.00 rollover modification option fee at closing.
           3.        The loan term for the Permanent Loan Phase must remain the same.
           4.        The improvements to the subject property must be completed by the original Construction Completion Date
                     November 30, 2008. Should Lender elect to extend the construction completion date, this option to modify to a
                     fixed rate loan shall not be available.
           5.        In the event there is no comparable rate for the loan discount paid at closing, when it is time to determine the fixed
                     rate of interest for the Permanent Loan Phase of your Loan you will receive the next highest rate with a curtailment
                     to the principal balance for the unused discount points paid, if any. You may not buy down the rate any further.

           The Modification Agreement prepared for execution by Borrower and Lender will specify the new monthly payment
           amount of principal and interest necessary to amortize the loan to date of maturity. The new monthly payment will be first
           due on the first day of the second month after the date of modification.

G.         LATE OR EARLY COMPLETION OF CONSTRUCTION. The Construction Completion Date is November 30,
           2008.

           1.        Late Completion. Failure to complete construction of the Residence as described in the Residential Construction
          Loan Agreement by the Construction Completion Date November 30, 2008 shall constitute an event of default hereunder,
          under the Security Instrument and under the Loan Agreement. Provided, however, so long as there exists no other event
          of default and on a one time basis only, Lender in its sole discretion may elect to extend the Construction Completion Date
          and Rollover Date one or more periods of 30 days each up to a maximum of 120 days to facilitate the completion of
          construction. In the event Lender makes such election to extend, Borrower shall be required to pay Lender an extension
          fee equal to the l~sser of$500.00 or one quarter of one percent (.25%) of the original principal amount of the Note. Should
          Lender elect to extend the Construction Completion Date and Rollover Date, Borrower may pay a fee for interest rate
          protection commensurate with the time of extension granted prior to the expiration of the original Construction Completion
          Date equal to .50% of the original loan amount for the first 30 days of extension and .125% of the original loan amount
          for each 30 day period (as applicable) thereafter, up to a maximum of 120 days. Borrower's election to pay for extended
          rate protection must be exercised prior to the original Construction Completion Date, but no earlier than 45 days prior
          thereto. If Borrower elects not to pay for such rate protection the rate at which interest will accrue on the Note subsequent
          to the new Rollover Date shall be equal to the greater of the Face Rate or the rate established by Bank of America, N.A.
          as its 60 day rate offered fifteen (15) calendar days prior to the new Construction Completion Date, for mortgage loans with
          terms comparable to those contained in the Note taking any and all previously paid fees and/or discount points into account.
          Any change in the interest rate or other Note terms shall be evidenced by written modification agreement executed by
          Borrower and Lender, and such agreement (if applicable for the subject loan type) shall also reflect all tenns relating to
          future interest rate changes.
                    Any amount of principal not advanced prior to the Rollover Date (whether extended or not) may, in the sole
          discretion of Lender, be funded into escrow with the closing title company on such Rollover Date, and advances may be
          made out of such escrow after the Rollover Date in accordance with terms approved by Lender. Alternatively, any funds
          not advanced under the Residential Construction Loan Agreement upon completion of the construction of the Residence
          prior to the Rollover Date (whether extended or not) may at Lender's option, be credited against the stated principal amount
          of the Note on such Rollover Date. Any portion of a payment received in excess of interest due during the Construction
          Loan Phase shall be applied to principal. This may result in a penalty as described in Section B above.               ·


(DoD)RA0210509- adconstnote.bax-Rev. 10/1812007                     Page2
           2.
                                                  -
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                                                                                            -
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                                                                                                                   Loan No.:
                     Early Completion. In the event the construction of the Residence as described in the Loan Agreement is
           completed more than thirty-one (31) days prior to the Construction Completion Date, upon Borrower's fifteen (15) days
           prior written request, Lender may, in its sole discretion, pennit an earlier rollover of the loan from Construction Loan Phase
           to Pennanent Loan Phase.
                     If Lender so consents Lender shall designate the new Rollover Date and beginning date for pennanent monthly
           payments of principal and interest. The interest rate shall not change unless Section E. l. is designated, in which event the
           interest rate will be the lesser of (I) the prevailing Market Rate offered by Lender 15 days prior to the early Construction
           Completion Date, taldng any and all previously paid fees and/or discount points paid into account or (ii) the Face Rate.
           Borrower shall be required to execute a modification agreement evidencing all required changes to the Note, including but
           not limited to changes in interest rate, first payment due date and amount of monthly principal and interest payment, as
           applicable.

 H.        MODIFICATION DOCUMENTS. Should the occurrence of any matters or contingencies addressed herein cause any
           terms of the Note to change, or necessitate the submission of new disclosures by Lender to Borrower, Borrower agrees to
           execute all documents Lender deems necessary and appropriate to properly evidence such changes and to confirm receipt
           of additional disclosures. Borrower's failure to execute such documents reflecting any such changes within the time frame
           specified by Lender shall constitute an event of default under the Note and Security Instrument.

           Borrower will pay all fees to record the Modification Documents and any additional charges of the title insurance provider
           necessary to maintain lender title insurance coverage.

 I.        NOTICE. Except as may be required by applicable law, Lender wili not provide Borrower notice of interest rate changes
           during the Construction Loan Phase.

 J.        TRANSFER OF PROPERTY. Any provision in the Note permitting the Borrower to transfer property that is security
           for the Note shall not be effective during the Construction Loan Phase. Unless prohibited by applicable law, any transfer
           of the property securing the Note during the Construction Loan Phase shall constitute a default.

 K         LATE CHARGE INAPPLICABLE. The Late Charge for Overdue Payments provision in the Note shall not be
           applicable during the Construction Loan Phase.

L.         CONFLICTS. If any tenn or provision of this Addendum shall be in conflict with any term or provision of the Note, the
           term or provision of this Addendum shall control.

M.         TERMS. Except as amended or supplemented hereby, the terms and provisions of the Note shall remain unchanged and
           in full force and effect.

         Except as to the interest rate provisions set forth in sections E., F., G., and H., as applicable, of this Addendum, and so long
as no event of default exists hereunder or under any instrument further evidencing or securing this Note, after the advance of all
funds as necessary to complete the construction of the Residence as described in the Residential Construction Loan Agreement or
the Rollover Date, whichever is later, this Addendum will be null and void and no longer in effect.




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  to Note.
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                                                                                 -
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                                                                                                   LoanNo.:-
             By signingbelow,Borroweracceptsandagreesto the termsand covenantscontainedin this ConstructionLoanAddendum
                      f cuJ._            k,        ,St,
  Borrower:Paul K. Stafford                          ~
• Borrower:~t~                                            •              Date




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             EXHIBIT A-2
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 After RecordingMail To:
 Bank of America, N.A.
 ATTN: Construction
 9000 Southside Blvd., Ste. 700
 Jacksonville, FL 32256
 PreparedBy:
 Robertson & Anschutz
 10333 Richmond Avenue, Suite 550
 Houston, TX 77042
                                                      DEED OF TRUST

          NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL
          PERSON, YOU MAY REMOVE OR STRIKE ANY OR ALL OF THE
          FOLLOWING INFORMATION FROM ANY INSTRUMENT THAT
          TRANSFERS AN INTEREST IN REAL PROPERTY BEFORE IT IS FILED
          FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY
          NUM:BEROR YOUR DRIVER'S LICENSE NUMBER. '
                                                                                                                      LoanNo.
 DEFINITIONS
 Words used in multiplesectionsof this documentare definedbelow and other words are defined in Sections3,
 11, 13, 18, 20 and 21. Certain rules regardingthe usage of words used in this documentare also providedin
 Section 16.
 (A)      "Security Instrument" meansthis document,which is dated November 30, 2007, together with all
 Riders to this document.
 (B)      "Borrower" is Paul K Stafford and Telea Stafford, husband and wife. Borroweris the granter
 underthis SecurityInstrument.                                                                                             .
  (C)      "Lender" is Bank of America, N.A.. Lender is a National Association organizedand existingunder
  the laws of the United States of America. Lender's address is P.O. Box 9000, Getzville, NY 14068-9000.
  Lender is the beneficiaryunder this SecurityInstrument.
  (D)      "Trustee" is PRLAP, Inc .. Trustee'saddressis 901 Main Street, Dallas, TX 75202.
  (E)      ~'Note"meansthe promissorynote signedby Borrowerand dated November 30, 2007. The Note states
  that Borrower owes Lender Eight Hundred Ten Thousand Five Hundred Sixty.One Dollars (U.S.
  $810,561.00 ) plus interest. Borrowerhas promisedto pay this debt in regularPeriodicPaymentsand to pay the
  debt in full not later than December 01, 2038.
  (F)      "Property" means the propertythat is describedbelow under the heading "Transferof Rights in the
· Property."
  (G)      "Loan" means the debt evidencedby the Note, plus interest. any prepaymentcharges and late charges
  due under the Note, and all sums due under this SecurityInstrument.plus interest
  (H)      "Riders" means all Riders to this SecurityInstrumentthat are executedby Borrower. The following
  Riders are to be executedby Borrower[checkbox as applicable]:
         [X] Constructio~Loan Rider                                                  [X] Renewal and ExtensionRider

(I)      "ApplicableLaw" means all controlling applicable federal, state and local statutes, regulations,
ordinancesand administrativerules and orders (that have the effect of law) as well as all applicablefinal, non•
appealablejudicial opinions.
(J)      "Community Association Dues, Fees, and .Assessments"means all dues, fees, assessmentsand other
chargesthat are imposedon Borroweror the Propertyby a condominiumassociation,homeownersassociationor
similar organization.

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  (IC)      "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by check,
 draft, or similar paper instrument, which is initiated through an electronic terminal, telephonic instrument,
 computer, or magnetic tape so as to order, instruct, or authorize a financial .institution to debit or credit an account.
 Such term.includes, but is not limited to, point-of-sale transfers, automated teller machine transactions, transfers
 initiated by telephone, wire transfers, and automated clearinghouse transfers.           ·
 (L)        "Escrow Items" mean those items that are described in Section 3.
 (M)       11 1Vfiscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid
 by any third party (other than insurance proceeds paid under the coverages described in Section 5) for: (I) damage
 to, or destruction of, the Property; (ii) condemnation or other taldng of all or any part of the Property;
 (iii) conveyance in lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or
 condition of the Property.
 (N)       "Mortgage Insurance' 1 means insurance protecting Lender against the nonpayment of, or default on, the
Loan.
 (0)       "Periodic Payment" means the regularly scheduled amount due for (I) principal and .interest under the
Note, plus (ii) any amounts under Section 3 of this Security Instrument
(P)        "RESPA1 ' means the Real Estate Settlement Procedures Act (12 U.S.C. §2601 et seq.) and its
implementing regulation, Regulation X (24 C.F .R. Part 3500), as they might be amended from time to time, or any
additional or successor legislation or regulation that governs the same subject matter. As used in this Security
Instrument, "RESP A" refers to all requirements and restrictions that are imposed in regard to a "federally related
mortgage loan" even if the Loan does not qualify as a "federally related mortgage loan" under RESPA.
(Q)        11 Successor in Interest ofBorrower" means any party that has taken title to the Property, whether or not
that party has assumed Borrower's obligations under the Note and/or this Security Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY

This Security Instrument secures to Lender: (a) the repayment of the Loan, and all renewals, extensions and
modifications of the Note; and (b) the performance of Borrower's covenants and agreements under this Security
Instrument and the Note. For this purpose, Borrower irrevocably grants and conveys to Trustee, in trust, with
power of sale, the following described property located in the County of Dallas:

         .See Exhibit   11   A 11 attached hereto and made a part hereof for all purposes



which currently has the address of 12923 Epps Field Road, Farmers Branch, TX 75234 ("Property Address"):

         TOGETHER WITH all the improvements now or hereafter erected on the property, and all easements,
appurtenances, and fixtures now or hereafter a part of the property. All replacements and additions shall also be
covered by this Security Instrument. All of the foregoing is referred to in this Security Instrument as the
"Property."

          BORROWER COVENANTS that Borrower is lawfully seised of the,estate hereby conveyed and has the
right to grant and convey the Property and that the Property is unencumbered, except for encumbrances ofrecord.
Borrower warrants and will defend generally the title to the Property against all claims and demands, subject to
any encumbrances of record.

        THIS SECURITY INSTRUMENT combines uniform covf,nants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real property.

         UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
         1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges. Borrower
shall pay when due the principal of, and interest on, the debt evidenced by the Note and any prepayment charges
and late charges due under the Note. Borrower shall also pay funds for Escrow Items pursuant to Section 3.
Payments due under the Note and this Security Instrument shall be made in U.S. currency. However, if any check

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   or other instrument received by Lender as payment under the Note or this Security Instrument is returned to Lender
  unpaid, Lender may require that any or all subsequent payments due under the Note and this Security Instrument
  be made in one or more of the following forms, as selected by Lender: (a) cash; (b) money order; (c) certified
   check, bank check, treasurer's check or cashier's check, provided any such check is drawn upon an institution
  whose deposits are insured by a federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.
             Payments are deemed received by Lender when received at the location designated in the Note or at such
  other location as may be designated by Lender in accordance with the notice provisions in Section 15. Lender may
  return any payment or partial payment if the payment or partial payments are insufficient to bring the Loan current.
  Lender may accept any payment or partial payment insufficient to bring the Loan current, without waiver of any
  rights.hereunder or prejudice to its rights to refuse such payment or partial payments in the future, but Lender is
  not obligated to apply such payments at the time such payments are accepted. If each Periodic Payment is applied
  as of its scheduled due date, then Lender need not pay interest on unapplied funds. Lend~r may hold such
  unapplied funds until Borrower makes payment to bring the Loan current. If Borrower does not do so within a
  reasonable period oftime, ~ender shall either apply such funds or return them to Borrower. If not applied earlier,
  such funds will be applied to the outstanding principal balance under the Note immediately prior to foreclosure.
  No offset or claim which Borrower might have now or in the future against Lender shall relieve Borrower from
  making payments due under the Note and this Security Instrument or perfonningthe covenants and agreements
  secured by this Becurity Instrument.
            2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments
  accepted and applied by Lender shall be applied in the following order of priority: (a) interest due under the Note;
  (b) principal due under the Note; (c) amounts due under Section 3. Such payments shall be applied to each
  Periodic Payment in the order in which it became due. Any remaining amounts shall be applied first to late
  charges, second to any other amounts due under this Security Instrument, and then to reduce the principal balance
  of the Note.
            IfLender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient
  amount to pay any late charge due, the payment may be applied to the delinquent payment and the late charge.
 If more than one Periodic Payment is outstanding, Lender may apply any payment received from Borrower to the
 repayment of the Periodic Payments if, and to the extent that, each payment can be paid in full. To the extent that
 any excess exists after the payment is applied to the full payment of one or more Periodic Payments, such excess
 may be applied to any late charges due. Voluntazy prepayments shall be applied first to any prepayment charges
 and then as described in the Note.
           Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the
 Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.
           3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under
 the Note, until the Note is paid in full, a sum-(the "Funds") to provide for payment of amounts due for: (a) taxes
 and assessments and other items which can attain priority over this Security Instrument as a lien or encumbrance
 on the Property; (b) leasehold payments or ground rents on the Property, if any; ( c) premiums for any and all
 insurance required by.Lender under Section 5; and (d) Mortgage Insurance premiums, if any, or any sums payable
by Borrower to Lender in lieu of)he p'ayment of Mortgage Insurance premiums in accordance with the provisions
 of Section 10. These items are called "Escrow Items." At origination or at any time during the term of the Loan,
Lender may require that Community Association Dues, Fees, and Assessments, if any, be escrowed by Borrower,
and such dues, fees, and assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all
nptices of amounts to be paid under this Section. Borrower shall pay Lender the Funds for Escrow Items unless
Lender waives Borrower's obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower's
obligation to pay to Lender Funds for any or all Escrow Items at any time. Any such waiver may only be in
writing. In the event of such waiver, Borrower shall pay directly, when and where payable, the amounts due for
any Escrow Items for which payment of Funds has been waived by Lender and, if Lender requires, shall furnish
to Lender receipts evidencing such payment within such time period as Lender may require. Borrower's obligation
to make such payments and to provide receipts shall for all purposes be deemed to be a covenant and agreement
contained in this Security Instrument, as the phrase "covenant and agreement" is used in Section 9. If Borrower
is obligated to pay Escrow Items directly, pursuant to a waiver, and ;sorr9wer fails to pay the amount due for an
Escrow Item, Lender may exercise its rights under Section 9 and pay such amount and Borrower shall then be
obligated under Section 9 to repay to Lender any such amount Lender may. revoke the waiver as to any or all


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   Escrow Items at any time by a notice given in accordance with Section 15 ~d, upon such revocation, Borrower
    shall pay to Lender all Funds, and in such amounts, that are then required under this Section 3.
             Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the
   Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under
   RESPA. Lender shall estimate the amount of Funds due on the basis of current data and reasonable estimates of
   expenditures of future Escrow Items or otherwise in accordance with Applicable Law.
             The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality,
   or entity (includingLender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan
   Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified under RESPA.
   Lender shall not charge Borrower for holding and applying the Funds, annually analyzingthe escrow account, or
   verifying the Escrow Items, unless Lender pays Borrower interest on the Funds and Applicable Law permits
   Lender to make such a charge. Unless an agreement is made in writingorApplicableLawrequiresinterestto-be
   paid on the Funds, Lender shall not be required to pay Borrower any interest or earnings on the Funds. Borrower
   and Lender can agree in writing, however, that interest shall be paid on the Funds. Lender shall give to Borrower,
   without charge, an annual accounting of the Funds as required by RESPA.
             Ifthere is a surplus ofFunds held in escrow, as defined under RESPA, Lender shall account to Borrower
   for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined under
   RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount
  necessary to make up the shortage fuaccordance with RESPA, but in no more than twelve monthly payments. If
  there is a deficiencyof Funds held in escrow, as defmed under RESP A, Lender shall notify Borrower as required
   by RESPA, and Borrower shall pay to Lender the.amount necessary to make up the deficiency in accordance with
  RESPA, but in no more than twelve monthly payments.
             Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to
  Borrower any Funds held by Lender.
             4. Charges; Liens. Borrowershall pay all taxes, assessments, charges, fines, and impositionsattributable
  to the Property whichcan attain priority over this SecurityInstrument,leasehold paymentsor ground rents on the
. Property, if any, and CommunityAssociation Dues, Fees, and Assessments, if any. To the extent that these items
  are Escrow Items, Borrower shall pay them in the manner provided in Section 3.
             Borrower shall promptly discharge any lien which has priority over this Security Instrument unless
  Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to
  Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in good faith by, or
  defends against enforcement of the lien in, legal proceedings which in Lender's opinion operate to prevent the
  enforcement of the lien while those proceedings are pending, but only until such proceedings are concluded; or
  (c) secures from the holder of the lien an agreement satisfactory to Lender subordinatingthe lien to this Security
  Instrument If Lender determines that any part of the Property is subject to a lien which can attain priority over
 this Security Instrument,Lender may give Borrower a notice identifying the lien. Within 10 days of the date on
  which that notice is giv~n,Borrower shall satisfy the lien or take one or more of the actions set forth above in this
  Sectjon4.
            Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting
  service used by Lender in connection with this Loan. .
            5. Property Insurance. Borrower shall keep the improvementsnow existing or hereafter erected on the
 Property insured against loss by fire, hazards included within the term "extendedcoverage," and any other hazards
 including, but not limited to, earthquakes and floods, for which Lender requires insurance. This insurance shall
 be maintained in fue amounts (including deductible levels) and for the periods that Lender requires. What Lender
 requires pursuant to the preceding sentences can change during the term of the Loan. The insurance carrier
 providing the insurance shall be chosen by Borrower subject to Lender's right to disapprove Borrower's choice,
 which right shall not be exercised unreasonably. Lender may require Borrower to pay, in connection with this
 Loan, either: (a) a one-time charge fodlood zone determination, certification and tracking services; or (b) a one-
 time charge for flood zone determinationand certification services and subsequent charges each time remappings
 or similar changes occur which reasonably might affect such determination or certification. Borrower shall also
 be responsible for the payment of any fees imposed by the Federal Emergency ManagementAgency in connection
 with the review of any flood zone determination resulting from an objection by Borrower.
            If' Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
 coverage, at Lender's option and Borrower'sexpense. Lender is underno obligationto purchase anyparticular type

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 or amount of coverage. Therefore, such coverage shaii cover Lender, but might or might not protect Borrower,
 Borrower's equity in the Property, or the contents of the Property, against any risk, hazard or liability and might
 provide greater or lesser coverage than was previously in effect. Borrower acknowledges that the cost of the
 insurance coverageso obtainedmight significantlyexceed the cost of insurancethat Borrower could have obtained.
 Any amoun~ disbursed by Lender under thls Section 5 shall become additional debt of Borrower secured by this
 Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and shall
 be payable, vt1ithsuch interest, upon notice from Lender to Borrower requesting payment.
   ,      All insurance policies required by Lender and renewals of such policies shall be subject to Lender'sright
 to disapprove such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or
 as an additional loss payee. Lender shall have the right to hold the policies and renewal certificates. If Lender
 requires, Borrower shall promptly give to Lender all receipts of paid premiums and renewal notices. If Borrower
 obtains any form of insurance coverage, not otherwise required by Lender, for damage to, or destruction of, the
 Property, such policy shall include a standard mortgage clause and shall name Lender as mortgagee and/or as an
 additional loss payee.
          In the event ofloss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may
 make proof ofloss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in writing,
 any insurance proceeds, whether or not the underlying insurance was required by Lender, shall be applied to
restoration or repair of the Property, .if the restoration or repair is economically feasible and Lender's security is
not lessened, During such repair and restoration period, Lender shall have the right to hold such insurance proceeds
until Lender has had an opportunity to inspect such Property to ensure the work has been completed to Lender's
satisfaction, provided that such inspection shall be undertaken promptly. Lender may disburse proceeds for the
repairs and restoration in a single p~yment or in a serie_sof progress payments as the work is completed. Unless
an agreement is made in writing or Applicable Law requires interest to be paid on such insurance proceeds, Lender
shall not be required to pay Borrower any interest or earnings on such proceeds. Fees for public adjusters, or other
third parties, retained by Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation
of Borrower. If the restoration or repair is not economically feasible or Lender's security would be lessened, the
insurance proceeds shall be appliedto the sums secured by this Security Instrument, whether or not then due, with
the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the order provided for in Section
2.         .
          If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim
 and related matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance carrier
 has offered to settle a claim, then Lender may negotiate and settle the claim. The ~0-day period will begin when
 the notice is given. In either event, or if Lender acquires the Property under Section 22 or otherwise, Borrower
 hereby assigns to Lender (a) ~orrower 1s rights to any insurance proceeds in an amount not to exceed the amounts
 unpaid under the Note or this Security Instrument, and (b) any other of Borrowers rights (other than the right to
 any refund of unearned premiums paid by Borrower) under all insurance policies covering the Property>insofar
 as such rights are applicable to the coverage of the Property. Lender may use the insurance proceeds either to
repair or restore the Property or to pay amounts unpaid under the Note or this Security Instrument, whether or not
then due.
          6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal residence
within 60 days after the execution of this Security Instrument and shall continue to occupy the Property as
Borrower's principal residence for at least one year after the date of occupancy, unless Lender otherwise agrees
in writing, which consent shall not be unreasonably withheld, or unless extenuating circumstances exist which are
beyond Borrower's control.
          7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not
destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the Property.
Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent the
Property from deterioratingor decreasing in value due to its condition. Unless it is determined pursuant to Section
5 that repair or restoration is not economically feasible, Borrower shall promptly repair the Property if damaged
to avoid further deterioration or damage. If insurance or condemnation proceeds are paid in connection with
damage to, or the taldng of, the Property, Borrower shall be responsible forrepairing or restoring the Property only
if Lender has released proceeds for such purposes. Lender may disburse proceeds for the repairs and restoration
in a single payment or in a series of progress payments as the work is completed. If the insurance or condemnation


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  proceedsme not sufficientto repair or restorethe Property,Borroweris not relievedof Borrower'sobligationfor
  the completionof such repair or restoration.
            Lenderor its agentmaymakereasonableentriesupon and inspectionsofthe Properl;y.Ifithas reasonable
  cause,Lender may inspectthe interiorof the improvementson the Property. Lender shall give Borrowernotice
  at the time of or prior to such an interior inspectionspecifyingsuch reasonablecause.
            8. Borrower's Loan Application. Borrowershallbe in defaultif, duringthe Loan applicationprocess,
  Borroweror any persons or entitiesacting at the directionof Borroweror with Borrower'sknowledgeor consent
  gave materiallyfalse,misleading,or inaccurateinformationor statementsto Lender(or failed to provideLender
  with materialinformation)in connectionwith the Loan. Materialrepresentationsinclude,but are not limitedto,
  representationsconcerningBorrower'soccupancyof the Propercyas Borrower'sprincipalresidence. .
            9. Protectionof Lender'sInterestin the Property and Rights Under this Security Instrument.If
  (a) Borrowerfails to perfonn the covenantsand agreementscontainedin this SecurityInstrument,(b) there is a
  legalproceedingthat might significantlyaffect Leniier'sinterest in the Propertyand/orrights under this Security
  Instrument(suchas a proceedingin bankruptcy,probate,for condemnationor forfeiture,for enforcementof alien
  which may attain priority over this SecurityInstrumentor to enforce laws or regulations),or (c) Borrowerhas
  abandonedtheProperty,then Lendermay do and pay for whateveris reasonableor appropriateto protectLender's
  interestin the Propertyand rights underthis SecurityInstrument,includingprotectingand/or assessingthe value
  of the Property,and securing and/orrepairingthe Property. Lender'sactions can include, but are not limitedto:
 (a) payinganysums securedby a lien whichhas priority overthis SecurityInstrument;(b) appearingin court;and
 (c) paying reasonable attorneys' fees to protect its interest in the Property and/or rights under this Security
 Instrument,includingits securedpositionin a banlcruptcyproceeding. Securingthe Properf;yincludes,but is not
 limitedto, enteringthe Propercyto makerepairs,changelocks,replaceor boardup doorsand windows,drainwater
 frompipes,eliminatebuildingor othercodeviolationsor dangerousconditions,and haveutilitiesturned on or off.
 AlthoughLendermay take actionunder this Section9, Lender does not have to do so and is not under any duty
 or obligationto do so. It is agreedthat Lenderincursno liabilityfor not taking any or all actions authorizedunder
 this Section9.                                .
           Any amountsdisbursedby Lenderunderthis Section9 shallbecome additionaldebt of Borrowersecured
 by this SecurityInstrument These amountsshiµlbear interestat the Note rate fromthe date of disbursementand
 shall be payable,with such interest,upon notice from Lenderto Borrower requestingpayment.
           If this SecurityInstrumentis on a leasehold.Borrowershall comply with all the provisionsof the lease.
 If Borroweracquiresfee title to the Property,the leaseholdand the fee title shall not mergeunless Lenderagrees
to the mergerin writing.                                   ·
           10. Mortgage Insurance. If Lenderrequired MortgageInsuranceas a conditionof making the Loan,
Borrowershall'paythe premiumsrequired to maintainthe Mortgage Insurancein effect. If, for any reason,the
Mortgagefusurancecoveragerequiredby Lenderceasesto be availablefrom the mortgageinsurerthat previously
providedsuchinsuranceandBorrowerwas requiredto makeseparatelydesignatedpaymentstowardthe premiums
for MortgageInsurance,Borrowershallpay the premiumsrequiredto obtain coveragesubstantiallyequivalentto
the Mortgage Insurancepreviously in effect, at a cost substantiallyequivalentto the cost to Borrower of the
MortgageInsurancepreviouslyin effect,from an alternatemortgageinsurer selectedby Lender. If substantially
equivalentMortgageInsurancecoverageis hot available,Borrowershall continueto pay to Lenderthe amountof
the separatelydesignatedpaymentsthat were due when the insurancecoverageceasedto be in effect Lenderwill
accept,use and retain these paymentsas a non-refundableloss reserve in lieu of MortgageInsurance. Suchloss
reserveshall be non-refundable,notwithstandingthe fact that the Loan is ultimatelypaid in full, and Lendershall
not be requiredto pay Borrowerany interest or earpingson such loss reserve. Lendercan no longer requireloss
reservepaymentsif MortgageInsurancecoverage(in the amountand for the periodthatLenderrequires)provided
by an insurerselectedby Lenderagain becomesavailable,is obtained,and Lenderrequiresseparatelydesignated
paymentstoward the premiumsfor MortgageInsurance. If Lender required MortgageInsurance as a condition
of makingthe Loan and Borrowerwas requiredto make separatelydesignatedpaymentstowardthe premiumsfor
MortgageInsurance,Borrower shall pay the premiumsrequiredto maintain MortgageInsurancein effect,or to
provideanon-refundaoleloss reserve,until Lender'srequirementfor MortgageInsuranceendsin accordancewith
any written agreementbetween Borrower and Lender providing for such termination or until terminationis
requiredby ApplicableLaw. Nothing in this Section 10 affects Borrower'sobligationto pay interest at the rate
providedin the Note.


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              Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may
   incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.
              Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter
   into agreements with other parties that share or modify their risk, or reduce losses. These agreements are on terms
   and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to these agreements.
   These agreements may require the mortgage insurer to make payments using any source of funds that the mortgage
   insurer may have available (which may include funds obtained from Mortgage Insurance premiums).
             As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any
   other entity, or any affiliate of any of the foregoing, may receive ( directly or indirectly) amounts that derive from
  (or might be characterized as) a portion ofBorrower's payments for Mortgage Insurance, in exchange for sharing
  or modifying the mortgage insurer's risk, or reducing losses. Ji such agreement provides that an affiliate of Lender
  takes a share of the insurer's risk in exchange for a share of the premiums paid to the insurer, the arrangement is
  often tenned "captive reinsurance. 11 Further:
             (a) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage
  Insurance, or any otl_lerterms of the Loan. Such agreements will not increase the amount Borrower will
  owe for Mortgage Insurance, and they will not entitle Borrower to any refund.
             (b) Any such agreements will no~ affect the rights Borrower has - if any -with respect to the
  Mortgage lns.urance under the Homeowners Protection Act of 1998 or any other law. These rights may
  include the right to receive certain disclosures, to request and obtain cancellation of the Mortgage
  Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive a refund of any
  Mortgage Insurance premiums that were unearned at the time of such cancellation or termination.
             11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
  assigned to and shall be paid to Lender.
             If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the
 Property, if the restoration or repair is economica1!y feasible and Lender's security is not lessened. During such
 repair and restoration period, Lender shall have the right to hold such Misce1!aneous Proceeds until Lender bas
 bad an opportunity to inspect such Property to ensure the work has been completed to Lender's satisfaction,
 provided that such inspect10n shall be undertaken promptly. Lender may pay for the repairs and restoration in a
 single disbursement or in a series of progress payments as the work is completed. Unless an agreement is made
 in writing or Applicable Law requires interest to be paid on such Miscellaneous Proceeds, Lender shall not be
 required to pay Borrower any interest or earnings on such Miscellaneous Proceeds. If the restoration or repair is
 not economically feasible or Lender's security would be lessened, the Miscellaneous Proceeds shall be applied to
 the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower.
 Such Miscellaneous Proceeds shall be applied in the order provided for in Section 2.
            In the event of a total talcing, destruction, or loss in value of the Property, the Miscellaneous Proceeds shall
 be applied to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid
to Borrower.
            In-the event ofa parti~l talcing, destruction, or loss in value of the Property in which the fair market value
 of the Property immediately before the partial taking, destruction, or loss in value is equal to or greater than the
 amount of the sums secured by this Security Instrument immediately before the partial taking, destruction, or loss
 in value, unless Borrower and Lender othenvise agree in writing, the sums secured by this Security Instrument shall
be reduced by the amount of the Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount
of the sums secured immediately before the partial taking, destruction, or loss in value divided by (b) the fair
market value of the Property immediately before the partial taldng, destruction, or loss in value. Any balance shall
be paid to Borrower.
           In the event of a partial taldng, destruction, or loss in value of the Property in which the fair market value
of the Property immediately before the partial taking, destruction, or loss in value ls less-than the amount of the
sums secured immediately before the partial raking, destruction, or loss in value, unless Borrower and Lender
othenvise agree in writing, the Miscellaneous Proceeds shall be applied to the sums secured by this Security
Instrument whether or not the sums are then due.
         · If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing
Party (as defined in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to
respond to Lender withln 30 days after the date the notice is given, Lender is authorized to collect and apply the
Miscellaneous Proceeds either to restoration or repair of the Property or to the sums secured by this Security

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    Instrument, whether or not then due. 11Opposing Party" means the third party that owes Borrower Miscellaneous
    Proceeds or the party against whom Borrower has a right of action ill regard to Miscellaneous Proceeds.
             Borrower shall be ill default if any action or proceeding, whether civil or criminal, is begun that, ill
    Lender's judgment, could result in forfeiture of the Property or other material impairment of Lender's interest in
· the Property or rights under this Security Instrument. Borrower can cure such a default and, if acceleration has
    occurred, reinstate as provided ill Section 19, by causing the action or proceeding to be dismissed with a ruling
   that, in Lender's judgment, precludes forfeiture of the Property or other material impairment of Lender's interest
   in the Property or rights under this Security Instrument. The proceeds of any award or claim for damages that are
   attributable to the impairment of Lender's interest in the Property are hereby assigned and shall be paid to Lender.
             All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied
   in the order provided for in Section 2.
             12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
   payment or modification of amortization of the sums secured by this Security Instrument granted by Lender to
   Borrower or any Successor in Interest of Borrower shall not operate to release the liability of Borrower or any
   Successors in Interest of Borrower. Lender shall not be required to commence proceedings against any Successor
   in Interest of Borrower or to refuse to extend time for payment or otherwise modify amortization of the sums
   secured by this Security Instrument by reason of any·demand made by the original Borrower or any Successors
   in Interest of Borrower.' Any forbearance by Lender in exercising any right or remedy including, without
   limitation, Lender's acceptance of payments from third persons, entities or Successors in Interest of Borrower or
   in amounts less than the amount then due, shall not be a waiver of or preclude the exercise of any right or remedy.
       ·     13. JoinJ and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants
  and agrees that Borrower's obligations and liability shall be joint and several. However, any Borrower who co-
  signs this Security Instrument but does not execute the Note (a "co-signer"): (a) is co-signing this Security
  Instrument only to mortgage, grant and convey the co-signer's interest in the Property under the terms of this
  Security Instrument; (b) is not personally obligated to pay the sums secured by this Security Instrument; and ( c)
  agrees that Lender and any other Borrower can agree to extend, modify, forbear or make any accmpmodations with
  regard to the terms of this Security Instrument or the Note without the co-signer's consent.
            Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's
  obligations under this Security Instrument in writing, and is approved by Lender, shall obtain all of Borrower's
 rights and benefits under this Security Instrument. Borrower shall not be released from Borrower's obligations and
  liability under this Security Instrument unless Lender agrees to such release in writing. The covenants and
  agreements of this Security Instrument shall bind (except as provided in Section 20) and benefit the successors and
 assigns of Lender.                                  ·
            14. Loan Charges. Lender may charge Borrower fees for services performed ill connection with
 Borrower's default, for the purpose of protectillg Lender's interest in the Property and rights under this Security
 Instrument, including, but not limited to, attorneys fees, property inspection and valuation fees. In regard to any
 other fees, the absence of express authority in this Security Instrument to charge a specific fee to Borrower shall
 not be construed as a prohibition on the charging of such fee. Lender may not charge fees that are expressly
 prohibited by this Security Instrument or by Applicable Law. ·
            If the Loan is subjectto a law which sets maximum loan charges, and that law is finally illterpreted so that
 the interest or other loan charges-collected or to be collected in connection with the Loan exceed the permitted
 limits, then: (a) any such loan charge shall be reduced by the amount necessary to reduce the charge to the
 permitted limit; and (b) any sums already collected from Borrower which exceeded permitted limits will be
 refunded to Borrower. Lender may choose to make this refund by reducing the principal owed under the Note or
 by making a direct payment to Borrower. If a refund reduces principal, the reduction will be treated as a partial
 prepayment without any prepayment charge (whether or not a prepayment charge is provided for under the Note).
 Borrower's acceptance of any such refund made by ditect pay1:penttoBorrower will constitute a waiverof any right
 of action Borrower might have arising out of such overcharge.
            15. Notices. All notices given by Borrower or Lender in connection with this Secµrity Instrument must
be in writing. Any notice to Borrower in connection with this Security Jmtrument shall be deemed to have been
given to Borrower when mailed by first class mail or when actually delivered to Borrower's notice address if sent
by other means. Notice to any one Borrower shall constitute notice to all Borrowers unless Applicable Law
expressly requires otherwise. The notice address shall be the Property Address unless Borrower has designated
a substitute notice address by notice to Lender. Borrower shall promptly notify Lender of Borrower's change of

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  address. If Lender specifiesa procedurefor reportingBorrower'schange of address,then Borrowershall only
 report a changeof acj.dressthroughthat specifiedprocedure. There may be only one designatednotice address
 underthis SecurityInstrumentat any one time. Any noticeto Lendershall be givenby deliveringit or by mailing
 it by first class mail to Lender'saddressstated herein unlessLenderhas designatedanotheraddressby noticeto
 Borrower. Any notice in connectionwith this SecurityInstrumentshall not be deemedto have been given to
 L~nderuntil actuallyreceivedby Lender. If any noticerequiredby this SecurityInstrumentis also requiredunder
 ApplicableLaw, the ApplicableLaw requirementwill satisfythe correspondingrequirementunder this Security
 Instrument
           16. GoverningLaw; Severability; Rules of Construction. This SecurityInstrumentshall be governed
 by federallawand the law of thejurisdictionin whichthe Propertyis located. All rightsand obligationscontained
 in this SecurityInstrumentare subjectto ~y requirementsand limitationsof ApplicableLaw. ApplicableLaw
 might explicitlyor implicitlyallowthe partiesto agree by contractor it might be silent,but such silenceshallnot
 be construedas a prohibitionagainst agreementby contract In the event that any provision or clause of this
 SecurityInstrumentor the Note conflictswith ApplicableLaw, such conflictshallnot affect other provisionsof
 this SecurityInstrumentor the Note which can be given effect withoutthe conflictingprovision.             ·
           As used in this Security Instrument: (a) words of the masculine gender shall mean and include
 correspondingneuterwordsor wordsof the femininegender;(b) wordsin the singularshallmean and includethe
 plural and vice versa; and (c) the word "may"gives sole discretionwithout any obligationto take any action.
           17. Borrower's Copy. Borrowershall be given one copy of the Note and of this SecurityInstrument.
           18. Transfer of the Property or a Beneficial Interest in Borrower. k; used in this Section 18,
 "Interestin the Property"meansanylegal or beneficialinterestin the Property,including,but not limitedto, those
 beneficial interests transferred in a bond for deed, -contractfor deed, installment sales contract or escrow
 agreement,the intent of whichis the transferof title by Borrowerat a futw"edate to a purchaser.
          If all or anypart of the Propertyor any Interestin the Propertyis sold or transferred(or if Borroweris not
 a naturalpersonand a beneficialinterestin Borroweris soldor transferred)withoutLender'spriorwrittenconsent.
 Lender may require immediatepaymentin full of all sums securedby this SecurizyInstrument. However,this ·
 option shall not be exercisedby Lender if such exerciseis prohibitedby ApplicableLaw.
          If Lender exercisesthis option, Lender shall give Borrower notice of acceleration. The notice shall
provide a periodof not less than 30 days from the date the notice is given in accordancewith Section 15 within
whichBorrowermust pay all sumssecureq.by this SecurizyInstrument. If Borrowerfailsto pay these sumsprior
to the expirationof this period, Lendermay invoke any remediespermitted by this SecurityInstrumentwithout
furthernotice or demandon Borrower.
          19. Borrower's Right to Reinstate After Acceleration. IfBorrowermeetscertainconditions,Borrower
shall have the right to have enforcementof this SecurityInstrumentdiscontinuedat any timeprior to the earliest
of: (a) five days before sale of the Propertypursuantto any power of sale containedin this SecurityInstrument;
{b) such otherperiod as ApplicableLaw might specifyfor the terminationof Borrower'sright to reinstate;or (c)
entry of a judgmentenforcingthis SecurityInstrument Those conditionsare that Borrower:(a) pays Lenderall
sumswhichthen wouldbe due under.thisSecurityInstrumentandthe Note as if no acceleration.hadoccurred;(b)
cures any defaultof any other covenantsor agreements;(c) pays all expensesincWTedin enforcingthis Security
Instrument,including,but not limitedto, reasonableattorneys'fees, property inspectionand valuationfees, and
other fees incurredfor the purposeof protectingLender'sinterestin the Property and rights under this Security
Instrument;and (d) takes such action as Lender may reasonablyrequire to assurethat Lender's interest in the
Property and rights under this SecurityInstrument,and Borrower'sobligationto pay the sums securedby this
SecurizyInstrument,shall continueunchanged. Lendermay requirethat Borrowerpay suchreinstatementsums
and expensesin one or moreof the followingforms, as selectedby Lender: (a) cash;(b) moneyorder; (c) certified
check, bankcheck,treasurer!scheck or cashier'scheck, providedany such check is drawnupon an institution
whose depositsare insuredby a federalagency,instrumentalityor entity;or (d) ElectronicFundsTransfer. Upon
reinstatementby Borrower,this SecurityInstrumentand obligationssecuredherebyshall remain fully effective
as ifno accelerationhad occurred.However,this right to reinstateshallnot applyin the caseofaccelerationunder
Section 18.
          20. Sale of Note; Change of Loan Servicer; Notice of Grievance. TheNote or a partialinterestin the
Note (togetherwith this SecurityInstrument)can be sold one or more times withoutpriornotice'toBorrower. A
sale might result in a changein the entity (knownas the "LoanServicer")that collects Periodic Paymentsdue
under the Note and this SecurityInstrumentand performsother mortgage loan servicingobligationsunderthe

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  Note, this Security Instrument, and Applicable Law. There also might be-one or more changes of the Loan
   Servicerunrelatedto a sale of the Note. If there is a change of the Loan Servicer,Borrowerwill be given written
  notice of the change which will state the name and address of the new Loan Servicer,the address to which
  paymentsshould be made and any other informationRESPA requires in connectionwith a notice of transfer of
  servicing. If the Note is sold and thereafterthe Loan is serviced by a Loan Servicerother than the purchaserof
  the Note, the mortgageloanservicingobligatioo.sto Borrowerwill remainwith the Loan Serviceror be transferred
  to a successorLoan Servicerand are not asswned by the Note purchaserunless otherwiseprovided by the Note
  purchaser.                                                                                                  .
           Neither Borrower nor Lender may commence,join, or be joined to any judicial action (as either an
  individuallitigant or the member of a class) that arises from the other party's actions pursuant to this Security
  Instrumentor that allegesthat the other party has breached any provisionof, or any duty owed by reason of, this
  Security Instrument,until such Borroweror Lender bas notifiedthe other party (with such notice given in
  compliancewith the requirementsof Section 15) of such alleged breach and affordedthe other party hereto a
  reasonableperiod after the giving of such notice to take corrective action. If Applicable Law provides a time
  periodwhich must elapsebefore certainactioncan be taken,that time P.eriodwill be deemedto be reasonablefor
  purposes of this paragraph. The notice of acceleration and opportunityto cure given to Borrower pursuant to
  Section22 and the notice of accelerationgiven to Borrowerpursuantto Section 18 shall be deemedto satisfythe
 notice and opportunityto take correctiveaction provisionsof this Section 20.
   ·      21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those
 substancesdefinedas toxic or hazardoussubstances,pollutants,or wastesby EnvironmentalLawandthe following
 substances:gasoline, kerosene, other :flammableor toxic petroleum products, toxic pesticides and herbicides,
 volatile solvents,materialscontainingasbestos or formaldehyde,and radioactivematerials; (b) "Environmental
 Law" meansfederal laws and laws of the jurisdictionwherethe Property is locatedthat relate to health, safetyor
 environmentalprotection;(c) "EnvironmentalCleanup"includesanyresponseaction,remedialaction, or removal
 action,as definedin EnvironmentalLaw; and (d) an11EnvironmentalCondition11means a conditionthat can cause,
 contributeto, or otherwisetrigger an EnvironmentalCleanup.
          Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous
 Substances,or threaten to release any Hazardous Substances,on or in the Property.Borrower shall not do, nor
 allow anyone else to do, anything affecting the Property (a) that is in violation of any EnvironmentalLaw,
 (b) which createsan EnvironmentalCondition,or (c) which, due to the presence,use, or release of a Hazardous
 Substance,createsa conditionthat adverselyaffectsthe value of the Property. The precedingtwo sentencesshall
not apply to the presence, use, or storage on the Property of small quantities of Hazardous Substancesthat are
generallyrecognizedto be appropriateto normal residentialuses and to maintenanceof the Property (including,
but not limitedto, hazardoussubstancesin consumerproducts).                 ·
          Borrower-shallpromptlygive Lender written notice of (a) any investigation,claim, demand, lawsuitor
other actionby any governmentalor regulatoryagency or private party involvingthe Propertyand any Hazardous
Substanceor EnvironmentalLaw of which Borrower has actual knowledge, (b) any EnvironmentalCondition,
including but not limited to, any spilling, leaking, discharge, release or threat of release of any Hazardous
Substance,and (c) anyconditioncausedby the presence,use or release of a HazardousSubstancewhich adversely
affectsthe value of the Property. If Borrowerlearns, or is notified by any governmentalor regulatory authority,
or any private party, that any removalor other remediationof any Hazardous Substanceaffectingthe Propertyis
necessazy,Borrowershall promptlytake all necessaryremedialactions in accordancewith EnvironmentalLaw.
Nothing herein shall create any obligationon Lender for an EnvironmentalCleanup.
          NON-UNlFORMCOVENANTS. Borrower and Lender further covenantruJ.dagree as follows:
          22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following
Borrower's breach of any covenant or agreement in this Security Instrument (but not prior to acceleration
under Section 18 unless Applicable Law provides otherwise). The notice shall specify: (a) the default;
(b) the action required to cure the default; (c) a date, not less than 30 days from the date the notice is given
to Boi:rower, by which the default must be cured; and (d) that failure to cure the default on or before the
date specified in the notice will result in acceleration of the sums secured by this Security Instrument and
sale of the Property. The notice shall further inform Borrower of the right to reinstate after acceleration
and the right to bring a court action to assert the non-existence of a default or any other defense of
Borrower to acceleration and sale. If the default is not cured on or before the date specified in the notice,
Lender at its option may require immediate payment in full of all sums secured by this Security Instrument

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  without further demand and may invoke the pQwerof sale and any other remedies permitted by Applicable
  Law. Lender shall be entitled to collect all expenses incurred in pursuing the remedies provided in this
  Section 22, including, but not limited to, reasonable attorneys' fees and costs of title evidence. For the
  purposes of this Section 22, the term 11Lender 11 includes any holder of the Note who is entitled to receive
  payments under the Note.
            If Lender invokes the power of sale, Lender or Trustee shall give notice of the time, place and terms
  of sale by posting and filing the notice at least21 days prior to sale as provided by Applicable Law. Lender
 shall mail a copy of the notice to Borrower in the manner prescribed by Applicable Law. Sale shall be made
  at public vendue. The sale must begin at the time stated in the notice of sale or not later than three hours
  after that time and between the hours of 10 a.m. and 4 p.m. on the first Tuesday of the month. Borrower
 authorizes Trustee to sell the Property to the highest bidder for cash in one or more parcels and in any
 order Trustee determines. '.Lenderor its designee may purchase the property at any sale.
            Trustee shall deliver to the purchaser Trustee's deed conveying indefeasible title to the Property
 with covenants of general warranty from Borrower. Borrower covenants and agrees to defend generally
 the purchaser's title to the Property against all claimsand demands. The recitals in the Trustee's' deedshall
 be prima facie evidence of the truth of'the statements made therein. Trustee shall apply the proceeds of the -
 sale in the followingorder: (a) to all expenses of the sale, including, but not limited to, reasonable Trustee's
 and·attorneys' fees; (b) to all sums secured by this Security Instrument; and (c) any excess to the person or
 persons legally entitled to it.
           If the Property is sold pursuant to this Section 22, Borrower or any person holding possessionof
 the Property through Borrower shall immediately surrender possession of the Property to the purchaser
 at that sale. If possessionis not surrendered, Borrower or such person shall be a tenant at sufferance and
 may be removed by writ of poss~sion or other court proceeding.
           23. Release. Upon payment of all sums secured by this Security I;nstrwnent,Lender shall provide a
 releaseof this SecurityInstrumentto BorrowerorBorrower'sdesignatedagentin accordancewithApplicableLaw.
Borrower shall pay any recordation costs. Lender may charge Borrower a fee for releasing this Security
 Instrument,but only if the fee is paid to a third partyfor servicesrenderedand the chargingof the fee is permitted
under ApplicableLaw.                               ·
           24. Substitute Trustee; Trustee Liability. Allrights,remediesand dutiesof Trusteeunderthis Security
Instrumentmaybe exercisedor performedby one or moretrusteesacting alone or together. Lender, at its option
and with or withoutcause, may from time to time, by power of attorney or otherwise,remove or substituteany
trustee, add one or more trustees, or appoint a successortrustee to any Trustee without the necessity of any
formalityother than a designationby Lender in writing. Withoutany further act or conveyanceof the Property
the substitute,additionalor successortrusteeshallbecomevestedwiththetitle,rights,remedies.powersandduties
conferredupon Trusteeherein and by ApplicableLaw.
           Trustee shall not be liable if acting upon any notice, request, consent, demand, statement or other
documentbelievedby Trusteeto be correct. Trusteesballnot be liablefor any act or omissionunless such act or
omissionis willful.
           25. Subrogation. Any of the proceedsof the Note used to talceup outstandingliens against all or any
part of the Propertyhave been advancedby Lenderat Borrower'srequestand uponBorrower'srepresentationthat
such amountsare due and are securedby valid liens againstthe Property. Lender shall be subrogatedto any and
all rights,superiortitles, liens and equitiesownedor claimedby any owner or holder of any outstandingliensand
debts,regardlessof whethersaid liens or debts are acquiredby Lenderby assignmentor are releasedby the holder
thereofupon payment.
          26. Partial Invalidity. In the·event any portion of the sums intended to be secured by this Security
Instrumentcannotbe lawfullysecuredhereby,paymentsin reductionof such sumsshall be applied first to those
portionsnot securedhereby.
          27. Purchase Money; Owelty of Partition; Renewal and Extension of Liens Against Homestead
Property; Acknowledgmentof Cash Advanced AgainstN on-HomesteadProperty. Checkboxas applicable:
 [ .] Purchase Money.
          The funds advancedto Borrowerunder the Note were used to pay all·orpart of the purchaseprice of the
Property. The Note also is primarily secured by the vendor'slien retair\ed in the deed of even date with this
SecurityInstrumentconveyingthe Property to Borrower,which vendor's lien has been assignedto Lender,this
SecurityInstrumentbeing additionalsecurityfor such vendor'slien.

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  [ ]      Owelty of Partition.
           The Note representsfunds advancedby I:ender at the special instance and request of Borrowerfor the
  purposeof acquiringthe entirefee simpletitle to the Propertyand the existenceof an oweltyof partitionimposed
  B,;,.aa.inst
          the entiretyof the Propertyby a court order or by a written agreementof the parties to the partitionto
  secure the paymentof the Note is expresslyacknowledged,confessedand granted.
   [ X] Renewal and Extension of Liens Against Homestead Property.
           The Note is in renewaland.extension, but µot in extinguishment,of the indebtednessdescribedon the
  attachedRenewal and ExtensionExhibit which is incorporatedby reference. Lender is expresslysubrogatedto
  all rights,liens and remedies securingthe originalholder of a note evidencingBorrower'sindebtednessand the
  originalliens securingthe indebtednessare renewedand extendedto the date of maturityof the Note in renewal
 and extensionof the indebtedness.
   [ ]     Acknowledgement of Cash.Advanced Against Non-Homestead Property.
           The Note represents funds advanced to Borrower on this day at Borrower's request and Borrower
 acknowledgesreceipt of such funds. Borrower states that Borrowerdoes no~now and does not intend ever to
 reside on, use in anymanner,or claimthe Propertysecuredby this SecurityInstrumentas a businessor residential
 homestead. Borrowerdisclaimsall homesteadrights,interestsand exemptionsrelatedto the Property.
           28. Loan Not a Home Equity Loan. The Loan evidenced by the Note is not an extension of credit
 as defined by Section S0(a)(6)or Section 50(a)(7),Article XVI, of the Texas Constitution. If the Property
 is used as Borrower's residence, then Borrower agrees that Borrower will receive no cash from the Loan
 evidenced by the Note and that any advances not necessary to purchase the Property, extinguish an owelty
 lien, complete construction, or renew and extend a prior lien against the Property, will be used to reduce
 the balance evidenced by the Note or such Loan will be modified to evidence the correct Loan balance, at
 Lender's option. Borrower agrees to execute any documentation necessary to complywith this Section28.




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Security   illsh=en\5:rr
           BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this
                  exi::U::Ld
                          recorded
                             wi~;:fil)
Paul K Stafford                               \ Q                             -Borrower



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                                                                          Page 27 of 110 PageID 250




 STATEOF TEXAS,_..,~~-·,"""'_M
                         ....
                          $.....,Q...,.'O...,._·
                                  __ County




                                                               PrintedName
                                                               My CommissionExpires:




TEXAS-SingleFanuly-Fannie Mae/Freddie Mac UNIFORM .INSTRUMENT
Form 3044 1/01                                 (Page 14 of 14 pages)
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                                                                           Page 28 of 110 PageID 251




                                                                                              LoanNo.:

                                           EXHIBIT "A"

Lot 1, in Block A, of Valley View/Stafford, an addition to the City of Farmers Branch, Dallas County,
Texas, according to the Map or Plat thereof recorded in Clerk's File No. 20070315299 Plat Records, Dallas
County, Texas




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                                                                                Page 29 of 110 PageID 252




                                                                                                Loan No.:
                      CONSTRUCTIONLOANRIDERTO SECURITYINSTRUMENT
             THIS CONSTRUCTIONLOAN RIDER TO SECURITYINSTR1Th1ENT                          (this 11Rider11) is made this
     Thirtieth day of November, 2007, and amendsthe Mortgage,Deed of Trust or SecurityDeed (the 11Security
     Instrument11) of the same date given by the undersigned(the ''Borrower11) to secureBorrower'sNote (the ''Note")
     to Bank of America, N.A. (the 11Lender11) of the same date and coveringthe propertydescribedin the Security
     Instrument(the 11Property'1) and located;at: 12923 Epps Field Road, Farmers Branch, TX 75234.
                                                    ADDITIONAL COVENANTS
     In addition to the covenants and agreementsmade in the Security Instrument,Borrower and Lender further
     covenantand agree as follows:
     Termsdefined in the Note shall have the same meaningin this Rider to the SecurityInstrument.
     A.      INCORPORATION OF RESIDENTIAL CONSTRUCTIONLOAN AGREEMENT
             Lenderand Borrowerenteredinto aResidentialConstructionLoanAgreement(theII Agreement")of even
     date herewith. The Agreementis incorporatedherein by reference. A defaultunderthe terms of the Agreement
     shall constitutea defaultunder the terms of the SecurityInstrument.
     B.     CONSTRUCTIONMORTGAGE
            The Security Instrument is a "ConstructionMortgage" under Sections 9.105 and 9.313 of the Texas
    Businessand CommerceCode,seemingthe obligationfor the cost of constructionof certainimprovementsonthe
    Property. The SecurityInstrumentis a "ConstructionMortgage11underthe UniformCommercialCode as adopted
    and appliedin the statewherethe Propertyis situated. It is understoodand agreedthat fundsto be advancedunder
    the Note are to be used in the constructionof certain improvementson the Property in accordance with the
    Agreement
    C.       MECHANIC'S LIEN CONTRACT
             The Note representsa full or partial renewal,extension,and rearrangementof the balance(s)now owing
    on the following:
           That certainMechanic'sLien Contract(with Transferof Lien) of this samedate·executedby andbetween
    Borrowerand Contractor, Weekley Homes, LP in the originalsum of $573,222.00 and which Mechanic'sLien
    Contracthas been transferredto Lender by Transfer of Lien of even date herewith;and
           For purposes of this ConstructionLoan Rider to Security Instrument (i) the term "Mechanic'sLien
    Contract"shall mean one or more of the abovereferenced.Mechanic'sLien Contracts,unless the contextdictates
    otherwise,(ii) the term "Contractor"shall mean one or more of the above referenced Contractors,unless the
    contextdictates otherwise.                                       ·
    D.       FUTURE ADVANCES
             The Secw-ityInstrument is given to Secure future obligations under the Note. The face amount of
    obligationsevidencedby the Note and secured hereunder is        $810,561.00      and the maximum amount,
    includingpresentas well as future advancesevidencedbythe Note, whichLender shallbe obligatedto advance,
    shall not exceedthe face amountof the Note; providedhowever,the said maximumamountmay be increasedby
    suchadditionalamountsas maybe advanced,by Lenderpursuanttothe SecurityInstrumentand all such additional
    amountsshall be deemednecessaryexpendituresfor the protectionof the securityin accordancewith and to the
    extent allowedby applicablelaw.
    E.       WAIVER OF CERTAIN NOTICES DURING CONSTRUCTION
            Notwithstandingthe 30 day written notice and right to cure provisions containedin Section 22 of the
    SecurityInstrument,prior to the RolloverDate (or agreedwritten extensionthereof),the Borrower,as well as all
    sureties,guarantorsand endorsersof said Note severallywaive all notices, demands,presentmentsfor payment.

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                                                                                             Loan No.:
 noticesof non-payment,noticesof intentionto acceleratethe maturity.noticesof acceleration,noticesof dishonor,
 protest and notice of protest, diligencein collectingor bringingsuit as to the Note and as to each, everyand all
 installmentsthereof and all obligationsthereunder and against any party thereto and to the application of any
 payment on said obligation,or as an offset thereto, and agree to all extensions,renewals, partial payments,
 substitutionsor evidenceof indebtednessand the taldng,release or substitutionof all or any part of the herein
 describedsecurityor the release of any party liable the~on with or without notice before or after maturity.
 F.       ACKNOWLEDGMENT OF VENDOR'S LIEN
          If any portion of the indebtedness secured by this Security Instrumentrepresents funds advancedby
Lenderto be used in paymentofa portion of the purchaseprice of the above describedProperty,then to the extent
saidindebtednessis appliedto the purchaseprice,same shallbe additionallysecuredby a vendor lien and superior
title andit is expresslyagreedthat the lien of this SecurityInstrumentshall be cwnulativeof and withoutpreJudice
to suchvendor'slien and superiortitle and that foreclosurehereunderwill operateto foreclosesuch vendor'slien.
 G.       ACKNOWLEDGMENT OF M:ECHANIC'SLIEN
         Borrowerherebyaclmowledgesthat the aforesaidMechanic'sLien Contractand all liens createdthereby
constitutevalid and subsistingliens on the property describedtherein and hereinabovedescribed,and that none
of the rights and liens existingthereundershall be impaired or released hereby, and the same as supplemented
hereby shall remain in full force and effect, and that all rights and liens existing and to exist thereunderare
renewed, extended, and carried fozward and are not extinguishedhereby, to secure all of the indebtedness
hereinabovementioned.

H..       SECURITY AGREEMENT
          Withoutlimitinganyof the provisionsof the SecurityInstrwnent,Borrower,as Debtor(and beingreferred
to in this paragraphas "Debtor,"whether one or more),.expresslyGRANTSunto Lender, as SecuredParty (and
being referredto in this paragraphas "SecuredParty," whetherone or more), a securityinterest in the following
describedproperty(includingboth those now and those hereafterexisting). The definitionof Property is hereby
expandedto include:                        ·
         (1) All fixtures,furnishings,·equipment,buildingmaterialand machinerynow or hereafterlocatedin, on,
         or used or intended to be used in connection with the Property, including without limitation:doors,
         partitions; window and floor coverings; apparatus, material, or equipmentfor supplying, holding,or
         distributingheating, cooling,,electricity,gas, water, air, and lighting; security,access control, and fire
         preventionand extinguishingapparatus,material,or equipment;bathroomandkitchenfixtures;cabinetry;
         and landscaping.(2) All proceedsor sumspayablein lieu of or as compensationfor the loss of or damage
         to the Propertyand the fixtures and personal property,and all rights in and to all present and futurefire
         and hazard insurance-policies. (3) All proceeds of any award or claim for damages, direct or
         consequential,in connectionwith any condemnationor othertaking, in whole or in part, of the Property,
         or for conveyancein li,euthereof.
L        DEFAULT              .
        Covenants containedin Section Nos. 18, 19, and 22 of the.Security Instrumentare hereby suspended
duringthe continuanceof this Rider only, and the followingsubstitutedin lieu thereof:
 ·      In the event any of the followingevents or conditionsoccur or exist, each such event or conditionshall
be a defaulthereunderentitlingLender to declare the entire indebtednesshereby secured immediatelydue and
payable:
         (1)      Any lien, inferioror superiorto the lien of this SecurityInstrument,is created,permittedor filed
                  against the Property, or any portion thereof, without Lender's prior written consent, except
                  currentad valoremtaxes which are not then due and payable.
         (2)      The sale, assignmentor othertransfer, voluntarilyor involuntarily,of all or a part of Borrower's
                  ownershipinterestin the Property.or anyportionthereof, directlyor indirectly,is made without
                  Lend~rs·prior written consent
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                                                                                             Loan No.:
           (3)      Borrowerfails to complywith the tenns and conditionsof the Note, the SecurityInstrumentor
                    the Agreement
          Upon default,Lender,at its option, may require immediatepaymentip.full of all sums securedby the
 SecurityInstrumentwithout demandand may invoke the power of sale and any other remedies permittedby
 applicablelaw. However,this optionto requireimmediatepaymentin full shallnot be exercisedif such exercise
 is prohibitedby applicablelaw. Lendershallbe entitledto collectall expensesincurredin pursuingthe remedies
 providedin the SecurityInstrumentincluding,but not limited to, reasonableattorney'sfees and costs of title
 evidence.
         Upon the tenninationof the provisionsof this Rider as set forth below, Covenantscontainedin Section
 Nos. 18, 19,and 22 of the SecurityInstrumentshall be reinstatedso that they shallthen be in full force and effect.
 J.     TERMINATIONOF CONSTRUCTIONLOANRIDER
        Exceptfor the provisionsof SectionC., F. and G.,respectivelyof this ConstructionLoanRiderpertaining
to the Vendor's Lien, if applicable,and the renewal and extension of the liens and rights contained in the
Mechanic'sLien Contract,so long as Borroweris not in defaultunder the terms of the Note, the Agreement,the
Mechanic'sLien Contract,or the SecurityInstrument,and so long as Borrowerhas completedthe improvements
describedin the Agreement,this Rider shall tenninate on the RolloverDate as definedin the ConstrucµonLoan
Addendumto Note, and shall thereafterno longer be in effect.

Debtor'sMailingAddress:
2236 Southern Circle
Carrollton, TX 75006




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             .                                                                      LoanNo.:-


rudn       Secmeyy;:t~
By signingbelow,Borroweracceptsand agreesto the termsand covenantscontainedin this ConstructionLoan

                                                                        (s.&J

                                                                        -Borrower


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                                                                        -Borrower




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     Bank of America, N.A.                                                                                          LoanNo.:-

                                                 RIDERTO THE DEEDOF TRUST
                                               RENEWAL AND EXTENSIONEXHIBIT
          The $810,561.00 Note secured hereby is given in renewal and extension of amounts left owing and unpaid upon the
  following indebtedness(es):

               Deed of Trust
               Dated: November 30, 2006
               Original Principal Amount: $208,000,90
               Grantors: Paul K. Stafford and wife, Telea       Stafford
               Lender/Secured Party: Bank of Amenca, N.A.
               Recorded: Clerk's File No. 200600445901
               of the Official Real Property Records of Dallas County, Texas

               Deed of Trust,
               Dated: November 30, 2006
               Original Principal Amount: $39,000.00
               Grantors: Paul K. Stafford and wife, Te lea      Stafford
               Lender/Secured Party: Bank of America, l'i,A.
               Recorded: Clerk's File No. 200600445902
               of the Official Real Property Records of Dallas County, Texas

               Builder's and Mechanic's Lien Contract
               Dated: November 30, 2007
               Original Principal Amount: $573,222.00
               Contractor: Weekley Homes, LP
               Recorded in the Official Real,Property Records of Dallas County, Texas

            The liens described above are expressly acknowledged by each grantor herein as valid and subsisting liens against the
  property described herein (without regard to any assignment of said liens contemporaneously with or subsequent to their creation).
  It is expressly agreed that said liens are hereby renewed, extended, and carried forward in full force and effect to secure the payment
  of the Note secured heteby and that the Lenderis subrogated to all the rights, powers, and equities of the original owners and holders
. of the prior indebtedness( es) (whether such current holder shall assign and transfer its respective liens to the holder hereof or shall
  release its respective liens upon satisfaction of the indebtedness owing to such holder).

  .        The sums advanced under the Note secured hereby may include, in addition to funds advanced to payoff the referenced
 lien(s), one or both of the followµig items: (1) Purchase monies for the purchase of the Property secured hereby; (2) Reasonable
 and necessary closing costs incurred in the instant transaction. Grantors, by their execution hereof; acknowledge that all closing costs
 advanced by the Lender under said Note, if any, are necessary for the preservation of the Property secured hereby as Grantor's
 homestead. Further, Grantors acknowledge that if any portion of the funds advanced cannot be lawfully secured by the Property,
 payments made under the Note will be applied first to the repayment of such funds not lawfully secured by the Property.




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 Bank of America, N.A.                                                                                    LoanNo.:-




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             EXHIBIT A-3
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                                                                                                            201700314368
                                                                                                             Al 111




                                                       Assignment of Deed of Trust
  PREPARED BY AND RETURN TO:
  C. R. llall
  2860 Exchange Blvd.# 100
  Southlake TX 76092                                                                                                 Send Any Notices To Assignee.
  For Valuable Considenuion, the undersigned, BANK OF AMERICA, N.A .• 1800 Tnpo Canyon Rd, Simi Vnlley CA 93063 (Assignor) by these
  presents does nssign. nnd set over. wilhoul recourse, to WILMINGTON TRUST, NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL
  CAPACITY. BUT SOLELY AS TRUSTEE FOR MFRA TRUST 2014-2. c/o MFResidenlinl Assets I, LLC. 350 Park A\·enue. 20th Floor, New
  York NY I0022 (Assignee) the described deed ofuust with nil interest. nll liens, any rights due or to become due thereon, executed by PAULK.
  STAFFORD AND TEI.EA STAFFORD. HUSBAND AND WIFE 10 BANK OF AMERICA. N.A.. Trustee:: PRLAP. INC. Said deed of trust
  Doled: 11/30/2007 is recorded in the State of TX. County of Dnllns on 12/4/2007, ns File 20070431480 AMOUNT: S 810,561.00 LOT I. IN
  BLOCK A, OF VALLEY VIEW/STAFFORD, AN ADDITION TO THE CITY OF FARMERS BRANCH. DALLAS COUNTY. TEXAS,
  ACCORDING TO THE MAP OR PLAT THEREOF RECORDED IN CLERK'S FILE NO. 20070315299 PLAT RECORDS, DALLAS
  COUNIT. TEXAS Pnrcel# Propen)·Address: 12923 EPPS FIELD ROAD, FARMERS BRANCH, TX. 75234
  IN WITNESS WHEREOF. the undersigned enlily hns caused this instrument to be executed by its proper signatory.
  Executed on: October 27. 2017
  BANK OF AMERIC                 B~.....,....._inancial Group. Inc. hs Auomc:y in Fact

  By:

          Connie M. Riggsby, Vice President
                                                                                         IIIIIII
                                                                                              IIIII
                                                                                                 IIIIIIIIII
                                                                                                         IIIII
                                                                                                            IIIII
                                                                                      STAFFORD YNS 0 17119592"
                                                                                                               IIIII
                                                                                                                  IIIII
                                                                                                                     IIIIIIII
  St::.t~-;ifTX, Coun1y ofTi!fnllll
  On 10/27/2017. before me, the undersigned. personally appeared Connie M. Riggsby. who acknowledged 1h01he/she is Vice President of/for By
  Orion Financial Group. Inc. Its Attorney in Fnct BANK OF AMERICA, N.A. nnd thnt he/she executed the: foregoing instrument nnd that such
  execution was done ns the free act nnd deed of BANK OF AMERICA. N.A .. GIVEN UNDER MY IIAND AND SEAL OF OFFICE this
  I 0/27/2017.

        ~                  JANELL
                                JUNKIN
              ·\?>l NotorvPubllC.State of Texas
        t'.P;~--
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Jf f ici~l   Public Records
John F ~arren, Count, Clerk
)alias     County. TEXAS
11/07/2017      11:15·07   AM
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             EXHIBIT A-4
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   H1111Loans                                                                                   PRESORT
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Tooiecula, CA 925B9-0048                                                                         Fees Paid
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                                 Return Receipt Requested
Send Payments to :
PO Box 6 50(.l'i'0
Dallas, TX 7 5265-00'10



                                                                           201501 15-213
Send Correspondence to:
PO Box 5170
Simi Val!P.y
           , CA 83062-5170       I·I11•11111111•·111•'11111111
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                                 PAULK STAFFORD & TELEA J STAFFORD
                                 3990 VITRUV IAN WAY APT 449
                                 ADDISON. TX 75001-4473




                                                                                                 BREACHTXCM}
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Bank  America         Document 21-1 Filed 10/10/19 Page 40 of 110 PageID 263

   H11118Loans
                                                                  Notice Date: January 15, 2015

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                                                                  .Return..Receiot.Reauested
PAULK STAFFORD & TELEA J STAFFORD
3990 VITRUVIAN WAY APT 449                                        Account No.
ADDISON, TX 75001-4473                                            Property Address:
                                                                  12923 EPPS FIELD RD
                                                                  FARMERS BRANCH, TX 75234

                                                                  Date of Note or Contract November 30, 2007
                                                                  Original Amount of Note or Contract: $682,577.00


                              NOTICE OF DEFAULT AND INTENT TO ACCELERATE

Este es un aviso importante respecto a su derecho de ocupar su casa. Favor de traducirlo de inmediato.
  {This is an important notice concerning your right to live in your home. Have it translated at once.)

Dear PAUL K ST AFFORD & TELEA J ST AFFORD;

Bank of America, N.A. services the home loan described above on behalf of the holder of !he promissory note (Hie
"Noteholder"). The loan Is in serious default because the required payments have not been made. The total amount nmv
required to cure this default; in otner words. the amount required to bring the loan current. as of the date of th:s letter is as
follows:

MootblY
      Charges:
          Month Due           Principal & Interest       Escrow Amount           Optional Insurance        Total Monthly Charge
                                    Amount                                            Amount
          12/01/2014              $2,907.00                 $1,796.90                   $0,00                   $4,703.90
          01i01 /2015             $2,907.00                 $1)96.90                    $0.00                   $4,703.90
Late Charges:
            Montt,                  Amount
          12/01/2014                $145.35
Total Monthly Charges:                                                            $9,407.80
Current Late Charges·.                                                              $145.35
Prior Unpaid Late Charges:                                                          $145.35
Tolai Other Chargas/Fees:                                                             $0.00
Partial Payment Balance:                                                               ($0.00)

                                       TOTALDUE                                   $9,698.50

You have the right to cure the default To cure the default, on or before February      24 . 2015, Bank of America. N.A must
receive the amount of $9,898.50 plus any additional regular rnontt1Iy payment           or payments, !ale charges, fees and
charges, which become due on or before February 24, 2015.                Please        contact the Home Loan Team at
1-800-669-1904 to verify the amount necessary to cure the default and bring            your loan current.

The dafauit will not be considered cured unless Bank of America. N.A. receivas "good funds" in lhe full amount as set
forth in the previous paragraph on or before February 24, 2015. If any check (or other payment) is returned to us for
insufficient tunds or for any other reason, agood funds" will not have been received and the default wrnnot have been
cured. No extension of lime to cure will be grantsd due to a returned payment. Bank of America, N.A. reserves the right
to accept or reject a partial payment of the total amount due without waiving any of !ts dghls herein or otherwise. For
example, rf less than the full amount that is due Is sent to us, we can keep the payment and apply it to the debt but still
proceed lo foreclosure since ths defaull would not havB been cured.

If the default is not cured on or be.fore February 24, 2015, the mortgage payments will           be- accelerated with the full
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amount of the loan remaining accelerated and becoming due and payable in full, and foreclosure proceedings will be
initiated at that time. As such, the failure to cure the default wrn
                                                                   result in the foreclosure and sale of your property.

If required by law or your loan documents, you may have the right to cure the default and reinstate the loan after the
acceleration of the mortgage payments and before the foreclosure sale of your property if aH amounts due or past due
are paid within the time permitted by !aw. However, Bank or America, NA and the Note holder shall be entitled to collect
all fees and costs incurred by Bank of America, N.A. and the Noteholder in purstJing any of their remedies, includ ing but
not limit.ed to reasonable attorney's fees, to the full extent permitted by law. Further, you may have the rfght to bring a
court act!on if you believe you are not in default. In such a court action. you may exercise any other defense or legal right
tc which you may be entitled tc avoid acceleration of your loan and foreclosure.

According to your foan documents, Bank of America, NA may, enter upon and conduct an inspection of your properly
because your loan is in default. The purposes of StJch an inspecfon are to (i) observe the physical condition of your
property, {ii) verify that the property is occupied, and/or (iii) determine the fdenHy of the occupant. !f you do not cure the
default before the inspection, other act!ons to protect Hie mortgagee's interest in the property (including, but not limited to,
\'./4nlerizalion, securing the property, and valuafon services) may be taken. The costs of the above-described
inspections and property preservation efforts will be charged to your account as provided in your security
Instrument and as permitted by law,

If you ara unable to curs the default on or before February 24, 2015, Bank of Amadca, NA. wants you lo be awara of
various options that may be available to you through Bank of Amedca, N.A. lo prevent a foreclosure sale of your
property. For example:

         •   Full Payoff: You can payoff your loan in fuH by selling your properly for any amount equal to or exceeding
             the total amount owed on ~'Ourloan, or you may refinance your loan.

         •   Repayment Plan: You may be eligible for a repayment plan that auows you to make your regularly
             scheduled mortgage payments, plus pay off a portion of ths past due amounts over tima.

         •   Loan Modification: A loan modification :s a change to the original terms of your loan. Loan modifications
             could include lowering your interest rate, extending the term or maturity date of the loan, moving from an
             adjustable to a fixed-rate loan, deferring some portion of the unpaid principal balance to the end of the loan,
             and/or forgiving some portion of the unpaid principal balance. This foreclosure alternat!ve Is limited to certain
             loan types.

         •   Short Sale: tt you can no longer afford to make your mortgage payments and your home is worth iess than
             you owe. a short sale may allow you to seli your homa to pay off the mortgage. In a short sale, the lander
             agrees to accept an amount less lhan what is actually owed on the loan.

         •   Deed in Lieu of Foreclosure: Used as an alternative to forecloStJre, \-\/4tha deed in lieu of foreclosure, yuu
             transfer ownership of your house and all property secured by your mortgage loan. This may satisfy the total
             amount due on Iha! mortgage.

If you are interested in discussing any of these foreclosure alternatives with Bank of America, N.A., you must contact us
immediately, If you are currenty in a bankruptcy proceeding, or have previousfy obtained a discharge of this debt under
applicable bankruptcy law, please be advised that your decisfon to pursue any of these options is strictly voluntary. If you
request assistance, Bank of America, NA. will need to evaluate whether that assistance can be extended to you. In the
meantime, Bank of America, N.A. \-\/411 pursue al! of its rights and remed\es under the loan documents and as permitted
by law, unless it agrees otherwise in writing. Failure to bring your loan current or to enter into a written agreement by
FebruarJ 24, 2015 as outlined above\•.@ result In the acceleration of your debt.

Additionally, the U.S. Department of Housing and Urban Development (HUD) funds free or very low cost housing
counseling across the nation. Housing counselors can help you understand the law and your options. TI1ey can also help
you to organize your finances and represent you in negotiations with your lender if you need this assistance. You may
find a HUD-approved housing counselor near you by calHng 1-800-569-4287. For the hearing impaired, HUD Counseling
Agency (TDD) numbers are available at 1-800-877-8339.

If your loan is currently being evaluated for a loan modification, forbearance or other loan assistance solution, this notice
\•.ti .r.mJ
          cancel or delay that evaluation process. However, lt is Important that you prompHy respond to all requests made
in connection with your evaluation for a loan assistance solution, including all requests for you to contact us and any
documentation required. Please comply with these requests in a timely manner so your request for assistance can be
considered as quickly as possible. If your loan is not eligible for a loan assistance program, please note !his letter will
continue to serve as notice of our right tc in\tiate foreclosure.

Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse
is serving on active military duty, including active military duty as a member of the Texas National Guard or the
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National Guard of another state or as a member of a reserve component of the anned forces of the United
States, please send written notice of the active duty military service to the sender of this notice immediately.

Time :s of the essence. Should you have any questions concerning this notice, please contacl us immediately at
1-800-669-1904. Our office hours are Monday through Thursday 7am to 10pm CST, Friday 7am to 8pm CST, Saturday
8am to 2pm CST.

Bank of America, NA
Home Loan Team




 To contact us

       Phone              1-800-669-1904
                          Office Hours Monday through Thursday 7am
                          to 10pm CST. Friday 7am to 8pm CST,
                          Saturday 8am to 2pm CST
                          PO Box 5170
          Mall            Simi Valley, CA 93062-5170

    To mail a             PO Box 650070
     payment              Dallas, TX 75265-0070
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                                                                                     C3_3222_BRECDISC ~5353 09/24112

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                          IMPORTANT DISCLOSURES

If you are currently in a bankruptcy proceeding, or have previously obtained a discharge of this debt under
applicable bankruptcy law, this notice is for information only and is not an attempt to collect the debt, a demand
for payment, or an attempt to impose personal liability for that debt. You are not obligated to discuss your home
loan with us or enter into a loan modification or other loan-assistance program. You should consult with your
bankruptcy attorney or other advisor about your legal rights and options.

Bank of America, N.A., the servicer of your home loan, is required by law to inform you that this communication
is from a debt collector.

There has been a payment default or other default on your loan that will result in acceleration of all sums due
under the Note. As a result, Bank of America, N.A. will use companies, including its affiliates LandSafe Default,
Inc., LandSafe Services, LLC., LandSafe Title of California, Inc., LandSafe Title of Washington, Inc., LandSafe
Title of Florida, Inc., LandSafe Services of Alabama, Inc., LandSafe Title of Texas, Inc., ReconTrust Company,
NA, and LandSafe Appraisal Services, Inc., to provide services required to protect the Noteholder's interest and
rights in the property and under the note and security instrument, including any remedies thereunder (the "Default
Related Services~}. Bank of America, N.A. will assess fees to your loan account for the Default Related
Services, including those provided by its affiliates. A schedule of fees that may be charged to your account for
Default Related Services is available at the following web address: http://www.bankofarnerica.com/defaultfees. If
you do not have internet access, please contact us at 1-800-669-6607, Monday through Thursday 8 a.m. - 11
p.m. Eastern, Friday 8 a.m. - 9 p.m. Eastern, Saturday 9 a.m. - 3 p.m. Eastern, to have a fee schedule mailed to
you. The fee schedule contains a complete list of the default-related services you could be charged, but does
not include a complete list of all fees or charges that could be assessed on your loan account.

MILITARY PERSONNELISERVICEMEMBERS:                    If you or your spouse is a member of the military, please
contact us immediately. The federal Servicemembers Civil Relief Act and comparable state laws afford
significant protections and benefits to eligible military service personnel, including protections from foreclosure
as •Nell as interest rate relief. For additional information and to determine eligibility please contact our Military
Assistance Team toll free at 1-877-430-5434. If you are calling from outside the U.S. please contact us at
1-817-685-6491.
                                                                                  C3_3222_BRECDISC ~5353 09/24112

Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                     Page 45 of 110 PageID 268
                                     DIVULGACIONES IMPORT ANTES

Si usted se encuentra actualmente en un procedimiento de quiebra, o ha obtenido previamente una exoneraci6n
de esta deuda bajo la ley aplicable sobre quiebra, este no es un intento de recaudaci6n, una demanda de pago o
un intento de imponer una responsabilidad personal por esa deuda. Usted no esta obligado(a} a hablar de su
prestamo para vivienda con nosotros ni a participar en un programa de modificaci6n de prestamos u otro
programa de asistencia para prestamos. Usted debe consultar con su abogado especializado en quiebras u otro
asesor acerca de sus opciones y derechos legales.

Bank of America, N.A.. el administrador de su prestamo para vivienda esta obligado por ley a informarle a usted
que esta comunicaci6n proviene de un cobrador de deudas.

Ha ocurrido un incumplirniento de pago u otro tipo de incumplimiento con su prestamo que podra resultar en la
aceleraci6n de todas las cantidades adeudadas bajo el Pagare. Como resultado. Bank of America, N.A. utilizara
companlas. incluyendo sus afiliados LandSafe Default, Inc .. LandSafe Services, LLC., LandSafe Title of
California, Inc .. LandSafe Title of Washington, Inc .. LandSafe Title of Florida, Inc., LandSafe Services of
Alabama, Inc., LandSafe Title of Texas, Inc .. ReconTrust Company, NA. y Landsafe Appraisal Services, Inc ..
para proporcionar servicios necesarios para proteger los intereses del Titular en la propiedad y sus derechos
bajo el instrumento de seguridad y el pagan.~.incluyendo cualquiera de sus recursos (los "Servicios relacionados
a un incurnplimiento"). Bank of America, NA aplicara cargos a la cuenta de su prestamo por los servicios
relacionados a un incumplimiento, incluyendo los servicios proporcionados por sus afitiados. Una lista de los
cargos que podrian cobrarse a su cuenta por servicios relacionados a un incumplimiento esta disponible en el
sitio de Internet: [htto;iiwww.bankofamerica.com/defaultfeesl.  Si usted no tiene acceso a internet, por favor
comunfquese con nosotros al 1-800-.669-6607de lunes a jueves de 8 a. m. a 11 p. m. hora del este, viernes de 8
a. m. a 9 p. m. hora del este, sabados de 9 a. m. a 3 p. m. hora del este. para pedir que se le envfe una lista de
cargos por correo. La lista de cargos contiene una lista completa de los servicios relacionados por
incumplimiento que le podfan cobrar, pero no incluye una lista comp1eta de todos los costos y cargos que
podrian ser aplicados a la cuenta de su prestamo.

PERSONAL MILITAA/ MIEMBROS OE LAS FUERZAS ARMADAS: Si usted o su c6nyuge es un rniembro del
servicio militar, por favor comunfquese con nosotros inmediatamente. La Ley federal de Ayuda Civil para
Miembros de las Fuerzas Armadas y las leyes estatales comparables otorgan protecciones y beneficios
significativos al personal del servicio militar guecalifigue.
                                                            incluidas protecciones contra la ejecuci6n hipotecaria
asf como tambien ayuda en la tasa de interes. Para obtener mas informaci6n y determinar su calificaci6n por
favor llame sin costo a nuestro Equipo de Asistencia para el Servicio Militar al 1-877--430~5434. Si usted llama
desde fuera de los Estados Unidos por favor comuniquese con nosotros al 1-817-665-6491.




                                                                                    ~31~ 710w 1110 a7eo   77b7 04
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Case 3:18-cv-03274-N Document 21-1 are
                          Options    Filed 10/10/19
                                        Available     PageYou
                                                  to Help  46 of 110 PageID 269

                                  Avoid Foreclosure
                  Call the number on the enclosed notice to learn more.
                  When you call, please have your income and expense information available
                           so we can discuss which option{s) could work for you.
                      Options to consider if your goal is to stay in your home


Home Affordable       A federal government program that allmvs you to repay the loan on newly agreed upon terms,
Modification          \'Vhichmay include lowering the interest rate, placing past due amounts at the end of the loan,
Program (HAMP)        andfor extending the term of the loan. You may be eligible for this program if you meet the
                      following requirements:
                     • The amount you owe on the first mor tgage is equal to or less than $729,750 for a
                          single-family home , $934,200 for a 2 unit properly, $1,129 ,250 for a 3 unit property or
                          $1,403,400 for a 4 unit property
                     • You have documented a financial hardship and represented that you do not have sufficient
                           liquid assets to make the monthly mortgage payments .
                     • Your mortgage was obtained before Jan . 1, 2009 .
                     • The property securing the mortgage loan has not been condemned or is not in such poor
                           physical condition that it is not habitable even if not condemned
                     • The mortgage is secured by a one to four unit properly
Loan                 If you can bring your loan payments up to date, we 'Nill accept the funds needed to bring the
Reinstatement        loan up to date until the day of your foreclosure sale.
Repayment Plan       A repayment plan allows you to make your regularly scheduled mortgage payments, plus pay
                     off a portion of the past due amounts over time. This may include principal, interest, fees,
                     and/or costs assessed to •our loan.
Temporary            An agreement whereby we agree not to proceed with foreclosure and/or collection of payments
Forbearance          for a period of time, to allow you to re-establish your ability to make the required payments .
A reement
Loan Modification A loan modification is a change to the original terms of your loan, Loan modifications could
(non•HAMP)        include lmvering your interest rate, extending the term or maturity date of the loan, moving
                  from an adjustable to a fixed-rate loan, deferring some portion of the unpaid principal balance
                  to the end of the loan, and/or for iving some portion of the unpaid principal balance.
Partial Claim (FHA If you have a Federal Housing Administration (FHA) loan and your payments are past due but
loans only)          you are now able to make your regular mont hly mortgage payment, this program is designed to
                     bring your loon up to date by creating a second mortgage/lien on your property for the amount
                     that is st due.
              Options to consider if you cannot or do not wish to stay in your home


Home Affordable      Designed to help borrowers who are eligible for the Home Affordable Modification Program
Foreclosure          (HAMP) but were unsuccessful in securing a permanent modification through the program.
Alternatives         HAFA provides the option of a short sale and, if unsuccessful, a deed in lieu of foreclosure. A
Program (HAFA)       short sale is a transaction in which you sell your property for less than t he total amount owed on
                     the loan (subject to agreement by your servicer/lender/investor), resulting in the release of our
                     lien on your home and avoidance of foreclosure . A deed in lieu of foreclosure is a transaction in
                     which you agree to voluntarily transfer ownership of your property to us in order to avoid
                     foreclosure .
Short Sale}     If you can no longer afford to make your mortgage payments and your home is worth less than
Pre-foreclosure you owe, a short sale may allow you to sell your home to pay off the mortgage. In a short sale,
Sale (non-HAFA) the lender agrees to accept an amount less than what is actually owed on the loan. Offered to
                borrowers~Jhoare not eli ible for HAMP or other home retention alternatives.
Deed in Lieu of Used as an alternafr,,e to foreclosure, with a deed in lieu O"fforeclosure , you transfer ownership

m
Foreclosure
(non-HAFA)
                of  your house and all property secured by your mortgage loan. This may satisfy t he total
                     amount due on that mortgage . Offered to borrowers not eligible for HArvlP or other home
                     retention alternatives, and who were not able to sell the property through a short sale.

                   We are here to help you. Please call us today.
                                                                                                                         C3_5088 OPTAVDFC 15319 09/24120~2

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                     Hay opciones disponlbles para ayudarle a

                                                          Evitar la Ejecuci6n Hipotecaria
         Llame al numero que aparece en la notificacion adjunta para obtener mas
                                     informacion
         Cuando llame, por favor tenga a la mano la informacion de sus ingresos y gastos para que podamos
                               discutir cuales opciones podrian funcionar para usted.
                                                         Opciones a considerar si su objetivo es permanecer en su casa
,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,


mmmmme:rgrama
        l!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!E~rlle
   Home Affordable                                            Es un programa del gobierno federal que le psrmite pagar el prestamo bajo los nuevos
   Modification                                               terminos acordados, que pusden incluir la reducci6n de la tasa de interes , agregar
   Program (HAMP)                                             cantidades vencidas al 'final del prestamo, y/o extender el plaza del prestamo. Usted
                                                              puede calificar para sste program a si cum pie con los siguien tes rsquisitos :
                                                              •   La cantidad que usted adeuda de su primera hipoteca es igual o manor que
                                                                  $729,750 d6Iares para una vivienda unifamiliar , $934 ,200 d61ares para una
                                                                  propisdad de 2 unidades, $1,129,250 d6Iarss para una propisdad de 3 unidades o
                                                                  $1,403,400 para una propisdad de 4 unidades
                                                              •   Usted ha documentado qus atraviesa par una dificultad financiera y declarado qus
                                                                  no tiene suficiente liquidez para hacer los pagos mensuales de la hipoteca .
                                                              •   Obtuvo su hipoteca antes del 1 de enero de 2009 .
                                                              •   La propiedad que garantiza el prestamo hipotecario no ha sido condenada o no esta
                                                                  en malas condiciones 'fisicas como para no poder habitarse incluso si no esta
                                                                  condenada .
                                                              •   La hipoteca esta garantizada por una propiedad de una a cuatro unidades .
   Rest a blecim iento                                        Si usted puede poner al dia los pagos de su prestamo , aceptaremos las for.dos
   de! Prestamo                                               necssarios para que el prestamo sste al dfa hasta la 'fecha de la venta por ejecuci6n
                                                              hipotscaria.
   Plan de Pago                                               Un plan de pago le permits a usted hacer sus pagos hipotecarios regulares , adsmas de
                                                              pagar una porci6n de las montos vsncidos a traves del tiempo . Esto puede incluir capital ,
                                                              interes , cargos o costos aplicados a su prestamo .
  Acuerdo Temporal                                            Es un acuerdo en el cual aceptamos no proceder con la ejecuci6n hipotecaria y/o el
  de Tolerancla por                                           cobro de los pagos par un periodo de tiempo, para permit irle que restablezca su
  incumplimiento                                              habilidad de hacer los pagos requeridos .

   Modificaci6n de                                            Una modificaci6n del pres tamo es un cambio en los terminos originales de su prestamo ,
   Prestamo                                                   Las modificaciones podrian incluir reducir su tasa de intsres , extender el tennino o la
   (no por medio de                                           f sch a de pago del prestamo , cambiar de un prestamo de tasa de interes ajus table a uno
   HAMP)                                                      de tasa de interes fija , difsrir una parte de! saldo del capital impagado al final del
                                                              prestamo, y/o condonar una parte del saldo de capital impagado.
   Reclamo Parcial                                            Si usted tiene un prestamo de la Administraci6n Federal de Vivienda (FHA} y sus pagos
   (solamente                                                 estan vencidos , pero ahora puede hacer sus pagos regulares mensuales de la hipoteca ,
   prestamos de la                                            ests programa esta diser.ado para que su pres tamo este al dia mediante la creaci6n de
   FHA)                                                       una segunda hipoteca I gravamen sobre su propiedad por el monto que ssta vencido .
                                                                                                                          C3_5088 OPTAVDFC 15319 09/24120~2

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                   Opciones a considerar si no puede o no desea quedarse en su casa

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 Home Affordable                  Disenado para ayudar a los prestatarios que califican para el Program a de Home
 Foreclosure                      Affordable Modification (HAMP), pero no consiguieron obtener una modificacion
 Alternatives Program             permanente a traves del programa. HAFA ofrece ta posibilidad de una venta en
 {HAFA}                           descubierto y, si no tiene exito, una escritura de traspaso voluntario de propiedad en
                                  lugar de la ejecuci6n hipotecaria. Una venta en descubierto es una transacci6n en la que
                                  usted vende su propiedad por menos de la cantidad adeudada en el prestamo (sujeto a
                                  previo acuerdo de su administrador / prestamista / inversionista), resultando en la
                                  liberaci6n de nuestro derecho de retenci6n sobre su propiedad y evitar la ejecuci6n
                                  hipotecaria. Una escritura de traspaso voluntario de propiedad en lugar de ta ejecuci6n
                                  hipotecaria es una transacci6n en la que usted esta de acuerdo de transferir
                                  voluntariamente las escrituras de su propiedad a nosotros con el fin de evitar la
                                  ejecucion hipotecaria .
 Venta en descubierto             Si usted ya no puede hacer sus pagos hipotecarios y su vivienda vale rnenos de lo que
 / Venta prevla a la              usted adeuda , una venta en descubierto le podrla permitir vender su vivienda para pagar
 ejecuci6n hipotecaria            la hipoteca . En una venta en descubierto. el prestamista acepta recibir una monto
 (no por medio de                 menor de toque actualmente se adeuda en el prestamo. Se ofrece a los prestatarios que
 HAFA)                            no califican para HAMP o para otras alternativas de retenci6n de la vivienda.

 Escrlturade traspaso Se usa como una alternativa de la ejecuci6n hipotecaria . Con una escritura de traspaso
 de propiedad en       voluntario de propiedad en lugar de la ejecuci6n hipotecaria, usted transfiere la
 lugar de la ejecucl6n titularidad de su vivienda y toda la propiedad que garantiza su prestamo hipotecario .
 hipotecaria (no por   Esto puede hacer que el monto total vencido de esa hipoteca se considere corno
 medlo de HAFA)        pagado. Se ofrece a prestatarios que no califican para HAMP u otras opciones de
                       retenci6n de vivienda , y que no pudieron vender la propiedad a traves de una venta en
                       descubierto .


                 Estamos aqui para ayudarle. Par favor llamenos hoy.
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      ..
Bankof America
     Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19
   H1D1Loans
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Tgmecula, CA 92589-9048
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Dallas, TX 75265-00'i'O



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                                  PAUL K STAFFORD & TELEA J STAFFORD
                                  12923 EPPS FIELD RO
                                  FARMERS BRANCH, TX 75234..6211




                                                                                                              BREACHTX{CM}
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      ..
                                                                                             C3_5531 BREAGHTX 15392 '10/1612012

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Bank  America         Document 21-1 Filed 10/10/19 Page 52 of 110 PageID 275

   H11118Loans
                                                                 Notice Date: January 15, 2015

                                                                 Sent Certified Mak
                                                                 9314   71 □□ 117 □    0788 7767 28
                                                                 .Retum..Receiot.Reauested
 PAULK STAFFORD & TELEA J STAFFORD
 12923 EPPS FIELD RD                                             Account No.;
 FARMERS BRANCH,TX 75234-6211                                    Property Address:
                                                                 12923 EPPS FIELD RD
                                                                 FARMERS BRANCH, TX 75234

                                                                 Date of Note or Contract November 30, 2007
                                                                 Original Amount of Note or Contract: $682,577.00


                             NOTICE OF DEFAULT AND INTENT TO ACCELERATE

Este es un aviso importante respecto a su derecho de ocupar su casa. Favor de traducirlo de inmediato.
  (This is an important notice concerning your right to live in your home. Have it translated at once.)

Dear PAUL K ST AFFORD & TELEA J ST AFFORD;

Bank of America, N.A. services the home loan described above on behalf of the holder of !he promissory note {tl1e
"Noteholde('). The loan Is in serious default because the required payments have not been made. The total amount nov"
required to cure this default; in omer words. the amount required to bring the loan current, as of the date of th:s letter is as
follows:

MootblY
      Charges:
          Month Due           Principal & Interest      Escrow Amount           Optional Insurance     Total Monthly Charge
                                    Amount                                           Amount
          12/01/2014              $2,907.00                $1,796.90                   $0,C0                 $4,703.90
          01i01 /2015             $2,907.00                $1)96.90                    $0.00                 $4,703.90
Late Charges:
            Monm                   Amount
          12/01/2014               $145.35
Total Monthly Charges:                                                           $9,407.80
Current Late Charges·.                                                             $145.35
Prior Unpaid Late Charges:                                                         $145.35
Tolai Other Chargas/Fees:                                                            $0.00
Partial Payment Balance:                                                              ($0.00)

                                      TOTALDUE                                   $9,698.50

You have the right to cure the default To cure the default, on or before February 24 . 2015, Bank of America; N.A. must
receive the amount of $9,898.50 plus any additional regular rnon'lt1ly payment or payments, lale charges, fees and
charges, which become due on or before February 24, 2015.                Please contact the Home Loan Team at
1-800-669-1904 to verify the amount necessary to cure the default and bring your loan current.

The dafauit will not be considered cured unless Bank of America. N.A. receivas "good funds" in lhe full amount as set
forth in the previous paragraph on or before February 24, 2015. If any check (or other payment) is returned to us for
insufficienttunds or for any other reason, agoodfunds'; will not have been received and the default wrnnot have been
cured. No extension of lime to cure will be grantsd due to a returned payment. Bank of America, N.A. reserves the right
to accept or reject a partial payment of the total amount due without waiving any of !ts dghls herein or otherwise. For
example, rf less than the full amount that is due Is sent to us, we can keep the payment and apply it to the debt but still
proceed lo foreclosure since ths defaull would not havB been cured.

If the default is not cured on or before February 24, 2015, the mortgage payments will be- accelerated wi"Jlthe full
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amount of the loan remaining accelerated and becoming due and payable in full, and foreclosure proceedings will be
initiated at that time. As such, the failure to cure the default wrn
                                                                   result in the foreclosure and sale of your property.

If required by law or your loan documents, you may have the right to cure the default and reinstate the loan after the
acceleration of the mortgage payments and before the foreclosure sale of your property if aH amounts due or past due
are paid within the time permitted by !aw. However, Bank or America, NA and the Note holder shall be entitled to collect
all fees and costs incurred by Bank of America, N.A. and the Noteholder in purstJing any of their remedies, includ ing but
not limit.ed to reasonable attorney's fees, to the full extent permitted by law. Further, you may have the rfght to bring a
court act!on if you believe you are not in default. In such a court action. you may exercise any other defense or legal right
tc which you may be entitled tc avoid acceleration of your loan and foreclosure.

According to your foan documents, Bank of America, NA may, enter upon and conduct an inspection of your properly
because your loan is in default. The purposes of StJch an inspecfon are to (i) observe the physical condition of your
property, {ii) verify that the property is occupied, and/or (iii) determine the fdenHy of the occupant. !f you do not cure the
default before the inspection, other act!ons to protect Hie mortgagee's interest in the property (including, but not limited to,
\'./4nlerizalion, securing the property, and valuafon services) may be taken. The costs of the above-described
inspections and property preservation efforts will be charged to your account as provided in your security
Instrument and as permitted by law,

If you ara unable to curs the default on or before February 24, 2015, Bank of Amadca, NA. wants you lo be awara of
various options that may be available to you through Bank of Amedca, N.A. lo prevent a foreclosure sale of your
property. For example:

         •   Full Payoff: You can payoff your loan in fuH by selling your properly for any amount equal to or exceeding
             the total amount owed on ~'Ourloan, or you may refinance your loan.

         •   Repayment Plan: You may be eligible for a repayment plan that auows you to make your regularly
             scheduled mortgage payments, plus pay off a portion of ths past due amounts over tima.

         •   Loan Modification: A loan modification :s a change to the original terms of your loan. Loan modifications
             could include lowering your interest rate, extending the term or maturity date of the loan, moving from an
             adjustable to a fixed-rate loan, deferring some portion of the unpaid principal balance to the end of the loan,
             and/or forgiving some portion of the unpaid principal balance. This foreclosure alternat!ve Is limited to certain
             loan types.

         •   Short Sale: tt you can no longer afford to make your mortgage payments and your home is worth iess than
             you owe. a short sale may allow you to seli your homa to pay off the mortgage. In a short sale, the lander
             agrees to accept an amount less lhan what is actually owed on the loan.

         •   Deed in Lieu of Foreclosure: Used as an alternative to forecloStJre, \-\/4tha deed in lieu of foreclosure, yuu
             transfer ownership of your house and all property secured by your mortgage loan. This may satisfy the total
             amount due on Iha! mortgage.

If you are interested in discussing any of these foreclosure alternatives with Bank of America, N.A., you must contact us
immediately, If you are currenty in a bankruptcy proceeding, or have previousfy obtained a discharge of this debt under
applicable bankruptcy law, please be advised that your decisfon to pursue any of these options is strictly voluntary. If you
request assistance, Bank of America, NA. will need to evaluate whether that assistance can be extended to you. In the
meantime, Bank of America, N.A. \-\/411 pursue al! of its rights and remed\es under the loan documents and as permitted
by law, unless it agrees otherwise in writing. Failure to bring your loan current or to enter into a written agreement by
FebruarJ 24, 2015 as outlined above\•.@ result In the acceleration of your debt.

Additionally, the U.S. Department of Housing and Urban Development (HUD) funds free or very low cost housing
counseling across the nation. Housing counselors can help you understand the law and your options. TI1ey can also help
you to organize your finances and represent you in negotiations with your lender if you need this assistance. You may
find a HUD-approved housing counselor near you by calHng 1-800-569-4287. For the hearing impaired, HUD Counseling
Agency (TDD) numbers are available at 1-800-877-8339.

If your loan is currently being evaluated for a loan modification, forbearance or other loan assistance solution, this notice
\•.ti .r.mJ
          cancel or delay that evaluation process. However, lt is Important that you prompHy respond to all requests made
in connection with your evaluation for a loan assistance solution, including all requests for you to contact us and any
documentation required. Please comply with these requests in a timely manner so your request for assistance can be
considered as quickly as possible. If your loan is not eligible for a loan assistance program, please note !his letter will
continue to serve as notice of our right tc in\tiate foreclosure.

Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse
is serving on active military duty, including active military duty as a member of the Texas National Guard or the
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National Guard of another state or as a member of a reserve component of the anned forces of the United
States, please send written notice of the active duty military service to the sender of this notice immediately.

Time :s of the essence. Should you have any questions concerning this notice, please contacl us immediately at
1-800-669-1904. Our office hours are Monday through Thursday 7am to 10pm CST, Friday 7am to 8pm CST, Saturday
8am to 2pm CST.

Bank of America, NA
Home Loan Team




 To contact us

       Phone              1-800-669-1904
                          Office Hours Monday through Thursday 7am
                          to 10pm CST. Friday 7am to 8pm CST,
                          Saturday 8am to 2pm CST
                          PO Box 5170
          Mall            Simi Valley, CA 93062-5170

    To mail a             PO Box 650070
     payment              Dallas, TX 75265-0070
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                                                                                     C3_3222_BRECDISC ~5353 09/24112

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                          IMPORTANT DISCLOSURES

If you are currently in a bankruptcy proceeding, or have previously obtained a discharge of this debt under
applicable bankruptcy law, this notice is for information only and is not an attempt to collect the debt, a demand
for payment, or an attempt to impose personal liability for that debt. You are not obligated to discuss your home
loan with us or enter into a loan modification or other loan-assistance program. You should consult with your
bankruptcy attorney or other advisor about your legal rights and options.

Bank of America, N.A., the servicer of your home loan, is required by law to inform you that this communication
is from a debt collector.

There has been a payment default or other default on your loan that will result in acceleration of all sums due
under the Note. As a result, Bank of America, N.A. will use companies, including its affiliates LandSafe Default,
Inc., LandSafe Services, LLC., LandSafe Title of California, Inc., LandSafe Title of Washington, Inc., LandSafe
Title of Florida, Inc., LandSafe Services of Alabama, Inc., LandSafe Title of Texas, Inc., ReconTrust Company,
NA, and LandSafe Appraisal Services, Inc., to provide services required to protect the Noteholder's interest and
rights in the property and under the note and security instrument, including any remedies thereunder (the "Default
Related Services~}. Bank of America, N.A. will assess fees to your loan account for the Default Related
Services, including those provided by its affiliates. A schedule of fees that may be charged to your account for
Default Related Services is available at the following web address: http://www.bankofarnerica.com/defaultfees. If
you do not have internet access, please contact us at 1-800-669-6607, Monday through Thursday 8 a.m. - 11
p.m. Eastern, Friday 8 a.m. - 9 p.m. Eastern, Saturday 9 a.m. - 3 p.m. Eastern, to have a fee schedule mailed to
you. The fee schedule contains a complete list of the default-related services you could be charged, but does
not include a complete list of all fees or charges that could be assessed on your loan account.

MILITARY PERSONNELISERVICEMEMBERS:                    If you or your spouse is a member of the military, please
contact us immediately. The federal Servicemembers Civil Relief Act and comparable state laws afford
significant protections and benefits to eligible military service personnel, including protections from foreclosure
as •Nell as interest rate relief. For additional information and to determine eligibility please contact our Military
Assistance Team toll free at 1-877-430-5434. If you are calling from outside the U.S. please contact us at
1-817-685-6491.
                                                                                  C3_3222_BRECDISC ~5353 09/24112

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                                     DIVULGACIONES IMPORT ANTES

Si usted se encuentra actualmente en un procedimiento de quiebra, o ha obtenido previamente una exoneraci6n
de esta deuda bajo la ley aplicable sobre quiebra, este no es un intento de recaudaci6n, una demanda de pago o
un intento de imponer una responsabilidad personal por esa deuda. Usted no esta obligado(a} a hablar de su
prestamo para vivienda con nosotros ni a participar en un programa de modificaci6n de prestamos u otro
programa de asistencia para prestamos. Usted debe consultar con su abogado especializado en quiebras u otro
asesor acerca de sus opciones y derechos legales.

Bank of America, N.A.. el administrador de su prestamo para vivienda esta obligado por ley a informarle a usted
que esta comunicaci6n proviene de un cobrador de deudas.

Ha ocurrido un incumplirniento de pago u otro tipo de incumplimiento con su prestamo que podra resultar en la
aceleraci6n de todas las cantidades adeudadas bajo el Pagare. Como resultado. Bank of America, N.A. utilizara
companlas. incluyendo sus afiliados LandSafe Default, Inc .. LandSafe Services, LLC., LandSafe Title of
California, Inc .. LandSafe Title of Washington, Inc .. LandSafe Title of Florida, Inc., LandSafe Services of
Alabama, Inc., LandSafe Title of Texas, Inc .. ReconTrust Company, NA. y Landsafe Appraisal Services, Inc ..
para proporcionar servicios necesarios para proteger los intereses del Titular en la propiedad y sus derechos
bajo el instrumento de seguridad y el pagan.~.incluyendo cualquiera de sus recursos (los "Servicios relacionados
a un incurnplimiento"). Bank of America, NA aplicara cargos a la cuenta de su prestamo por los servicios
relacionados a un incumplimiento, incluyendo los servicios proporcionados por sus afitiados. Una lista de los
cargos que podrian cobrarse a su cuenta por servicios relacionados a un incumplimiento esta disponible en el
sitio de Internet: [htto;iiwww.bankofamerica.com/defaultfeesl.  Si usted no tiene acceso a internet, por favor
comunfquese con nosotros al 1-800-.669-6607de lunes a jueves de 8 a. m. a 11 p. m. hora del este, viernes de 8
a. m. a 9 p. m. hora del este, sabados de 9 a. m. a 3 p. m. hora del este. para pedir que se le envfe una lista de
cargos por correo. La lista de cargos contiene una lista completa de los servicios relacionados por
incumplimiento que le podfan cobrar, pero no incluye una lista comp1eta de todos los costos y cargos que
podrian ser aplicados a la cuenta de su prestamo.

PERSONAL MILITAA/ MIEMBROS OE LAS FUERZAS ARMADAS: Si usted o su c6nyuge es un rniembro del
servicio militar, por favor comunfquese con nosotros inmediatamente. La Ley federal de Ayuda Civil para
Miembros de las Fuerzas Armadas y las leyes estatales comparables otorgan protecciones y beneficios
significativos al personal del servicio militar guecalifigue.
                                                            incluidas protecciones contra la ejecuci6n hipotecaria
asf como tambien ayuda en la tasa de interes. Para obtener mas informaci6n y determinar su calificaci6n por
favor llame sin costo a nuestro Equipo de Asistencia para el Servicio Militar al 1-877--430~5434. Si usted llama
desde fuera de los Estados Unidos por favor comuniquese con nosotros al 1-817-665-6491.
                                                                                      C3_5088 OPTAVDFC 15319 09/24120~2

    Case 3:18-cv-03274-N Document 21-1 are
                              Options    Filed 10/10/19
                                            Available     PageYou
                                                      to Help  58 of 110 PageID 281

                                      Avoid Foreclosure
                      Call the number on the enclosed notice to learn more.
                      When you call, please have your income and expense information available
                               so we can discuss which option{s) could work for you.
                          Options to consider if your goal is to stay in your home


    Home Affordable       A federal government program that allmvs you to repay the loan on newly agreed upon terms,
    Modification          \'Vhichmay include lowering the interest rate, placing past due amounts at the end of the loan,
    Program (HAMP)        andfor extending the term of the loan. You may be eligible for this program if you meet the
                          following requirements:
                         • The amount you owe on the first mor tgage is equal to or less than $729,750 for a
                              single-family home , $934,200 for a 2 unit properly, $1,129 ,250 for a 3 unit property or
                              $1,403,400 for a 4 unit property
                         • You have documented a financial hardship and represented that you do not have sufficient
                               liquid assets to make the monthly mortgage payments .
                         • Your mortgage was obtained before Jan . 1, 2009 .
                         • The property securing the mortgage loan has not been condemned or is not in such poor
                               physical condition that it is not habitable even if not condemned
                         • The mortgage is secured by a one to four unit properly
    Loan                 If you can bring your loan payments up to date, we 'Nill accept the funds needed to bring the
    Reinstatement        loan up to date until the day of your foreclosure sale.
    Repayment Plan       A repayment plan allows you to make your regularly scheduled mortgage payments, plus pay
                         off a portion of the past due amounts over time. This may include principal, interest, fees,
                         and/or costs assessed to •our loan.
    Temporary            An agreement whereby we agree not to proceed with foreclosure and/or collection of payments
    Forbearance          for a period of time, to allow you to re-establish your ability to make the required payments .
    A reement
    Loan Modification A loan modification is a change to the original terms of your loan, Loan modifications could
    (non•HAMP)        include lmvering your interest rate, extending the term or maturity date of the loan, moving
                      from an adjustable to a fixed-rate loan, deferring some portion of the unpaid principal balance
                      to the end of the loan, and/or for iving some portion of the unpaid principal balance.
    Partial Claim (FHA If you have a Federal Housing Administration (FHA) loan and your payments are past due but
    loans only)          you are now able to make your regular mont hly mortgage payment, this program is designed to
                         bring your loon up to date by creating a second mortgage/lien on your property for the amount
                         that is st due.
                  Options to consider if you cannot or do not wish to stay in your home


    Home Affordable      Designed to help borrowers who are eligible for the Home Affordable Modification Program
    Foreclosure          (HAMP) but were unsuccessful in securing a permanent modification through the program.
    Alternatives         HAFA provides the option of a short sale and, if unsuccessful, a deed in lieu of foreclosure. A
    Program (HAFA)       short sale is a transaction in which you sell your property for less than t he total amount owed on
                         the loan (subject to agreement by your servicer/lender/investor), resulting in the release of our
                         lien on your home and avoidance of foreclosure . A deed in lieu of foreclosure is a transaction in
                         which you agree to voluntarily transfer ownership of your property to us in order to avoid
                         foreclosure .
    Short Sale}     If you can no longer afford to make your mortgage payments and your home is worth less than
    Pre-foreclosure you owe, a short sale may allow you to sell your home to pay off the mortgage. In a short sale,
    Sale (non-HAFA) the lender agrees to accept an amount less than what is actually owed on the loan. Offered to
                    borrowers~Jhoare not eli ible for HAMP or other home retention alternatives.
    Deed in Lieu of Used as an alternafr,,e to foreclosure, with a deed in lieu O"fforeclosure , you transfer ownership
    Foreclosure     of  your house and all property secured by your mortgage loan. This may satisfy t he total
~   (non-HAFA)           amount due on that mortgage . Offered to borrowers not eligible for HArvlP or other home
                         retention alternatives, and who were not able to sell the property through a short sale.

                       We are here to help you. Please call us today.
                                                                                                                         C3_5088 OPTAVDFC 15319 09/24120~2

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                     Hay opciones disponlbles para ayudarle a

                                                          Evitar la Ejecuci6n Hipotecaria
         Llame al numero que aparece en la notificacion adjunta para obtener mas
                                     informacion
         Cuando llame, por favor tenga a la mano la informacion de sus ingresos y gastos para que podamos
                               discutir cuales opciones podrian funcionar para usted.
                                                         Opciones a considerar si su objetivo es permanecer en su casa
,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,


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        l!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!E~rlle
   Home Affordable                                            Es un programa del gobierno federal que le psrmite pagar el prestamo bajo los nuevos
   Modification                                               terminos acordados, que pusden incluir la reducci6n de la tasa de interes , agregar
   Program (HAMP)                                             cantidades vencidas al 'final del prestamo, y/o extender el plaza del prestamo. Usted
                                                              puede calificar para sste program a si cum pie con los siguien tes rsquisitos :
                                                              •   La cantidad que usted adeuda de su primera hipoteca es igual o manor que
                                                                  $729,750 d6Iares para una vivienda unifamiliar , $934 ,200 d61ares para una
                                                                  propisdad de 2 unidades, $1,129,250 d6Iarss para una propisdad de 3 unidades o
                                                                  $1,403,400 para una propisdad de 4 unidades
                                                              •   Usted ha documentado qus atraviesa par una dificultad financiera y declarado qus
                                                                  no tiene suficiente liquidez para hacer los pagos mensuales de la hipoteca .
                                                              •   Obtuvo su hipoteca antes del 1 de enero de 2009 .
                                                              •   La propiedad que garantiza el prestamo hipotecario no ha sido condenada o no esta
                                                                  en malas condiciones 'fisicas como para no poder habitarse incluso si no esta
                                                                  condenada .
                                                              •   La hipoteca esta garantizada por una propiedad de una a cuatro unidades .
   Rest a blecim iento                                        Si usted puede poner al dia los pagos de su prestamo , aceptaremos las for.dos
   de! Prestamo                                               necssarios para que el prestamo sste al dfa hasta la 'fecha de la venta por ejecuci6n
                                                              hipotscaria.
   Plan de Pago                                               Un plan de pago le permits a usted hacer sus pagos hipotecarios regulares , adsmas de
                                                              pagar una porci6n de las montos vsncidos a traves del tiempo . Esto puede incluir capital ,
                                                              interes , cargos o costos aplicados a su prestamo .
  Acuerdo Temporal                                            Es un acuerdo en el cual aceptamos no proceder con la ejecuci6n hipotecaria y/o el
  de Tolerancla por                                           cobro de los pagos par un periodo de tiempo, para permit irle que restablezca su
  incumplimiento                                              habilidad de hacer los pagos requeridos .

   Modificaci6n de                                            Una modificaci6n del pres tamo es un cambio en los terminos originales de su prestamo ,
   Prestamo                                                   Las modificaciones podrian incluir reducir su tasa de intsres , extender el tennino o la
   (no por medio de                                           f sch a de pago del prestamo , cambiar de un prestamo de tasa de interes ajus table a uno
   HAMP)                                                      de tasa de interes fija , difsrir una parte de! saldo del capital impagado al final del
                                                              prestamo, y/o condonar una parte del saldo de capital impagado.
   Reclamo Parcial                                            Si usted tiene un prestamo de la Administraci6n Federal de Vivienda (FHA} y sus pagos
   (solamente                                                 estan vencidos , pero ahora puede hacer sus pagos regulares mensuales de la hipoteca ,
   prestamos de la                                            ests programa esta diser.ado para que su pres tamo este al dia mediante la creaci6n de
   FHA)                                                       una segunda hipoteca I gravamen sobre su propiedad por el monto que ssta vencido .
                                                                                                                          C3_5088 OPTAVDFC 15319 09/24120~2

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                   Opciones a considerar si no puede o no desea quedarse en su casa

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 Home Affordable                  Disenado para ayudar a los prestatarios que califican para el Program a de Home
 Foreclosure                      Affordable Modification (HAMP), pero no consiguieron obtener una modificacion
 Alternatives Program             permanente a traves del programa. HAFA ofrece ta posibilidad de una venta en
 {HAFA}                           descubierto y, si no tiene exito, una escritura de traspaso voluntario de propiedad en
                                  lugar de la ejecuci6n hipotecaria. Una venta en descubierto es una transacci6n en la que
                                  usted vende su propiedad por menos de la cantidad adeudada en el prestamo (sujeto a
                                  previo acuerdo de su administrador / prestamista / inversionista), resultando en la
                                  liberaci6n de nuestro derecho de retenci6n sobre su propiedad y evitar la ejecuci6n
                                  hipotecaria. Una escritura de traspaso voluntario de propiedad en lugar de ta ejecuci6n
                                  hipotecaria es una transacci6n en la que usted esta de acuerdo de transferir
                                  voluntariamente las escrituras de su propiedad a nosotros con el fin de evitar la
                                  ejecucion hipotecaria .
 Venta en descubierto             Si usted ya no puede hacer sus pagos hipotecarios y su vivienda vale rnenos de lo que
 / Venta prevla a la              usted adeuda , una venta en descubierto le podrla permitir vender su vivienda para pagar
 ejecuci6n hipotecaria            la hipoteca . En una venta en descubierto. el prestamista acepta recibir una monto
 (no por medio de                 menor de toque actualmente se adeuda en el prestamo. Se ofrece a los prestatarios que
 HAFA)                            no califican para HAMP o para otras alternativas de retenci6n de la vivienda.

 Escrlturade traspaso Se usa como una alternativa de la ejecuci6n hipotecaria . Con una escritura de traspaso
 de propiedad en       voluntario de propiedad en lugar de la ejecuci6n hipotecaria, usted transfiere la
 lugar de la ejecucl6n titularidad de su vivienda y toda la propiedad que garantiza su prestamo hipotecario .
 hipotecaria (no por   Esto puede hacer que el monto total vencido de esa hipoteca se considere corno
 medlo de HAFA)        pagado. Se ofrece a prestatarios que no califican para HAMP u otras opciones de
                       retenci6n de vivienda , y que no pudieron vender la propiedad a traves de una venta en
                       descubierto .


                 Estamos aqui para ayudarle. Par favor llamenos hoy.
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      ..
Bankof America
     Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19
   Hime Loans
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Temec1.;la,CA 92589-9048
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Dallas, TX 75265-00i'O



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                                  PAUL K STAFFORD & TELEA J STAFFORD
                                  3990 VITRUVIAN WAY APT 449
                                  ADDISON, TX 75001-4473




                                                                                                      BREACHTX{FC}
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    Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                        Page 64 of 110 PageID 287



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   Homeloans                                                                                                 PRESORT
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Send Payments to:
PO Box 650070
Dallas,TX 75265-0070


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Send Correspondence to:
PO Box5170
Simi Valley,CA 93062-5170        I, I I II I•111 I I 1111111Ih1"•111
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                                 PAULK STAFFORD & TELEA J STAFFORD
                                 12923 EPPS FIELD RD
                                 FARMERS BRANCH, TX 75234-6211




                                                                                                               BREACHTX{FC}
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      ..
                                                                                            C3_5531 BREACHTX 15392 10/16/2012
Caseof3:18-cv-03274-N
Bank  America         Document 21-1 Filed 10/10/19                             Page 66 of 110 PageID 289

   HomeLoans
                                                                  Notice Date: January 15, 2015


                                                                  Account No.-
 PAULK STAFFORD & TELEA J STAFFORD                                Property Address:
 12923 EPPS FIELD RD
                                                                  12923 EPPS FIELD RD
 FARMERS BRANCH, TX 75234-6211
                                                                  FARMERS BRANCH. TX 75234
                                                                  Date of Note or Contract: November 30, 2007
                                                                  Original Amount of Note or Contract: $682,577.00


                              NOTICE OF DEFAULT AND INTENT TO ACCELERATE

Este es un aviso importante respecto a su derecho de ocupar su casa. Favor de traducirlo de inmediato.
  (This is an important notice concerning your right to live in your home. Have it translated at once.)

Dear PAULK STAFFORD & TELEA J STAFFORD:

Bank of America. N.A. services the home loan described above on behalf of the holder of the promissory note (the
"Noteholder"). The loan is in serious default because the required payments have not been made. The total amount now
required to cure this default, in other words, the amount required to bring the loan current, as of the date of this letter is as
follows:

Monthll'.Charges:
          Month Due           Principal & Interest       Escrow Amount          Optional Insurance      Total Monthly Charge
                                   Amount                                            Amount
          12/01/2014              $2,907.00                 $1,796.90                  $0.00                  $4,703.90
          01/01/2015              $2,907.00                 $1,796.90                  $0.00                  $4,703.90
Late Charges:
            Month                   Amount
          12/01/2014               $145.35
Total Monthly Charges:                                                            $9.407.80
Current Late Charges:                                                               $145.35
Prior Unpaid Late Charges:                                                          $145.35
Total Other Charges/Fees:                                                              $0.00
Partial Payment Balance:                                                              ($0.00)
                                       TOTAL DUE                                  $9,698.50

You have the right to cure the default. To cure the default, on or before February 24, 2015, Bank of America, N.A. must
receive the amount of $9,698.50 plus any additional regular monthly payment or payments, late charges, fees and
charges, which become due on or before February 24, 2015.                 Please contact the Home Loan Team at
1-800-669-1904to verify the amount necessary to cure the default and bring your loan current.

The default will not be considered cured unless Bank of America, N.A. receives "good funds" in the full amount as set
forth in the previous paragraph on or before February 24, 2015. If any check (or other payment) is returned to us for
insufficient funds or for any other reason, "good funds" will not have been received and the default will not have been
cured. No extension of time to cure will be granted due to a returned payment. Bank of America. NA reserves the right
to accept or reject a partial payment of the total amount due without waiving any of its rights herein or otherwise. For
example, if less than the full amount that is due is sent to us, we can keep the payment and apply it to the debt but still
proceed to foreclosure since the default would not have been cured.

If the default is not cured on or before February 24, 2015, the mortgage payments will be accelerated with the full
amount of the loan remaining accelerated and becoming due and payable in full, and foreclosure proceedings will be
initiated at that time. As such, the failure to cure the default will result in the foreclosure and sale of your property.



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If required by law or your loan documents, you may have the right to cure the default and reinstate the loan after the
acceleration of the mortgage payments and before the foreclosure sale of your property if all amounts due or past due
are paid within the time permitted by law. However, Bank of America, N.A. and the Noteholder shall be entitled to collect
all fees and costs incurred by Bank of America, N.A. and the Noteholder in pursuing any of their remedies, including but
not limited to reasonable attorney's fees, to the full extent permitted by law. Further, you may have the right to bring a
court action if you believe you are not in default. In such a court action, you may exercise any other defense or legal right
to which you may be entitled to avoid acceleration of your loan and foreclosure.

According to your loan documents, Bank of America, N.A. may, enter upon and conduct an inspection of your property
because your loan is in default. The purposes of such an inspection are to (i) observe the physical condition of your
property, (ii) verify that the property is occupied, and/or (iii) determine the identity of the occupant. If you do not cure the
default before the inspection, other actions to protect the mortgagee's interest in the property (including, but not limited to,
winterization, securing the property, and valuation services) may be taken. The costs of the above-described
inspections and property preservation efforts will be charged to your account as provided in your security
instrument and as permitted by law.

If you are unable to cure the default on or before February 24, 2015, Bank of America, N.A. wants you to be aware of
various options that may be available to you through Bank of America, N.A. to prevent a foreclosure sale of your
property. For example:

         •   Full Payoff: You can payoff your loan in full by selling your property for any amount equal to or exceeding
             the total amount owed on your loan, or you may refinance your loan.

         •   Repayment Plan: You may be eligible for a repayment plan that allows you to make your regularly
             scheduled mortgage payments, plus pay off a portion of the past due amounts over time.

         •   Loan Modification: A loan modification is a change to the original terms of your loan. Loan modifications
             could include lowering your interest rate, extending the term or maturity date of the loan, moving from an
             adjustable to a fixed-rate loan, deferring some portion of the unpaid principal balance to the end of the loan,
             and/or forgiving some portion of the unpaid principal balance. This foreclosure alternative is limited to certain
             loan types.

         •   Short Sale: If you can no longer afford to make your mortgage payments and your home is worth less than
             you owe, a short sale may allow you to sell your home to pay off the mortgage. In a short sale, the lender
             agrees to accept an amount less than what is actually owed on the loan.
         •   Deed in Lieu of Foreclosure: Used as an alternative to foreclosure, with a deed in lieu of foreclosure, you
             transfer ownership of your house and all property secured by your mortgage loan. This may satisfy the total
             amount due on that mortgage.

If you are interested in discussing any of these foreclosure alternatives with Bank of America, N.A., you must contact us
immediately. If you are currently in a bankruptcy proceeding, or have previously obtained a discharge of this debt under
applicable bankruptcy law, please be advised that your decision to pursue any of these options is strictly voluntary. If you
request assistance, Bank of America, N.A. will need to evaluate whether that assistance can be extended to you. In the
meantime, Bank of America, N.A. will pursue all of its rights and remedies under the loan documents and as permitted
by law, unless it agrees otherwise in writing. Failure to bring your loan current or to enter into a written agreement by
February 24, 2015 as outlined above will result in the acceleration of your debt.

Additionally, the U.S. Department of Housing and Urban Development (HUD) funds free or very low cost housing
counseling across the nation. Housing counselors can help you understand the law and your options. They can also help
you to organize your finances and represent you in negotiations with your lender if you need this assistance. You may
find a HUD-approved housing counselor near you by calling 1-800-569-4287. For the hearing impaired, HUD Counseling
Agency (TDD) numbers are available at 1-800-877-8339.

If your loan is currently being evaluated for a loan modification, forbearance or other loan assistance solution, this notice
will not cancel or delay that evaluation process. However, it is important that you promptly respond to all requests made
in connection with your evaluation for a loan assistance solution, including all requests for you to contact us and any
documentation required. Please comply with these requests in a timely manner so your request for assistance can be
considered as quickly as possible. If your loan is not eligible for a loan assistance program, please note this letter will
continue to serve as notice of our right to initiate foreclosure.

Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse
is serving on active military duty, including active military duty as a member of the Texas National Guard or the
National Guard of another state or as a member of a reserve component of the armed forces of the United
States, please send written notice of the active duty military service to the sender of this notice immediately.



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Time is of the essence. Should you have any questions concerning this notice, please contact us immediately at
1-800-669-1904. Our office hours are Monday through Thursday 7am to 10pm CST, Friday 7am to 8pm CST, Saturday
8am to 2pm CST.

Bank of America, NA
Home Loan Team




 To contact us

       Phone              1-800-669-1904
                          Office Hours Monday through Thursday 7am
                          to 10pm CST, Friday 7am to 8pm CST,
                          Saturday 8am to 2pm CST

                          PO Box 5170
          Mail            Simi Valley, CA 93062-5170

    To mail a             PO Box 650070
     payment              Dallas, TX 75265-0070




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                                                                                    C3_3222_BRECDISC 15353 09/24112

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                          IMPORTANT DISCLOSURES

If you are currently in a bankruptcy proceeding, or have previously obtained a discharge of this debt under
applicable bankruptcy law, this notice is for information only and is not an attempt to collect the debt, a demand
for payment, or an attempt to impose personal liability for that debt. You are not obligated to discuss your home
loan with us or enter into a loan modification or other loan-assistance program. You should consult with your
bankruptcy attorney or other advisor about your legal rights and options.

Bank of America, NA, the servicer of your home loan, is required by law to inform you that this communication
is from a debt collector.

There has been a payment default or other default on your loan that will result in acceleration of all sums due
under the Note. As a result, Bank of America, NA will use companies, including its affiliates LandSafe Default,
Inc., LandSafe Services, LLC., LandSafe Title of California, Inc., LandSafe Title of Washington, Inc., LandSafe
Title of Florida, Inc., LandSafe Services of Alabama, Inc., LandSafe Title of Texas, Inc., ReconTrust Company,
NA, and LandSafe Appraisal Services, Inc., to provide services required to protect the Noteholder's interest and
rights in the property and under the note and security instrument, including any remedies thereunder (the "Default
Related Services"). Bank of America, NA will assess fees to your loan account for the Default Related
Services, including those provided by its affiliates. A schedule of fees that may be charged to your account for
Default Related Services is available at the following web address: http://www.bankofamerica.com/defaultfees. If
you do not have internet access, please contact us at 1-800-669-6607, Monday through Thursday 8 a.m. - 11
p.m. Eastern, Friday 8 a.m. - 9 p.m. Eastern, Saturday 9 a.m. - 3 p.m. Eastern, to have a fee schedule mailed to
you. The fee schedule contains a complete list of the default-related services you could be charged, but does
not include a complete list of all fees or charges that could be assessed on your loan account.

MILITARY PERSONNEUSERVICEMEMBERS:                     If you or your spouse is a member of the military, please
contact us immediately. The federal Servicemembers Civil Relief Act and comparable state laws afford
significant protections and benefits to eligible military service personnel, including protections from foreclosure
as well as interest rate relief. For additional information and to determine eligibility please contact our Military
Assistance Team toll free at 1-877-430-5434. If you are calling from outside the U.S. please contact us at
1-817-685-6491.




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                                      DIVULGACIONES IMPORT ANTES

Si usted se encuentra actualmente en un procedimiento de quiebra, o ha obtenido previamente una exoneraci6n
de esta deuda bajo la ley aplicable sabre quiebra, este no es un intento de recaudaci6n, una demanda de pago o
un intento de imponer una responsabilidad personal por esa deuda. Usted no esta obligado(a) a hablar de su
prestamo para vivienda con nosotros ni a participar en un programa de modificaci6n de prestamos u otro
programa de asistencia para prestamos. Usted debe consultar con su abogado especializado en quiebras u otro
asesor acerca de sus opciones y derechos legales.

Bank of America, NA, el administrador de su prestamo para vivienda esta obligado por ley a informarle a usted
que esta comunicaci6n proviene de un cobrador de deudas.
Ha ocurrido un incumplimiento de pago u otro tipo de incumplimiento con su prestamo que podra resultar en la
aceleraci6n de todas las cantidades adeudadas bajo el Pagare. Como resultado, Bank of America, NA utilizara
companias, incluyendo sus afiliados LandSafe Default, Inc., LandSafe Services, LLC., LandSafe Title of
California, Inc., LandSafe Title of Washington, Inc., LandSafe Title of Florida, Inc., LandSafe Services of
Alabama, Inc., LandSafe Title of Texas, Inc., ReconTrust Company, NA, y Landsafe Appraisal Services, Inc.,
para proporcionar servicios necesarios para proteger los intereses del Titular en la propiedad y sus derechos
bajo el instrumento de seguridad y el pagare, incluyendo cualquiera de sus recurses (los "Servicios relacionados
a un incumplimiento"). Bank of America, NA aplicara cargos a la cuenta de su prestamo por los servicios
relacionados a un incumplimiento, incluyendo los servicios proporcionados por sus afiliados. Una lista de los
cargos que podrian cobrarse a su cuenta por servicios relacionados a un incumplimiento esta disponible en el
sitio de Internet: [http://www.bankofamerica.com/defaultfeesj. Si usted no tiene acceso a internet, por favor
comuniquese con nosotros al 1-800-669-6607 de lunes a jueves de 8 a. m. a 11 p. m. hara del este, viernes de 8
a. m. a 9 p. m. hara del este, sabados de 9 a. m. a 3 p. m. hara del este. para pedir que se le envie una lista de
cargos por correo. La lista de cargos contiene una lista completa de los servicios relacionados por
incumplimiento que le podian cobrar, pero no incluye una lista completa de todos los costos y cargos que
podrian ser aplicados a la cuenta de su prestamo.

PERSONAL MILITAR/ MIEMBROS DE LAS FUERZAS ARMADAS: Si usted o su c6nyuge es un miembro del
servicio militar, por favor comuniquese con nosotros inmediatamente. La Ley federal de Ayuda Civil para
Miembros de las Fuerzas Armadas y las leyes estatales comparables otorgan protecciones y beneficios
significativos al personal del servicio militar que califique, incluidas protecciones contra la ejecuci6n hipotecaria
asi coma tambien ayuda en la tasa de interes. Para obtener mas informaci6n y determinar su calificaci6n por
favor llame sin costo a nuestro Equipo de Asistencia para el Servicio Militar al 1-877-430-5434. Si usted llama
desde fuera de los Estados Unidos por favor comuniquese con nosotros al 1-817-685-6491.




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    Case 3:18-cv-03274-N Document 21-1 are
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                                            Available     PageYou
                                                      to Help  72 of 110 PageID 295

                                      Avoid Foreclosure
                      Call the number on the enclosed notice to learn more.
                      When you call, please have your income and expense information available
                              so we can discuss which option(s) could work for you.
                          Options to consider if your goal is to stay in your home


    Home Affordable       A federal government program that allows you to repay the loan on newly agreed upon terms,
    Modification          which may include lowering the interest rate, placing past due amounts at the end of the loan,
    Program {HAMP)        and/or extending the term of the loan. You may be eligible for this program if you meet the
                          following requirements:
                         • The amount you owe on the first mortgage is equal to or less than $729,750 for a
                              single-family home, $934,200 for a 2 unit property, $1,129,250 for a 3 unit property or
                              $1,403,400 for a 4 unit property
                         • You have documented a financial hardship and represented that you do not have sufficient
                               liquid assets to make the monthly mortgage payments.
                         • Your mortgage was obtained before Jan. 1, 2009.
                         • The property securing the mortgage loan has not been condemned or is not in such poor
                               physical condition that it is not habitable even if not condemned
                         • The mort a e is secured b a one to four unit ro ert
    Loan                 If you can bring your loan payments up to date, we will accept the funds needed to bring the
    Reinstatement        loan up to date until the day of your foreclosure sale.
    Repayment Plan       A repayment plan allows you to make your regularly scheduled mortgage payments, plus pay
                         off a portion of the past due amounts over time. This may include principal, interest, fees,
                         and/or costs assessed to our loan.
    Temporary            An agreement whereby we agree not to proceed with foreclosure and/or collection of payments
    Forbearance          for a period of time, to allow you to re-establish your ability to make the required payments.
    Agreement
    Loan Modification A loan modification is a change to the original terms of your loan. Loan modifications could
    (non-HAMP)        include lowering your interest rate, extending the term or maturity date of the loan, moving
                      from an adjustable to a fixed-rate loan, deferring some portion of the unpaid principal balance
                      to the end of the loan, and/or for ivin some portion of the unpaid principal balance.
    Partial Claim (FHA If you have a Federal Housing Administration (FHA) loan and your payments are past due but
    loans only)        you are now able to make your regular monthly mortgage payment, this program is designed to
                       bring your loan up to date by creating a second mortgage/lien on your property for the amount
                       that is past due.
                  Options to consider if you cannot or do not wish to stay in your home


    Home Affordable      Designed to help borrowers who are eligible for the Home Affordable Modification Program
    Foreclosure          (HAMP) but were unsuccessful in securing a permanent modification through the program.
    Alternatives         HAFA provides the option of a short sale and, if unsuccessful, a deed in lieu of foreclosure. A
    Program (HAFA)       short sale is a transaction in which you sell your property for less than the total amount owed OnJ
                         the loan (subject to agreement by your servicer/lender/investor), resulting in the release of our i
                         lien on your home and avoidance of foreclosure. A deed in lieu of foreclosure is a transaction in!
                         which you agree to voluntarily transfer ownership of your property to us in order to avoid
                         foreclosure.
    Short Sale/          If you can no longer afford to make your mortgage payments and your home is worth less than
    Pre-foreclosure      you owe, a short sale may allow you to sell your home to pay off the mortgage. In a short sale,
    Sale (non-HAFA)      the lender agrees to accept an amount less than what is actually owed on the loan. Offered to
                         borrowers who are not eli ible for HAMP or other home retention alternatives.
    Deed in Lieu of      Used as an alternative to foreclosure, with a deed in lieu of foreclosure, you transfer ownership
    Foreclosure          of your house and all property secured by your mortgage loan. This may satisfy the total
~   {non-HAFA)           amount due on that mortgage. Offered to borrowers not eligible for HAMP or other home
                         retention alternatives, and who were not able to sell the ro e throu ha short sale.

                       We are here to help you. Please call us today.
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                     Hay opciones disponibles para ayudarle a

                Evitar la Ejecucion Hipotecaria
 Llame al numero que aparece en la notificacion adjunta para obtener mas
                              informacion
 Cuando llame, por favor tenga a la mano la informaci6n de sus ingresos y gastos para que podamos
                       discutir cuales opciones podrian funcionar para usted.
               Opciones a considerar si su objetivo es permanecer en su casa



Home Affordable     Es un programa del gobierno federal que le permite pagar el prestamo bajo los nuevos
Modification        terminos acordados, que pueden incluir la reducci6n de la tasa de interes, agregar
Program (HAMP)      cantidades vencidas al final del prestamo, y/o extender el plazo del prestamo. Usted
                    puede calificar para este programa si cumple con los siguientes requisitos:
                    •   La cantidad que usted adeuda de su primera hipoteca es igual o menor que
                        $729,750 d61ares para una vivienda unifamiliar, $934,200 d61ares para una
                        propiedad de 2 unidades, $1,129,250 d61ares para una propiedad de 3 unidades o
                        $1,403,400 para una propiedad de 4 unidades
                    •   Usted ha documentado que atraviesa por una dificultad financiera y declarado que
                        no tiene suficiente liquidez para hacer los pagos mensuales de la hipoteca.
                    •   Obtuvo su hipoteca antes del 1 de enero de 2009.
                    •   La propiedad que garantiza el prestamo hipotecario no ha sido condenada o no esta
                        en malas condiciones fisicas como para no poder habitarse incluso si no esta
                        condenada.
                    •   La hipoteca esta garantizada por una propiedad de una a cuatro unidades.

Restablecim iento   Si usted puede poner al dia los pagos de su prestamo, aceptaremos los fondos
del Prestamo        necesarios para que el prestamo este al dia hasta la fecha de la venta por ejecuci6n
                    hipotecaria.

Plan de Pago        Un plan de pago le permite a usted hacer sus pagos hipotecarios regulares, ademas de
                    pagar una porci6n de los montos vencidos a traves del tiempo. Esto puede incluir capital,
                    interes, cargos o costos aplicados a su prestamo.
Acuerdo Temporal    Es un acuerdo en el cual aceptamos no proceder con la ejecuci6n hipotecaria y/o el
de Tolerancia por   cobro de los pagos por un periodo de tiempo, para permitirle que restablezca su
incumplimiento      habilidad de hacer los pagos requeridos.

Modificaci6n de     Una modificaci6n del prestamo es un cambio en los terminos originales de su prestamo,
Prestamo            Las modificaciones podrian incluir reducir su tasa de interes, extender el termino o la
(no por medio de    fecha de pago del prestamo, cambiar de un prestamo de tasa de interes ajustable a uno
HAMP)               de tasa de interes fija, diferir una parte del saldo del capital impagado al final del
                    prestamo, y/o condonar una parte del saldo de capital impagado.

Reclamo Parcial     Si usted tiene un prestamo de la Administraci6n Federal de Vivienda (FHA} y sus pagos
(solamente          estan vencidos, pero ahora puede hacer sus pagos regulares mensuales de la hipoteca,
prestamos de la     este programa esta diseiiado para que su prestamo este al dia mediante la creaci6n de
FHA)                una segunda hipoteca / gravamen sobre su propiedad par el monto que esta vencido.




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             Opciones a considerar si no puede o no desea quedarse en so casa


Home Affordable         Disenado para ayudar a los prestatarios que califican para el Programa de Home
Foreclosure             Affordable Modification (HAMP), pero no consiguieron obtener una modificaci6n
AlternativesProgram     permanente a traves del programa. HAFA ofrece la posibilidad de una venta en
(HAFA)                  descubierto y, si no tiene exito, una escritura de traspaso voluntario de propiedad en
                        lugar de la ejecuci6n hipotecaria. Una venta en descubierto es una transacci6n en la que
                        usted vende su propiedad por menos de la cantidad adeudada en el prestamo (sujeto a
                        previo acuerdo de su administrador / prestamista / inversionista), resultando en la
                        liberaci6n de nuestro derecho de retenci6n sobre su propiedad y evitar la ejecuci6n
                        hipotecaria. Una escritura de traspaso voluntario de propiedad en lugar de la ejecuci6n
                        hipotecaria es una transacci6n en la que usted esta de acuerdo de transferir
                        voluntariamente las escrituras de su propiedad a nosotros con el fin de evitar la
                        ejecuci6n hipotecaria.

Venta en descubierto    Si usted ya no puede hacer sus pagos hipotecarios y su vivienda vale menos de lo que
/ Venta previa a la     usted adeuda, una venta en descubierto le podria permitir vender su vivienda para pagar
ejecuci6nhipotecaria    la hipoteca. En una venta en descubierto, el prestamista acepta recibir una monto
(no por medio de        menor de lo que actualmente se adeuda en el prestamo. Se ofrece a los prestatarios que
HAFA)                   no califican para HAMP o para otras alternativas de retenci6n de la vivienda.

Escritura de traspaso   Se usa como una alternativa de la ejecuci6n hipotecaria. Con una escritura de traspaso
de propiedad en         voluntario de propiedad en lugar de la ejecuci6n hipotecaria, usted transfiere la
lugar de la ejecucion   titularidad de su vivienda y toda la propiedad que garantiza su prestamo hipotecario.
hipotecaria (no por     Esto puede hacer que el monto total vencido de esa hipoteca se considere como
medio de HAFA)          pagado. Se ofrece a prestatarios que no califican para HAMP u otras opciones de
                        retenci6n de vivienda, y que no pudieron vender la propiedad a traves de una venta en
                        descubierto.


           Estamos aqui para ayudarle. Por favor llamenos hoy.




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               Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                                                                 Page 76 of 110 PageID 299




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                Temecula,CA 92589-9048
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 ~:::,
             PAUL K ST AFFORD & TELEA J STAFFORD
 iv          3990 VITRUVIAN WAY APT 449
 ·c:;
 8           ADDISON, TX 75001-4473


 L                                                                                           January 15, 2015
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         PS Form 3811, January 2005           Domestic Return Receipt
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             EXHIBIT A-5
           Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                       Page 81 of 110 PageID 304
     Barrett Daffin Frappier
     Turner & Engel, LLP
     4004 Belt Line Road
     Suite 100
     Addison, TX 75001




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           PAUL K STAFFORD
           12923 EPPS FIELD ROAD
           FARMERS BRANCH, TX 75234




                     IMPORTANT INFORMATION IS CONTAINED
                         WITHIN THE ATTACHED NOTICE.


                   PLEASE READ CAREFULLY



BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP
IS A DEBT COLLECTOR ATTEMPTING TO COLLECT A
DEBT. ANY INFORMATION OBTAINED WILL BE USED
FOR THAT PURPOSE.
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           Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                                    Page 82 of 110 PageID 305
                                                                                        Barrett Daffin Frappier Turner & Engel, LLP
                                                                                           A Partnership Including Professional Corporations
                                                                                          ATTORNEYS AND COUNSELORS AT LAW
                                                                                               4004 Belt Line Road, Suite 100
September 29, 2017                                                                                 Addison, Texas 75001
                                                                                                 Telephone: (972) 419-1163
                                                                                                 Telecopier: (972) 386-7673
Certified Mail 7160 9668 9670 8384 8589
PAUL K STAFFORD
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234




                                        -
RE:         Mortgage Servicer:          BANK OF AMERICA,               N.A.,   AS   SUCCESSOR    BY     MERGER        TO     BAC      HOME     LOANS
                                        SERVICING, LP
           Loan No.:
           BDFTE No.:                   00000006035497

                                                                 NOTICE OF ACCELERATION
This law firm represents BANK OF AMERICA, N.A., AS SUCCESSOR BY MERGER TO BAC HOME LOANS SERVICING, LP,
the Mortgage Servicer, in its mortgage banking activities in the State of Texas. We have been authorized by the Mortgage Servicer to
initiate legal proceedings in connection with the foreclosure of a Deed of Trust associated with your real estate loan (the "Debt").

BANK OF AMERICA, N.A., AS SUCCESSOR BY MERGER TO BAC HOME LOANS SERVICING, LP is acting as the Mortgage
Servicer for BANK OF AMERICA, N.A., who is the Mortgagee of the Note and Deed of Trust associated with the above referenced
loan.    BANK OF AMERICA, N.A., AS SUCCESSOR BY MERGER TO BAC HOME LOANS SERVICING, LP, as Mortgage
Servicer, is representing the Mortgagee, whose address is:

         BANK OF AMERICA, N.A.
         c/o BANK OF AMERICA, N.A., AS SUCCESSOR BY MERGER TO BAC HOME LOANS SERVICING, LP
         7105 CORPORATE DRIVE
         PLANO, TX 75024

The Mortgage Servicer is authorized to represent the Mortgagee by virtue of a servicing agreement with the Mortgagee. Pursuant to
the Servicing Agreement and Texas Property Code §51.0025, the Mortgage Servicer is authorized to collect the debt and to administer
any resulting foreclosure of the property securing the above referenced loan.

THIS FIRM IS A DEBT COLLECTOR ATTEMPTING TO COLLECT THE DEBT.                                                ANY INFORMATION OBTAINED
WILL BE USED FOR THAT PURPOSE.

This letter is formal notice of the following:
1.     Payment of the past due balance on the Debt has not been received by the Mortgage Servicer.                      Because of this default, the
       Mortgagee has elected to ACCELERATE the maturity of the Debt.

2.     On Tuesday, November 07, 2017, as designated on the enclosed Notice of Trustee's Sale, the Trustee, or the Substitute Trustee,
       will sell at the Courthouse of DALLAS County, Texas in the area designated by the Commissioner's Court of such County, or if
       no area is designated by the Commissioner's Court, in the usual and customary place in that County, to the highest bidder for
       cash, the Real Estate described in the enclosed Notice.

3.     All of the obligors and guarantors (if any) of the Debt have the right to reinstate the loan as provided in the Deed of Trust and as
       provided by applicable Texas law. Payment must be made in certified funds, cashier's check or money order(s).

4.     All of the obligors and guarantors (if any) have the right to bring a court action to assert the non-existence of a default or any
       other defense to acceleration and foreclosure which they may have.

Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse is serving on
active military duty, including active military duty as a member of the Texas National Guard or the National Guard of another
state or as a member of a reserve component of the armed forces of the United States, please send written notice of the active
duty military service to the sender of this notice immediately.



                                                                               *SNT00000006035497*
FCTX_Accel_Notice.rpt (5/11/2016) Ver-15 (Acceleration Notice)
                                                                                                SNT00000006035497                              Page 1 of 2
           Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                                     Page 83 of 110 PageID 306



September 29, 2017


Certified Mail 7160 9668 9670 8384 8589
00000006035497
PAUL K STAFFORD
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234

If you are not obligated on the Debt, or if the Debt has been discharged in a bankruptcy proceeding, the Mortgage Servicer is not
attempting to collect from you personally. You are being given this notice as a courtesy because your interest in the Real Estate may
be affected.

Sincerely,




Cheryl Asher

Barrett Daffin Frappier Turner & Engel, LLP
Enclosed: Notice of Trustee Sale




FCTX_Accel_Notice.rpt (5/11/2016) Ver-15 (Acceleration Notice)                                                                          Page 2 of 2
          Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                                           Page 84 of 110 PageID 307
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234                                                                                                                 00000006035497
                                               NOTICE OF SUBSTITUTE TRUSTEE SALE
Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse is serving on
active military duty, including active military duty as a member of the Texas National Guard or the National Guard of
another state or as a member of a reserve component of the armed forces of the United States, please send written notice of
the active duty military service to the sender of this notice immediately.

1.    Date, Time, and Place of Sale.

      Date:       November 07, 2017
      Time:     The sale will begin at 10:00AM or not later than three hours after that time.
      Place     THE AREA OUTSIDE ON THE NORTHSIDE OF THE GEORGE ALLEN COURTSBUILDING FACING
                COMMERCE STREET BELOW THE OVERHANGOR AS DESIGNATED BY THE COUNTY COMMISSIONERS or
                as designated by the county commissioners.




                                                                                                                   Y
 2.   Terms of Sale. Cash.

 3. Instrument to be Foreclosed. The Instrument to be foreclosed is the Deed of Trust or Contract Lien dated November 30,
 2007 and recorded in Document CLERK'S FILE NO. 20070431480; AS AFFECTED BY CLERK'S FILE NO. 20080347047 AND
 201200213059 real property records of    DALLAS    County, Texas, with PAUL K. STAFFORD AND TELEA STAFFORD,
 grantor(s) and BANK OF AMERICIA mortgagee.




                                                                                         P
 4. Obligations Secured. Deed of Trust or Contract Lien executed by PAUL K. STAFFORD AND TELEA STAFFORD, securing
 the payment of the indebtednesses in the original principal amount of $810,561.00, and obligations therein described including but
 not limited to the promissory note and all modifications, renewals and extensions of the promissory note. BANK OF AMERICA ,
 N.A. is the current mortgagee of the note and Deed of Trust or Contract Lien.

 5.   Property to Be Sold. The property to be sold is described in the attached Exhibit A.




                                                             O
 6. Mortgage Servicer Information. The Mortgage Servicer is authorized to represent the Mortgagee by virtue of a servicing
 agreement with the Mortgagee. Pursuant to the Servicing Agreement and Texas Property Code § 51.0025, the Mortgage Servicer is
 authorized to collect the debt and to administer any resulting foreclosure of the lien securing the Property referenced above. BANK
 OF AMERICA, N.A., AS SUCCESSOR BY MERGER TO BAC HOME LOANS SERVICING, LP as Mortgage Servicer, is
 representing the current mortgagee, whose address is:




                                 C
 c/o BANK OF AMERICA, N.A., AS SUCCESSOR BY MERGER TO BAC HOME LOANS SERVICING, LP
 7105 CORPORATE DRIVE
 PLANO, TX 75024


          _______________________________________________________________________________________________
          MICHAEL D. VESTAL, ROBERT FORSTER, JEFFREY FLEMING, LAUREN CHRISTOFFEL, BRETT BAUGH,
          JOHN BEAZLEY, KENNY SHIREY, RICK MONTGOMERY, CRAIG MUIRHEAD, AARON PARKER, CLAY
          GOLDEN, ROBERT AGUILAR, BRENT GRAVES, WENDY LAMBERT, TROY ROBINETT, MARK BULEZIUK,
          TERRY WATERS, MATT HANSEN, FREDERICK BRITTON
          Substitute Trustee
          c/o Barrett Daffin Frappier Turner & Engel, LLP
              4004 Belt Line Road, Suite 100
              Addison, Texas 75001

                                                                    Certificate of Posting
 My name is _______________________________________, and my address is c/o 4004 Belt Line Road, Suite 100, Addison, Texas 75001. I
 declare under penalty of perjury that on _________________________ I filed at the office of the DALLAS County Clerk and caused to be posted
 at the DALLAS County courthouse this notice of sale.


 ______________________________________________________
 Declarants Name:________________________________________
 Date:__________________________________________________



                                                                              *NOS00000006035497*
 FCTX_Notice_SubTrusteeSale.rpt (03/25/2015) Ver-17                                                      NOS00000006035497                      Page 1 of 2
          Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19             Page 85 of 110 PageID 308
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234                                                                  00000006035497

                                                      EXHIBIT "A"


LOT 1, IN BLOCK A, OF VALLEY VIEW/STAFFORD, AN ADDITION TO THE CITY OF FARMERS BRANCH, DALLAS
COUNTY, TEXAS, ACCORDING TO THE MAP OR PLAT THEREOF RECORDED IN CLERK'S FILE NO. 20070315299 PLAT
RECORDS, DALLAS COUNTY, TEXAS




                                                                              Y
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                                 C



 FCTX_Notice_SubTrusteeSale.rpt (03/25/2015) Ver-17                                             Page 2 of 2
           Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                       Page 86 of 110 PageID 309
     Barrett Daffin Frappier
     Turner & Engel, LLP
     4004 Belt Line Road
     Suite 100
     Addison, TX 75001




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                                                        7160 9668 9670 8384 8596




           00000006035497            09/29/2017

           TELEA STAFFORD
           12923 EPPS FIELD ROAD
           FARMERS BRANCH, TX 75234




                     IMPORTANT INFORMATION IS CONTAINED
                         WITHIN THE ATTACHED NOTICE.


                   PLEASE READ CAREFULLY



BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP
IS A DEBT COLLECTOR ATTEMPTING TO COLLECT A
DEBT. ANY INFORMATION OBTAINED WILL BE USED
FOR THAT PURPOSE.
01 02 TX N 02                                                                                                  HP
FCUS_StdBannerPortrait_HP.rpt - (06/15/2016) / Ver-09
           Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                                    Page 87 of 110 PageID 310
                                                                                        Barrett Daffin Frappier Turner & Engel, LLP
                                                                                           A Partnership Including Professional Corporations
                                                                                          ATTORNEYS AND COUNSELORS AT LAW
                                                                                               4004 Belt Line Road, Suite 100
September 29, 2017                                                                                 Addison, Texas 75001
                                                                                                 Telephone: (972) 419-1163
                                                                                                 Telecopier: (972) 386-7673
Certified Mail 7160 9668 9670 8384 8596
TELEA STAFFORD
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234




                                        -
RE:         Mortgage Servicer:          BANK OF AMERICA,               N.A.,   AS   SUCCESSOR    BY     MERGER        TO     BAC      HOME     LOANS
                                        SERVICING, LP
           Loan No.:
           BDFTE No.:                   00000006035497

                                                                 NOTICE OF ACCELERATION
This law firm represents BANK OF AMERICA, N.A., AS SUCCESSOR BY MERGER TO BAC HOME LOANS SERVICING, LP,
the Mortgage Servicer, in its mortgage banking activities in the State of Texas. We have been authorized by the Mortgage Servicer to
initiate legal proceedings in connection with the foreclosure of a Deed of Trust associated with your real estate loan (the "Debt").

BANK OF AMERICA, N.A., AS SUCCESSOR BY MERGER TO BAC HOME LOANS SERVICING, LP is acting as the Mortgage
Servicer for BANK OF AMERICA, N.A., who is the Mortgagee of the Note and Deed of Trust associated with the above referenced
loan.    BANK OF AMERICA, N.A., AS SUCCESSOR BY MERGER TO BAC HOME LOANS SERVICING, LP, as Mortgage
Servicer, is representing the Mortgagee, whose address is:

         BANK OF AMERICA, N.A.
         c/o BANK OF AMERICA, N.A., AS SUCCESSOR BY MERGER TO BAC HOME LOANS SERVICING, LP
         7105 CORPORATE DRIVE
         PLANO, TX 75024

The Mortgage Servicer is authorized to represent the Mortgagee by virtue of a servicing agreement with the Mortgagee. Pursuant to
the Servicing Agreement and Texas Property Code §51.0025, the Mortgage Servicer is authorized to collect the debt and to administer
any resulting foreclosure of the property securing the above referenced loan.

THIS FIRM IS A DEBT COLLECTOR ATTEMPTING TO COLLECT THE DEBT.                                                ANY INFORMATION OBTAINED
WILL BE USED FOR THAT PURPOSE.

This letter is formal notice of the following:
1.     Payment of the past due balance on the Debt has not been received by the Mortgage Servicer.                      Because of this default, the
       Mortgagee has elected to ACCELERATE the maturity of the Debt.

2.     On Tuesday, November 07, 2017, as designated on the enclosed Notice of Trustee's Sale, the Trustee, or the Substitute Trustee,
       will sell at the Courthouse of DALLAS County, Texas in the area designated by the Commissioner's Court of such County, or if
       no area is designated by the Commissioner's Court, in the usual and customary place in that County, to the highest bidder for
       cash, the Real Estate described in the enclosed Notice.

3.     All of the obligors and guarantors (if any) of the Debt have the right to reinstate the loan as provided in the Deed of Trust and as
       provided by applicable Texas law. Payment must be made in certified funds, cashier's check or money order(s).

4.     All of the obligors and guarantors (if any) have the right to bring a court action to assert the non-existence of a default or any
       other defense to acceleration and foreclosure which they may have.

Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse is serving on
active military duty, including active military duty as a member of the Texas National Guard or the National Guard of another
state or as a member of a reserve component of the armed forces of the United States, please send written notice of the active
duty military service to the sender of this notice immediately.



                                                                               *SNT00000006035497*
FCTX_Accel_Notice.rpt (5/11/2016) Ver-15 (Acceleration Notice)
                                                                                                SNT00000006035497                              Page 1 of 2
           Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                                     Page 88 of 110 PageID 311



September 29, 2017


Certified Mail 7160 9668 9670 8384 8596
00000006035497
TELEA STAFFORD
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234

If you are not obligated on the Debt, or if the Debt has been discharged in a bankruptcy proceeding, the Mortgage Servicer is not
attempting to collect from you personally. You are being given this notice as a courtesy because your interest in the Real Estate may
be affected.

Sincerely,




Cheryl Asher

Barrett Daffin Frappier Turner & Engel, LLP
Enclosed: Notice of Trustee Sale




FCTX_Accel_Notice.rpt (5/11/2016) Ver-15 (Acceleration Notice)                                                                          Page 2 of 2
          Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                                           Page 89 of 110 PageID 312
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234                                                                                                                 00000006035497
                                               NOTICE OF SUBSTITUTE TRUSTEE SALE
Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse is serving on
active military duty, including active military duty as a member of the Texas National Guard or the National Guard of
another state or as a member of a reserve component of the armed forces of the United States, please send written notice of
the active duty military service to the sender of this notice immediately.

1.    Date, Time, and Place of Sale.

      Date:       November 07, 2017
      Time:     The sale will begin at 10:00AM or not later than three hours after that time.
      Place     THE AREA OUTSIDE ON THE NORTHSIDE OF THE GEORGE ALLEN COURTSBUILDING FACING
                COMMERCE STREET BELOW THE OVERHANGOR AS DESIGNATED BY THE COUNTY COMMISSIONERS or
                as designated by the county commissioners.




                                                                                                                   Y
 2.   Terms of Sale. Cash.

 3. Instrument to be Foreclosed. The Instrument to be foreclosed is the Deed of Trust or Contract Lien dated November 30,
 2007 and recorded in Document CLERK'S FILE NO. 20070431480; AS AFFECTED BY CLERK'S FILE NO. 20080347047 AND
 201200213059 real property records of    DALLAS    County, Texas, with PAUL K. STAFFORD AND TELEA STAFFORD,
 grantor(s) and BANK OF AMERICIA mortgagee.




                                                                                         P
 4. Obligations Secured. Deed of Trust or Contract Lien executed by PAUL K. STAFFORD AND TELEA STAFFORD, securing
 the payment of the indebtednesses in the original principal amount of $810,561.00, and obligations therein described including but
 not limited to the promissory note and all modifications, renewals and extensions of the promissory note. BANK OF AMERICA ,
 N.A. is the current mortgagee of the note and Deed of Trust or Contract Lien.

 5.   Property to Be Sold. The property to be sold is described in the attached Exhibit A.




                                                             O
 6. Mortgage Servicer Information. The Mortgage Servicer is authorized to represent the Mortgagee by virtue of a servicing
 agreement with the Mortgagee. Pursuant to the Servicing Agreement and Texas Property Code § 51.0025, the Mortgage Servicer is
 authorized to collect the debt and to administer any resulting foreclosure of the lien securing the Property referenced above. BANK
 OF AMERICA, N.A., AS SUCCESSOR BY MERGER TO BAC HOME LOANS SERVICING, LP as Mortgage Servicer, is
 representing the current mortgagee, whose address is:




                                 C
 c/o BANK OF AMERICA, N.A., AS SUCCESSOR BY MERGER TO BAC HOME LOANS SERVICING, LP
 7105 CORPORATE DRIVE
 PLANO, TX 75024


          _______________________________________________________________________________________________
          MICHAEL D. VESTAL, ROBERT FORSTER, JEFFREY FLEMING, LAUREN CHRISTOFFEL, BRETT BAUGH,
          JOHN BEAZLEY, KENNY SHIREY, RICK MONTGOMERY, CRAIG MUIRHEAD, AARON PARKER, CLAY
          GOLDEN, ROBERT AGUILAR, BRENT GRAVES, WENDY LAMBERT, TROY ROBINETT, MARK BULEZIUK,
          TERRY WATERS, MATT HANSEN, FREDERICK BRITTON
          Substitute Trustee
          c/o Barrett Daffin Frappier Turner & Engel, LLP
              4004 Belt Line Road, Suite 100
              Addison, Texas 75001

                                                                    Certificate of Posting
 My name is _______________________________________, and my address is c/o 4004 Belt Line Road, Suite 100, Addison, Texas 75001. I
 declare under penalty of perjury that on _________________________ I filed at the office of the DALLAS County Clerk and caused to be posted
 at the DALLAS County courthouse this notice of sale.


 ______________________________________________________
 Declarants Name:________________________________________
 Date:__________________________________________________



                                                                              *NOS00000006035497*
 FCTX_Notice_SubTrusteeSale.rpt (03/25/2015) Ver-17                                                      NOS00000006035497                      Page 1 of 2
          Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19             Page 90 of 110 PageID 313
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234                                                                  00000006035497

                                                      EXHIBIT "A"


LOT 1, IN BLOCK A, OF VALLEY VIEW/STAFFORD, AN ADDITION TO THE CITY OF FARMERS BRANCH, DALLAS
COUNTY, TEXAS, ACCORDING TO THE MAP OR PLAT THEREOF RECORDED IN CLERK'S FILE NO. 20070315299 PLAT
RECORDS, DALLAS COUNTY, TEXAS




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                                 C



 FCTX_Notice_SubTrusteeSale.rpt (03/25/2015) Ver-17                                             Page 2 of 2
           Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                       Page 91 of 110 PageID 314
     Barrett Daffin Frappier
     Turner & Engel, LLP
     4004 Belt Line Road
     Suite 100
     Addison, TX 75001




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                                                        7160 9668 9670 8462 5578




     00000006035497            02/01/2018

     PAUL K STAFFORD
     12923 EPPS FIELD ROAD
     FARMERS BRANCH, TX 75234




                     IMPORTANT INFORMATION IS CONTAINED
                         WITHIN THE ATTACHED NOTICE.


                   PLEASE READ CAREFULLY



BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP
IS A DEBT COLLECTOR ATTEMPTING TO COLLECT A
DEBT. ANY INFORMATION OBTAINED WILL BE USED
FOR THAT PURPOSE.
01 02 TX N 02                                                                                                  HP
FCUS_StdBannerPortrait_HP.rpt - (10/06/2017) / Ver-11
           Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                              Page 92 of 110 PageID 315
                                                                                 Barrett Daffin Frappier Turner & Engel, LLP
                                                                                     A Partnership Including Professional Corporations
                                                                                    ATTORNEYS AND COUNSELORS AT LAW
                                                                                         4004 Belt Line Road, Suite 100
February 01, 2018                                                                            Addison, Texas 75001
                                                                                           Telephone: (972) 419-1163
                                                                                           Telecopier: (972) 386-7673

Certified Mail 7160 9668 9670 8462 5578
PAUL K STAFFORD
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234

RE:        Mortgage Servicer:
           Loan No.:
           BDFTE No.:
                                        -
                                        FAY SERVICING LLC

                                        00000006035497

                                                              NOTICE OF ACCELERATION
This law firm represents FAY SERVICING LLC, the Mortgage Servicer, in its mortgage banking activities in the State of Texas. We
have been authorized by the Mortgage Servicer to initiate legal proceedings in connection with the foreclosure of a Deed of Trust
associated with your real estate loan (the "Debt").

FAY SERVICING LLC is acting as the Mortgage Servicer for WILMINGTON TRUST, NATIONAL ASSOCIATION, NOT IN ITS
INDIVIDUAL CAPACITY, BUT SOLELY AS TRUSTEE FOR MFRA TRUST 2014-2, who is the Mortgagee of the Note and Deed
of Trust associated with the above referenced loan. FAY SERVICING LLC, as Mortgage Servicer, is representing the Mortgagee,
whose address is:

         WILMINGTON TRUST, NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY,                                       BUT SOLELY AS
         TRUSTEE FOR MFRA TRUST 2014-2
         c/o FAY SERVICING LLC
         440 S. LASALLE ST.
         20TH FLOOR
         CHICAGO, IL 60605

The Mortgage Servicer is authorized to represent the Mortgagee by virtue of a servicing agreement with the Mortgagee. Pursuant to
the Servicing Agreement and Texas Property Code §51.0025, the Mortgage Servicer is authorized to collect the debt and to administer
any resulting foreclosure of the property securing the above referenced loan.

THIS FIRM IS A DEBT COLLECTOR ATTEMPTING TO COLLECT THE DEBT.                                          ANY INFORMATION OBTAINED
WILL BE USED FOR THAT PURPOSE.

This letter is formal notice of the following:
1.     Payment of the past due balance on the Debt has not been received by the Mortgage Servicer.                Because of this default, the
       Mortgagee has elected to ACCELERATE the maturity of the Debt.

2.     On Tuesday, March 06, 2018, as designated on the enclosed Notice of Trustee's Sale, the Trustee, or the Substitute Trustee, will
       sell at the Courthouse of DALLAS County, Texas in the area designated by the Commissioner's Court of such County, or if no
       area is designated by the Commissioner's Court, in the usual and customary place in that County, to the highest bidder for cash,
       the Real Estate described in the enclosed Notice.

3.     All of the obligors and guarantors (if any) of the Debt have the right to reinstate the loan as provided in the Deed of Trust and as
       provided by applicable Texas law. Payment must be made in certified funds, cashier's check or money order(s).

4.     All of the obligors and guarantors (if any) have the right to bring a court action to assert the non-existence of a default or any
       other defense to acceleration and foreclosure which they may have.




                                                                        *SNT00000006035497*
FCTX_Accel_Notice.rpt (08/30/2017) Ver-16 (Acceleration Notice)
                                                                                         SNT00000006035497                               Page 1 of 2
           Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                                     Page 93 of 110 PageID 316



February 01, 2018



Certified Mail 7160 9668 9670 8462 5578
00000006035497
PAUL K STAFFORD
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234

Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse is serving on
active military duty, including active military duty as a member of the Texas National Guard or the National Guard of another
state or as a member of a reserve component of the armed forces of the United States, please send written notice of the active
duty military service to the sender of this notice immediately.

If you are not obligated on the Debt, or if the Debt has been discharged in a bankruptcy proceeding, the Mortgage Servicer is not
attempting to collect from you personally. You are being given this notice as a courtesy because your interest in the Real Estate may
be affected.

Sincerely,




Cheryl Asher

Barrett Daffin Frappier Turner & Engel, LLP
Enclosed: Notice of Trustee Sale




FCTX_Accel_Notice.rpt (08/30/2017) Ver-16 (Acceleration Notice)                                                                         Page 2 of 2
          Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                                         Page 94 of 110 PageID 317
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234                                                                                                                00000006035497
                                               NOTICE OF SUBSTITUTE TRUSTEE SALE
Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse is serving on
active military duty, including active military duty as a member of the Texas National Guard or the National Guard of
another state or as a member of a reserve component of the armed forces of the United States, please send written notice of
the active duty military service to the sender of this notice immediately.

1.    Date, Time, and Place of Sale.

      Date:       March 06, 2018
      Time:     The sale will begin at 10:00AM or not later than three hours after that time.
      Place     THE AREA OUTSIDE ON THE NORTHSIDE OF THE GEORGE ALLEN COURTSBUILDING FACING
                COMMERCE STREET BELOW THE OVERHANGOR AS DESIGNATED BY THE COUNTY COMMISSIONERS or
                as designated by the county commissioners.




                                                                                                                Y
 2.   Terms of Sale. Cash.

 3. Instrument to be Foreclosed. The Instrument to be foreclosed is the Deed of Trust or Contract Lien dated November 30,
 2007 and recorded in Document CLERK'S FILE NO. 20070431480; AS AFFECTED BY CLERK'S FILE NO. 20080347047 AND
 201200213059 real property records of DALLAS County, Texas, with PAUL K STAFFORD and TELEA STAFFORD, grantor(s)
 and BANK OF AMERICA, NA mortgagee.




                                                                                       P
 4. Obligations Secured. Deed of Trust or Contract Lien executed by PAUL K STAFFORD and TELEA STAFFORD, securing
 the payment of the indebtednesses in the original principal amount of $810,561.00, and obligations therein described including but
 not limited to the promissory note and all modifications, renewals and extensions of the promissory note. WILMINGTON TRUST ,
 NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY, BUT SOLELY AS TRUSTEE FOR MFRA TRUST 2014-
 2 is the current mortgagee of the note and Deed of Trust or Contract Lien.




                                                            O
 5.   Property to Be Sold. The property to be sold is described in the attached Exhibit A.

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 agreement with the Mortgagee. Pursuant to the Servicing Agreement and Texas Property Code § 51.0025, the Mortgage Servicer is
 authorized to collect the debt and to administer any resulting foreclosure of the lien securing the Property referenced above. FAY
 SERVICING LLC as Mortgage Servicer, is representing the current mortgagee, whose address is:




                                 C
 c/o FAY SERVICING LLC
 440 S. LASALLE ST. 20TH FLOOR
 CHICAGO, IL 60605


          ______________________________________________________________________________________________
          MICHAEL HARRISON, ROBERT FORSTER, JEFF FLEMING OR LAUREN CHRISTOFFEL
          Substitute Trustee
          c/o Barrett Daffin Frappier Turner & Engel, LLP
              4004 Belt Line Road, Suite 100
              Addison, Texas 75001

                                                                   Certificate of Posting
 My name is _______________________________________, and my address is c/o 4004 Belt Line Road, Suite 100, Addison, Texas 75001. I
 declare under penalty of perjury that on _________________________ I filed at the office of the DALLAS County Clerk and caused to be
 posted at the DALLAS County courthouse this notice of sale.


 ______________________________________________________
 Declarants Name:________________________________________
 Date:__________________________________________________




                                                                             *NOS00000006035497*
 FCTX_Notice_SubTrusteeSale.rpt (08/21/2017) Ver-17                                                    NOS00000006035497                       Page 1 of 2
          Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19             Page 95 of 110 PageID 318
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234                                                                  00000006035497

                                                      EXHIBIT "A"


LOT 1, IN BLOCK A, OF VALLEY VIEW/STAFFORD, AN ADDITION TO THE CITY OF FARMERS BRANCH, DALLAS
COUNTY, TEXAS, ACCORDING TO THE MAP OR PLAT THEREOF RECORDED IN CLERK'S FILE NO. 20070315299 PLAT
RECORDS, DALLAS COUNTY, TEXAS




                                                                              Y
                                                                    P
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 FCTX_Notice_SubTrusteeSale.rpt (08/21/2017) Ver-17                                             Page 2 of 2
           Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                       Page 96 of 110 PageID 319
     Barrett Daffin Frappier
     Turner & Engel, LLP
     4004 Belt Line Road
     Suite 100
     Addison, TX 75001




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                                                        7160 9668 9670 8462 5585




     00000006035497            02/01/2018

     TELEA STAFFORD
     12923 EPPS FIELD ROAD
     FARMERS BRANCH, TX 75234




                     IMPORTANT INFORMATION IS CONTAINED
                         WITHIN THE ATTACHED NOTICE.


                   PLEASE READ CAREFULLY



BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP
IS A DEBT COLLECTOR ATTEMPTING TO COLLECT A
DEBT. ANY INFORMATION OBTAINED WILL BE USED
FOR THAT PURPOSE.
01 02 TX N 02                                                                                                  HP
FCUS_StdBannerPortrait_HP.rpt - (10/06/2017) / Ver-11
           Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                              Page 97 of 110 PageID 320
                                                                                 Barrett Daffin Frappier Turner & Engel, LLP
                                                                                     A Partnership Including Professional Corporations
                                                                                    ATTORNEYS AND COUNSELORS AT LAW
                                                                                         4004 Belt Line Road, Suite 100
February 01, 2018                                                                            Addison, Texas 75001
                                                                                           Telephone: (972) 419-1163
                                                                                           Telecopier: (972) 386-7673

Certified Mail 7160 9668 9670 8462 5585
TELEA STAFFORD
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234

RE:        Mortgage Servicer:
           Loan No.:
           BDFTE No.:
                                        -
                                        FAY SERVICING LLC

                                        00000006035497

                                                              NOTICE OF ACCELERATION
This law firm represents FAY SERVICING LLC, the Mortgage Servicer, in its mortgage banking activities in the State of Texas. We
have been authorized by the Mortgage Servicer to initiate legal proceedings in connection with the foreclosure of a Deed of Trust
associated with your real estate loan (the "Debt").

FAY SERVICING LLC is acting as the Mortgage Servicer for WILMINGTON TRUST, NATIONAL ASSOCIATION, NOT IN ITS
INDIVIDUAL CAPACITY, BUT SOLELY AS TRUSTEE FOR MFRA TRUST 2014-2, who is the Mortgagee of the Note and Deed
of Trust associated with the above referenced loan. FAY SERVICING LLC, as Mortgage Servicer, is representing the Mortgagee,
whose address is:

         WILMINGTON TRUST, NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY,                                       BUT SOLELY AS
         TRUSTEE FOR MFRA TRUST 2014-2
         c/o FAY SERVICING LLC
         440 S. LASALLE ST.
         20TH FLOOR
         CHICAGO, IL 60605

The Mortgage Servicer is authorized to represent the Mortgagee by virtue of a servicing agreement with the Mortgagee. Pursuant to
the Servicing Agreement and Texas Property Code §51.0025, the Mortgage Servicer is authorized to collect the debt and to administer
any resulting foreclosure of the property securing the above referenced loan.

THIS FIRM IS A DEBT COLLECTOR ATTEMPTING TO COLLECT THE DEBT.                                          ANY INFORMATION OBTAINED
WILL BE USED FOR THAT PURPOSE.

This letter is formal notice of the following:
1.     Payment of the past due balance on the Debt has not been received by the Mortgage Servicer.                Because of this default, the
       Mortgagee has elected to ACCELERATE the maturity of the Debt.

2.     On Tuesday, March 06, 2018, as designated on the enclosed Notice of Trustee's Sale, the Trustee, or the Substitute Trustee, will
       sell at the Courthouse of DALLAS County, Texas in the area designated by the Commissioner's Court of such County, or if no
       area is designated by the Commissioner's Court, in the usual and customary place in that County, to the highest bidder for cash,
       the Real Estate described in the enclosed Notice.

3.     All of the obligors and guarantors (if any) of the Debt have the right to reinstate the loan as provided in the Deed of Trust and as
       provided by applicable Texas law. Payment must be made in certified funds, cashier's check or money order(s).

4.     All of the obligors and guarantors (if any) have the right to bring a court action to assert the non-existence of a default or any
       other defense to acceleration and foreclosure which they may have.




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FCTX_Accel_Notice.rpt (08/30/2017) Ver-16 (Acceleration Notice)
                                                                                         SNT00000006035497                               Page 1 of 2
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February 01, 2018



Certified Mail 7160 9668 9670 8462 5585
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TELEA STAFFORD
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234

Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse is serving on
active military duty, including active military duty as a member of the Texas National Guard or the National Guard of another
state or as a member of a reserve component of the armed forces of the United States, please send written notice of the active
duty military service to the sender of this notice immediately.

If you are not obligated on the Debt, or if the Debt has been discharged in a bankruptcy proceeding, the Mortgage Servicer is not
attempting to collect from you personally. You are being given this notice as a courtesy because your interest in the Real Estate may
be affected.

Sincerely,




Cheryl Asher

Barrett Daffin Frappier Turner & Engel, LLP
Enclosed: Notice of Trustee Sale




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          Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                                         Page 99 of 110 PageID 322
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234                                                                                                                00000006035497
                                               NOTICE OF SUBSTITUTE TRUSTEE SALE
Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse is serving on
active military duty, including active military duty as a member of the Texas National Guard or the National Guard of
another state or as a member of a reserve component of the armed forces of the United States, please send written notice of
the active duty military service to the sender of this notice immediately.

1.    Date, Time, and Place of Sale.

      Date:       March 06, 2018
      Time:     The sale will begin at 10:00AM or not later than three hours after that time.
      Place     THE AREA OUTSIDE ON THE NORTHSIDE OF THE GEORGE ALLEN COURTSBUILDING FACING
                COMMERCE STREET BELOW THE OVERHANGOR AS DESIGNATED BY THE COUNTY COMMISSIONERS or
                as designated by the county commissioners.




                                                                                                                Y
 2.   Terms of Sale. Cash.

 3. Instrument to be Foreclosed. The Instrument to be foreclosed is the Deed of Trust or Contract Lien dated November 30,
 2007 and recorded in Document CLERK'S FILE NO. 20070431480; AS AFFECTED BY CLERK'S FILE NO. 20080347047 AND
 201200213059 real property records of DALLAS County, Texas, with PAUL K STAFFORD and TELEA STAFFORD, grantor(s)
 and BANK OF AMERICA, NA mortgagee.




                                                                                       P
 4. Obligations Secured. Deed of Trust or Contract Lien executed by PAUL K STAFFORD and TELEA STAFFORD, securing
 the payment of the indebtednesses in the original principal amount of $810,561.00, and obligations therein described including but
 not limited to the promissory note and all modifications, renewals and extensions of the promissory note. WILMINGTON TRUST ,
 NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY, BUT SOLELY AS TRUSTEE FOR MFRA TRUST 2014-
 2 is the current mortgagee of the note and Deed of Trust or Contract Lien.




                                                            O
 5.   Property to Be Sold. The property to be sold is described in the attached Exhibit A.

 6. Mortgage Servicer Information. The Mortgage Servicer is authorized to represent the Mortgagee by virtue of a servicing
 agreement with the Mortgagee. Pursuant to the Servicing Agreement and Texas Property Code § 51.0025, the Mortgage Servicer is
 authorized to collect the debt and to administer any resulting foreclosure of the lien securing the Property referenced above. FAY
 SERVICING LLC as Mortgage Servicer, is representing the current mortgagee, whose address is:




                                 C
 c/o FAY SERVICING LLC
 440 S. LASALLE ST. 20TH FLOOR
 CHICAGO, IL 60605


          ______________________________________________________________________________________________
          MICHAEL HARRISON, ROBERT FORSTER, JEFF FLEMING OR LAUREN CHRISTOFFEL
          Substitute Trustee
          c/o Barrett Daffin Frappier Turner & Engel, LLP
              4004 Belt Line Road, Suite 100
              Addison, Texas 75001

                                                                   Certificate of Posting
 My name is _______________________________________, and my address is c/o 4004 Belt Line Road, Suite 100, Addison, Texas 75001. I
 declare under penalty of perjury that on _________________________ I filed at the office of the DALLAS County Clerk and caused to be
 posted at the DALLAS County courthouse this notice of sale.


 ______________________________________________________
 Declarants Name:________________________________________
 Date:__________________________________________________




                                                                             *NOS00000006035497*
 FCTX_Notice_SubTrusteeSale.rpt (08/21/2017) Ver-17                                                    NOS00000006035497                       Page 1 of 2
         Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19              Page 100 of 110 PageID 323
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234                                                                   00000006035497

                                                      EXHIBIT "A"


LOT 1, IN BLOCK A, OF VALLEY VIEW/STAFFORD, AN ADDITION TO THE CITY OF FARMERS BRANCH, DALLAS
COUNTY, TEXAS, ACCORDING TO THE MAP OR PLAT THEREOF RECORDED IN CLERK'S FILE NO. 20070315299 PLAT
RECORDS, DALLAS COUNTY, TEXAS




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 FCTX_Notice_SubTrusteeSale.rpt (08/21/2017) Ver-17                                              Page 2 of 2
        Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                      Page 101 of 110 PageID 324
    Barrett Daffin Frappier
    Turner & Engel, LLP
    4004 Belt Line Road
    Suite 100
    Addison, TX 75001




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                                                    7160 9668 9670 8622 1617




    00000006035497            10/24/2018

    PAUL K STAFFORD
    12923 EPPS FIELD ROAD
    FARMERS BRANCH, TX 75234




             IMPORTANT INFORMATION IS CONTAINED
                 WITHIN THE ATTACHED NOTICE.


          PLEASE READ CAREFULLY


BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP
IS A DEBT COLLECTOR ATTEMPTING TO COLLECT A
DEBT. ANY INFORMATION OBTAINED WILL BE USED
FOR THAT PURPOSE.
01 02 TX N 02                                                                                           HP
FCUS_StdBannerPortrait_HP.rpt - (09/17/2018) / Ver-15
         Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                              Page 102 of 110 PageID 325
                                                                             Barrett Daffin Frappier Turner & Engel, LLP
                                                                                  A Partnership Including Professional Corporations
                                                                                 ATTORNEYS AND COUNSELORS AT LAW
                                                                                      4004 Belt Line Road, Suite 100
October 24, 2018                                                                          Addison, Texas 75001
                                                                                        Telephone: (972) 419-1163
                                                                                        Telecopier: (972) 386-7673
Certified Mail 7160 9668 9670 8622 1617
PAUL K STAFFORD
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234

RE:       Mortgage Servicer:
          Loan No.:
          BDFTE No.:
                                   -
                                   FAY SERVICING LLC

                                   00000006035497
                                                    NOTICE OF ACCELERATION
This law firm represents FAY SERVICING LLC, the Mortgage Servicer, in its mortgage banking activities in the State of Texas. We
have been authorized by the Mortgage Servicer to initiate legal proceedings in connection with the foreclosure of a Deed of Trust
associated with your real estate loan (the "Debt").

FAY SERVICING LLC is acting as the Mortgage Servicer for WILMINGTON TRUST, NATIONAL ASSOCIATION, NOT IN ITS
INDIVIDUAL CAPACITY, BUT SOLELY AS TRUSTEE FOR MFRA TRUST 2014-2, who is the Mortgagee of the Note and Deed
of Trust associated with the above referenced loan. FAY SERVICING LLC, as Mortgage Servicer, is representing the Mortgagee ,
whose address is:

        WILMINGTON TRUST, NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY, BUT SOLELY AS
        TRUSTEE FOR MFRA TRUST 2014-2
        c/o FAY SERVICING LLC
        440 S. LASALLE ST.
        20TH FLOOR
        CHICAGO, IL 60605

The Mortgage Servicer is authorized to represent the Mortgagee by virtue of a servicing agreement with the Mortgagee. Pursuant to
the Servicing Agreement and Texas Property Code §51.0025, the Mortgage Servicer is authorized to collect the debt and to administer
any resulting foreclosure of the property securing the above referenced loan .

THIS FIRM IS A DEBT COLLECTOR ATTEMPTING TO COLLECT THE DEBT. ANY INFORMATION OBTAINED
WILL BE USED FOR THAT PURPOSE.

This letter is formal notice of the following:
1.    Payment of the past due balance on the Debt has not been received by the Mortgage Servicer. Because of this default, the
      Mortgagee has elected to ACCELERATE the maturity of the Debt.

2.    On Tuesday, December 04, 2018, as designated on the enclosed Notice of Trustee's Sale, the Trustee, or the Substitute Trustee ,
      will sell at the Courthouse of DALLAS County, Texas in the area designated by the Commissioner's Court of such County, or if
      no area is designated by the Commissioner's Court, in the usual and customary place in that County, to the highest bidder for
      cash, the Real Estate described in the enclosed Notice.

3.    All of the obligors and guarantors (if any) of the Debt have the right to reinstate the loan as provided in the Deed of Trust and as
      provided by applicable Texas law. Payment must be made in certified funds, cashier's check or money order(s).

4.    All of the obligors and guarantors (if any) have the right to bring a court action to assert the non-existence of a default or any
      other defense to acceleration and foreclosure which they may have .




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FCTX_Accel_Notice.rpt (07/11/2018) Ver-17 (Acceleration Notice)
                                                                                       SNT00000006035497                              Page 1 of 2
         Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                             Page 103 of 110 PageID 326



October 24, 2018



Certified Mail 7160 9668 9670 8622 1617
00000006035497
PAUL K STAFFORD
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234

Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse is serving on
active military duty, including active military duty as a member of the Texas National Guard or the National Guard of another
state or as a member of a reserve component of the armed forces of the United States, please send written notice of the active
duty military service to the sender of this notice immediately.

If you are not obligated on the Debt, or if the Debt has been discharged in a bankruptcy proceeding, the Mortgage Servicer is not
attempting to collect from you personally. You are being given this notice as a courtesy because your interest in the Real Estate may
be affected.

Sincerely,




Shawnika Harris

Barrett Daffin Frappier Turner & Engel, LLP
Enclosed: Notice of Trustee Sale




FCTX_Accel_Notice.rpt (07/11/2018) Ver-17 (Acceleration Notice)                                                                Page 2 of 2
        Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                               Page 104 of 110 PageID 327
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234                                                                                            00000006035497
                                     NOTICE OF SUBSTITUTE TRUSTEE SALE
Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse is serving on
active military duty, including active military duty as a member of the Texas National Guard or the National Guard of
another state or as a member of a reserve component of the armed forces of the United States, please send written notice of
the active duty military service to the sender of this notice immediately.

1.    Date, Time, and Place of Sale.
      Date:     December 04, 2018
      Time: The sale will begin at 10:00AM or not later than three hours after that time.
      Place THE AREA OUTSIDE ON THE NORTHSIDE OF THE GEORGE ALLEN COURTSBUILDING FACING
            COMMERCE STREET BELOW THE OVERHANGOR AS DESIGNATED BY THE COUNTY COMMISSIONERS or
            as designated by the county commissioners.




                                                                                                   Y
 2.   Terms of Sale. Cash.

 3. Instrument to be Foreclosed. The Instrument to be foreclosed is the Deed of Trust or Contract Lien dated November 30 ,
 2007 and recorded in Document CLERK'S FILE NO. 20070431480; AS AFFECTED BY MODIFICATION AGREEMENTS
 CLERK'S FILE NO. 20080347047, CLERK'S FILE NO. 201200213059 AND CLERK'S FILE NO. 201700236307 real property
 records of DALLAS County, Texas, with PAUL K STAFFORD and TELEA STAFFORD, grantor(s) and BANK OF AMERICA ,




                                                                             P
 NA mortgagee.

 4. Obligations Secured. Deed of Trust or Contract Lien executed by PAUL K STAFFORD and TELEA STAFFORD, securing
 the payment of the indebtednesses in the original principal amount of $810,561.00, and obligations therein described including but
 not limited to the promissory note and all modifications, renewals and extensions of the promissory note. WILMINGTON TRUST ,
 NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY, BUT SOLELY AS TRUSTEE FOR MFRA TRUST 2014-




                                                      O
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 agreement with the Mortgagee. Pursuant to the Servicing Agreement and Texas Property Code § 51.0025, the Mortgage Servicer is
 authorized to collect the debt and to administer any resulting foreclosure of the lien securing the Property referenced above. FAY




                             C
 SERVICING LLC as Mortgage Servicer, is representing the current mortgagee, whose address is:

 c/o FAY SERVICING LLC
 440 S. LASALLE ST. 20TH FLOOR
 CHICAGO, IL 60605


         ______________________________________________________________________________________________
         MICHAEL HARRISON, PAUL BARRETT, ROBERT FORSTER, JEFF FLEMING OR LAUREN CHRISTOFFEL
         Substitute Trustee
         c/o Barrett Daffin Frappier Turner & Engel, LLP
             4004 Belt Line Road, Suite 100
             Addison, Texas 75001

                                                             Certificate of Posting
 My name is _______________________________________, and my address is c/o 4004 Belt Line Road, Suite 100, Addison, Texas 75001. I
 declare under penalty of perjury that on _________________________ I filed at the office of the DALLAS County Clerk and caused to be
 posted at the DALLAS County courthouse this notice of sale.


 ______________________________________________________
 Declarants Name:________________________________________
 Date:__________________________________________________




                                                                    *NOS00000006035497*
 FCTX_Notice_SubTrusteeSale.rpt (08/21/2017) Ver-17                                      NOS00000006035497                     Page 1 of 2
        Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19           Page 105 of 110 PageID 328
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234                                                             00000006035497
                                                      EXHIBIT "A"

LOT 1, IN BLOCK A, OF VALLEY VIEW/STAFFORD, AN ADDITION TO THE CITY OF FARMERS BRANCH, DALLAS
COUNTY, TEXAS, ACCORDING TO THE MAP OR PLAT THEREOF RECORDED IN CLERK'S FILE NO. 20070315299 PLAT
RECORDS, DALLAS COUNTY, TEXAS




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 FCTX_Notice_SubTrusteeSale.rpt (08/21/2017) Ver-17                                         Page 2 of 2
        Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                      Page 106 of 110 PageID 329
    Barrett Daffin Frappier
    Turner & Engel, LLP
    4004 Belt Line Road
    Suite 100
    Addison, TX 75001




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                                                    7160 9668 9670 8622 1624




    00000006035497            10/24/2018

    TELEA STAFFORD
    12923 EPPS FIELD ROAD
    FARMERS BRANCH, TX 75234




             IMPORTANT INFORMATION IS CONTAINED
                 WITHIN THE ATTACHED NOTICE.


          PLEASE READ CAREFULLY


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IS A DEBT COLLECTOR ATTEMPTING TO COLLECT A
DEBT. ANY INFORMATION OBTAINED WILL BE USED
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01 02 TX N 02                                                                                           HP
FCUS_StdBannerPortrait_HP.rpt - (09/17/2018) / Ver-15
         Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                              Page 107 of 110 PageID 330
                                                                             Barrett Daffin Frappier Turner & Engel, LLP
                                                                                  A Partnership Including Professional Corporations
                                                                                 ATTORNEYS AND COUNSELORS AT LAW
                                                                                      4004 Belt Line Road, Suite 100
October 24, 2018                                                                          Addison, Texas 75001
                                                                                        Telephone: (972) 419-1163
                                                                                        Telecopier: (972) 386-7673
Certified Mail 7160 9668 9670 8622 1624
TELEA STAFFORD
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234

RE:       Mortgage Servicer:
          Loan No.:
          BDFTE No.:
                                   -
                                   FAY SERVICING LLC

                                   00000006035497
                                                    NOTICE OF ACCELERATION
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        c/o FAY SERVICING LLC
        440 S. LASALLE ST.
        20TH FLOOR
        CHICAGO, IL 60605

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FCTX_Accel_Notice.rpt (07/11/2018) Ver-17 (Acceleration Notice)
                                                                                       SNT00000006035497                              Page 1 of 2
         Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                             Page 108 of 110 PageID 331



October 24, 2018



Certified Mail 7160 9668 9670 8622 1624
00000006035497
TELEA STAFFORD
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234

Assert and protect your rights as a member of the armed forces of the United States. If you are or your spouse is serving on
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Sincerely,




Shawnika Harris

Barrett Daffin Frappier Turner & Engel, LLP
Enclosed: Notice of Trustee Sale




FCTX_Accel_Notice.rpt (07/11/2018) Ver-17 (Acceleration Notice)                                                                Page 2 of 2
        Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19                               Page 109 of 110 PageID 332
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234                                                                                            00000006035497
                                     NOTICE OF SUBSTITUTE TRUSTEE SALE
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      Date:     December 04, 2018
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      Place THE AREA OUTSIDE ON THE NORTHSIDE OF THE GEORGE ALLEN COURTSBUILDING FACING
            COMMERCE STREET BELOW THE OVERHANGOR AS DESIGNATED BY THE COUNTY COMMISSIONERS or
            as designated by the county commissioners.




                                                                                                   Y
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 CLERK'S FILE NO. 20080347047, CLERK'S FILE NO. 201200213059 AND CLERK'S FILE NO. 201700236307 real property
 records of DALLAS County, Texas, with PAUL K STAFFORD and TELEA STAFFORD, grantor(s) and BANK OF AMERICA ,




                                                                             P
 NA mortgagee.

 4. Obligations Secured. Deed of Trust or Contract Lien executed by PAUL K STAFFORD and TELEA STAFFORD, securing
 the payment of the indebtednesses in the original principal amount of $810,561.00, and obligations therein described including but
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 NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY, BUT SOLELY AS TRUSTEE FOR MFRA TRUST 2014-




                                                      O
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 authorized to collect the debt and to administer any resulting foreclosure of the lien securing the Property referenced above. FAY




                             C
 SERVICING LLC as Mortgage Servicer, is representing the current mortgagee, whose address is:

 c/o FAY SERVICING LLC
 440 S. LASALLE ST. 20TH FLOOR
 CHICAGO, IL 60605


         ______________________________________________________________________________________________
         MICHAEL HARRISON, PAUL BARRETT, ROBERT FORSTER, JEFF FLEMING OR LAUREN CHRISTOFFEL
         Substitute Trustee
         c/o Barrett Daffin Frappier Turner & Engel, LLP
             4004 Belt Line Road, Suite 100
             Addison, Texas 75001

                                                             Certificate of Posting
 My name is _______________________________________, and my address is c/o 4004 Belt Line Road, Suite 100, Addison, Texas 75001. I
 declare under penalty of perjury that on _________________________ I filed at the office of the DALLAS County Clerk and caused to be
 posted at the DALLAS County courthouse this notice of sale.


 ______________________________________________________
 Declarants Name:________________________________________
 Date:__________________________________________________




                                                                    *NOS00000006035497*
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        Case 3:18-cv-03274-N Document 21-1 Filed 10/10/19           Page 110 of 110 PageID 333
12923 EPPS FIELD ROAD
FARMERS BRANCH, TX 75234                                                             00000006035497
                                                      EXHIBIT "A"

LOT 1, IN BLOCK A, OF VALLEY VIEW/STAFFORD, AN ADDITION TO THE CITY OF FARMERS BRANCH, DALLAS
COUNTY, TEXAS, ACCORDING TO THE MAP OR PLAT THEREOF RECORDED IN CLERK'S FILE NO. 20070315299 PLAT
RECORDS, DALLAS COUNTY, TEXAS




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